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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOES 16, 29, 79, 82, AND 84                  Case No.:
individually and on behalf of all similarly       CLASS ACTION
situated,                                         COMPLAINT FOR:
               Class Plaintiffs,                  1. Title IX 20 U.S.C. § 1681
    v.                                            2. COMMITTING AND ENABLING
                                                  GENDER VIOLENCE
COLUMBIA UNIVERSITY; THE NEW                      3. COMMITTING AND ENABLING
YORK PRESBYTERIAN HOSPITAL;                       SEXUAL HARASSMENT,
COLUMBIA UNIVERSITY MEDICAL                       PREDATORY GROOMING, SEXUAL
CENTER; COLUMBIA-PRESBYTERIAN                     EXPLOITATION AND SEXUAL ABUSE
MEDICAL CENTER, EAST SIDE                         4. COMMITTING AND ENABLING
ASSOCIATES; ROBERT HADDEN, an                     CRIMINAL and CIVIL SEXUAL
individual; THE TRUSTEES OF                       BATTERY
COLUMBIA UNIVERSITY IN THE CITY                   5. VIOLATION OF NY CPL §§ 130.00-
OF NEW YORK; COLUMBIA                             130.96 SEX OFFENSES AND
UNIVERSITY COLLEGE OF PHYSICIANS                  VIOLATION OF NY CPLR § 214-g,
AND SURGEONS; PRESBYTERIAN                        CHILD VICTIM ACT
HOSPITAL PHYSICIAN SERVICES                       6. COMMITTING AND ENABLING
ORGANIZATION, INC.; COLUMBIA                      CRIMINAL and CIVIL SEXUAL
CORNELL NETWORK PHYSICIANS,                       ASSAULT
INC.; SLOANE HOSPITAL FOR WOMEN;                  7. UNFAIR BUSINESS PRACTICES
             Defendants.                          8. COMMITTING AND ENABLING
                                                  NEGLIGENT INFLICTION OF
                                                  EMOTIONAL DISTRESS
                                                  9. COMMITTING AND ENABLING
                                                  INTENTIONAL INFLICTION OF
                                                  EMOTIONAL DISTRESS
                                                  10. CONSTRUCTIVE FRAUD
                                                  11. COMMITTING AND ENABLING
                                                  SEXUAL ASSAULT AND/OR RAPE
                                                  OF PLAINTIFFS
                                                  12. NEGLIGENT SUPERVISION
                                                  13. VIOLATION OF MANDATORY
                                                  REPORTING LAWS
                                                  14. NEGLIGENT HIRING, RETENTION
                                                  and RATIFICATION
                                                  15. FAILURE TO WARN, TRAIN or
                                                  EDUCATE
                                                  16. GROSS NEGLIGENCE, WANTON,
                                                  WILLFUL and RECKLESS CONDUCT
                                                  17. INVASION OF PRIVACY
                                                  JURY TRIAL DEMANDED



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        Plaintiffs Jane Does 16, 29, 79, 82, and 84 (“Plaintiffs”) are victims of a sexual battery.

These women therefore are entitled to protect their respective identities in this public filing by not

disclosing their names. Plaintiffs, individually and on behalf of all others similarly situated, make

the following allegations based upon information and belief, except as to those allegations

specifically pertaining to each individual Plaintiff and their counsel, which are based on personal

knowledge. Plaintiffs bring this action for restitution and monetary damages against defendants,

Columbia University, The New York Presbyterian Hospital, Columbia Presbyterian Medical

Center, Columbia University Medical Center, Columbia-Presbyterian Medical Center, East Side

Associates, Robert Hadden, The Trustees of Columbia University in the City of New York,

Columbia University College of Physicians and Surgeons, Presbyterian Hospital Physician

Services Organization, Inc., Columbia Cornell Network Physicians, Inc., Sloane Hospital for

Women (collectively, “COLUMBIA” or “COLUMBIA defendants”), and Robert Hadden, and

Does 1 through 100 (collectively, “Defendants”), demanding a trial by jury.

                                  JURISDICTION AND VENUE

1.      This Court has subject-matter jurisdiction pursuant to the Class Action Fairness Act of

2005, 28 U.S.C. § 1332(d)(2), because this is a class action, including claims asserted on behalf of

a nationwide class, filed under Rule 23 of the Federal Rules of Civil Procedure; there are thousands

of proposed Class members; the aggregate amount in controversy exceeds the jurisdictional

amount or $5,000,000.00; and Defendants are citizens of a state different from that of Plaintiffs

and members of the Class.

2.      Venue is proper in this District under 28 U.S.C. § 1391(a)-(d) because, inter alia,

substantial parts of the events or omissions giving rise to the claim occurred in the District and/or

a substantial part of property that is the subject of the action is situated in the District.



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                            GENERAL ALLEGATIONS AS TO THE PARTIES

3.     This action seeks to vindicate the rights of women who were sexually exploited, abused,

harassed and molested at the hands of serial sexual predator defendant ROBERT HADDEN

(hereinafter referred to as “HADDEN”), while they were patients at defendant COLUMBIA

UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA

PRESBYTERIAN MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER;

COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE

ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

PRESBYTERIAN              HOSPITAL     PHYSICIAN        SERVICES        ORGANIZATION,           INC.;

COLUMBIA-CORNELL CARE, LLC; COLUMBIA CORNELL NETWORK PHYSICIANS,

INC. (hereinafter referred to as "CORP. ENTITIES"), under the supervision management and/or

control of the THE BOARD OF TRUSTEES OF COLUMBIA UNIVERSITY (hereinafter

referred to as “TRUSTEES” and/or “CORP. ENTITIES”), and their medical facilities, hospitals,

offices and/or clinics.

4.     While attending defendant "CORP. ENTITIES" medical facilities, Plaintiffs were forced

to repeatedly seek medical treatment from defendant-sexual predator ROBERT HADDEN, due to

the fact that "CORP. ENTITIES", their agents, servants, employees, chaperones, other doctors,

and supervisors, repeatedly and actively concealed, conspired, and enabled, the sexual exploitation

and abuse being committed by defendant ROBERT HADDEN. ROBERT HADDEN used this

position of trust and authority to sexually exploit and serially sexually abuse Plaintiffs on countless

occasions by engaging in deviant sexual acts that included, but are not limited to: grooming,

sexually exploiting, fondling, ogling, penetrating and groping Plaintiffs’ bodies and genitalia for


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no medical purpose; forcing Plaintiffs to strip naked; groping and/or fondling Plaintiffs’ breasts;

digitally penetrating Plaintiffs’ vaginas; digitally penetrating Plaintiffs’ anuses, grooming

Plaintiffs for further exploitation and sexual abuse; making sexually inappropriate remarks and

deviant statements to plaintiffs in an effort to lower their boundaries and break-down their

defenses; performing inappropriate and sexually abusive “mole checks”; spreading open Plaintiffs’

anal crevices so he could leer at their bodies and anuses for his own deviant sexual gratification;

increasing the level of inappropriate statements and sexual exploitation and abuse of Plaintiffs over

time; evading, manipulating and/or intimidating medical chaperones and/or university personnel;

performing serial vaginal examinations for no medical purpose, performing serial Pap smears as

an excuse to access and penetrate their vaginas for his own deviant sexual gratification and

pleasure, sexually exploiting female patients to satisfy his own prurient and deviant sexual desires,

and surreptitiously licking countless patients’ vaginas during the performance of phony, and

medically unnecessary, vaginal examinations and Pap smears.

5.     Despite the fact that medical chaperones, nurses, supervisors, administrators, doctors and

other hospital personnel were aware of the sexual exploitation and abuse being perpetrated by

ROBERT HADDEN, dating back to at least the 1990’s, Defendant “CORP. ENTITIES”, their

TRUSTEES, their medical facilities, offices, clinics, and their agents, servants, and/or employees,

actively and deliberately - and inexplicably - concealed ROBERT HADDEN’s sexual abuse for

decades, and continued to grant ROBERT HADDEN unfettered access to vulnerable,

unsuspecting, pregnant and non-pregnant female patients at COLUMBIA UNIVERSITY

MEDICAL CENTER and their related entities, all in a deceitful and disdainful attempt to protect

Defendants COLUMBIA UNIVERSITY, its TRUSTEES, and affiliated and related CORP.

ENTITIES’ reputation, their status amongst other Ivy League institutions, their status amongst



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other universities and hospitals in New York and nationally, and their own corporate and financial

interests.

                             ALLEGATIONS AS TO MINOR PLAINTIFFS
                          (REPRESENTATIVE MINOR PLAINTIFFS #16, #29)

6.       This case is being filed anonymously because of the extremely sensitive nature of the

conduct involved and damages suffered by minor and adult Plaintiffs and others similarly situated.

         JANE DOE #16

7.       Plaintiff JANE DOE #16 was born in 1994, and currently resides in the State of California.

JANE DOE #16 was a gynecology patient of defendants (and/or to be named Defendants)

including: COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL;

COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL

CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES;

EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY

OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES ORGANIZATION,

INC.;    COLUMBIA-CORNELL             CARE,     LLC;    COLUMBIA        CORNELL       NETWORK

PHYSICIANS, INC., (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or employee

ROBERT HADDEN, during which time JANE DOE #16 was serially sexually exploited and

abused by ROBERT HADDEN — who was enabled by the acts and omissions of the within named

defendants and “CORP. ENTITIES”.

8.       Plaintiff JANE DOE #16 saw ROBERT HADDEN at “CORP. ENTITIES” medical

facilities for what was supposed to be gynecologic care and treatment between approximately 2009

and 2012. At the time of the visit JANE DOE #16 was a full-time high-school student and a minor

under the laws of the State of New York. Further, ROBERT HADDEN was the physician who had

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delivered JANE DOE #16 a decade earlier. ROBERT HADDEN was well aware of this fact and

used this relationship with both the patient, and her mother, as leverage in order to carry out his

scheme of sexual exploitation and sexual abuse of the minor child, JANE DOE #16.

9.     Beginning with JANE DOE #16’s initial office visit as a gynecology patient, defendant

ROBERT HADDEN began subjecting her to a course of predatory grooming, boundary violating,

mental, emotional, and physical sexual abuse. During the visits, ROBERT HADDEN assailed

JANE DOE #16 with a barrage of wily, inappropriate, invasive and exploitive questions and

statements about her mother, appearance, body, sexual history, and sexual activity. Questioning

JANE DOE #16 about her virginity and eliciting intimate and inappropriate details about how

close she has gotten to experiencing sexual intercourse with a male. ROBERT HADDEN’s

approach to grooming JANE DOE #16 was a mix of being authoritative, awkward, self-

deprecating, disarming, self-pitying, alarming, fear mongering, and overtly offensive.

10.    While ROBERT HADDEN was actively and verbally breaking down JANE DOE #16’s

boundaries, he forced JANE DOE #16 to answer questions about herself, her school, and her

mother; and peppered her with a series of irrelevant and medically inappropriate questions for long

periods while ogling and groping her unclothed body, breasts and vagina. While ogling and

groping JANE DOE #16’s unclothed body, ROBERT HADDEN continued to engage in idle

chatter about wholly medically irrelevant information.

11.    A Chaperone was present in the room at the beginning of the visit and during the verbal

and physical exploitation and assaults, and witnessed ROBERT HADDEN’s verbal and physical

sexual abuse firsthand, yet did nothing to prevent or stop ROBERT HADDEN’s sexual

exploitation and abuse of Plaintiff JANE DOE #16. During this initial visit, ROBERT HADDEN

directed JANE DOE #16 to remove all of her clothes and “get on all fours” on the table. While



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being posed naked and on all fours, ROBERT HADDEN proceeded to perform a prolonged,

medically-inappropriate, unnecessary and unwarranted breast examination, prolonged, medically-

inappropriate, unnecessary, and unwarranted vaginal examination, and a prolonged and medically-

inappropriate exploration of a rash around JANE DOE #16’s pubic area, all the while as JANE

DOE #16 was being posed on her hands and knees naked before ROBERT HADDEN, who then

proceeded to rub both of his ungloved hands up and down her body, groped her body, spread her

buttocks, examined the crevices of the most intimate parts of her body, and spread her vagina as

he leered into all of her private areas. All the while, ROBERT HADDEN would continue to engage

in idle chatter about JANE DOE #16, her body, and her lack of sexual activity, in furtherance of

ROBERT HADDEN’s never-ending pedophiliac-grooming and sexual exploitation of this minor-

female patient. During the serial, prolonged, medically-inappropriate unnecessary and

unwarranted vaginal examinations that ROBERT HADDEN performed at both visits, ROBERT

HADDEN would penetrate JANE DOE #16 by inserting his fingers into JANE DOE #16’s vagina.

All of these so-called “examinations” were done in a deviant and sexual manner solely for

ROBERT HADDEN’s own prurient, deviant, and lecherous sexual gratification.

12.    During the second visit, ROBERT HADDEN learned that JANE DOE #16 had just recently

lost her virginity. At the time, JANE DOE #16 had only one-boyfriend/partner, and very little

experience with sex or sexual activity. Despite her age and lack of sexual experience, ROBERT

HADDEN instructed JANE DOE #16 that a vaginal examination and PAP Smear was necessary.

During this exploitative and abusive visit, ROBERT HADDEN spent a long time doing the

medically unnecessary and inappropriate PAP Smear and vaginal examination. Because of her

young age, and due to the fact that ROBERT HADDEN was the first gynecologist that JANE DOE

#16 saw, this didn’t seem abnormal simply because JANE DOE #16 had nothing to compare it to.



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Following the abusive and exploitative vaginal examination, JANE DOE #16 did not return to

defendant ROBERT HADDEN.

13.    ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

was sexually abusing - would experience with regard to their inability to come to grips with the

unfathomable idea that their own medical doctor was sexually exploiting and abusing them -

especially as a minor who was literally brought into this world into the hands of ROBERT

HADDEN who had delivered her as a baby just 16-years earlier. ROBERT HADDEN used this

knowledge and medical training to his advantage while leveraging his position of status and

authority bestowed on him by COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his

own depraved-benefit, and in furtherance of his scheme to sexually abuse and exploit as many

women as possible under the guise of performing medical procedures. As a result, ROBERT

HADDEN was enabled to sexually abuse countless female patients of COLUMBIA

UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in a serial fashion, while

carrying out his sick fantasies surrounding doctor sexual abuse.

14.    These events are not isolated, and they were not done outside the knowledge and awareness

of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who knew

how to outmaneuver chaperones, make quick hits at sexually abusing female patients, and keep

going - amongst the medical assistants and chaperones with whom he worked. At least one nurse

who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT HADDEN sexually

abusing a female patient at defendant COLUMBIA UNIVERSITY’s Audubon Clinic. However,

when the nurse reported the abuse ROBERT HADDEN was committing to her supervisor, the

supervisor’s response was for her to just “keep quiet”, “stay with your doctor” and “don’t let him



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get himself in trouble”. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have

created an environment that was not only conducive to doctor sexual assaults, but actually enabled

it. By failing to properly educate, train, empower, and support the medical assistants and

chaperones, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

where patients were duped into believing that there was someone in the examination room who

would keep them safe. But, in reality, the hidden imbalance of power that existed between the

chaperones and medical doctors - where the chaperones were afraid to speak-up for fear of losing

their jobs - had the practical effect of making doctor sexual abuse appear to be legitimate medical

care.

15.      For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court

to sexually abusing two-other female patients referenced above. One by licking her vagina during

a purported vaginal examination - which was the second time that the patient stated ROBERT

HADDEN had done it. And the other is when ROBERT HADDEN pleaded guilty to sexually

abusing a separate female patient, who ROBERT HADDEN knew to be HIV positive, with his

ungloved hands.

16.      Because Defendant "CORP. ENTITIES"’ Chaperones stood by silently and watched - and

also actively participated in the sexual exploitation, abuse, and cover-up of ROBERT HADDEN’s

serial sexual exploitation and abuse by failing to prevent or stop ROBERT HADDEN - JANE

DOE #16 reasonably believed that ROBERT HADDEN must have been conducting legitimate

medical treatment while he was ogling, groping, verbally assaulting, and physically abusing,

violating, sexually abusing, and penetrating her, although she now knows that ROBERT



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HADDEN’s conduct was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’

chaperones’ first-hand observation of the abuse and ROBERT HADDEN’s history of evading their

observation by telling the Chaperones to leave the room, and "CORP. ENTITIES" prior reports

about ROBERT HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents,

partners, servants and employees actively concealed JANE DOE #16’s abuse and ROBERT

HADDEN’s sexually exploitative behavior, and inexplicably continued to allow ROBERT

HADDEN to have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER,

NEW YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female and

minor-female patient populations. Based on the words and conduct of each of the defendants, their

agents, servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has lacked

the capacity to deal with, and confront, the important legal issues and rights herein until the present.

17.    Further, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and

defendant "CORP. ENTITIES" continue to collude with ROBERT HADDEN to permit and enable

ROBERT HADDEN to apply for, obtain, and maintain certain “disability benefits” which allow

ROBERT HADDEN to receive financial compensation while enjoying what may otherwise be

considered a “paid, early retirement” from the practice of medicine. Defendants’ collective

complicity - and active fraud - in helping ROBERT HADDEN to support himself financially after

sexually, and feloniously, abusing countless female patients over the course of two-decades is

worthy of criminal prosecution, and intense public scrutiny. Particularly in this day and age, the

use of either Corporate or State taxpayer-dollars for the financial benefit of a convicted sexual

predator seems like the exact kind of thing that would be a notable and newsworthy story. Further,



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ROBERT HADDEN’s sexual exploitation, pedophilia, and sexual abuse of minor-female patients

should be the subject of a comprehensive State investigation and criminal prosecution.

18.     Further, all the while, HADDEN ogled and fondled Jane Doe #16’s naked body. While

this was happening, HADDEN posed the girl as if she were part of his sick, private, pornographic

sexual performance. Further, HADDEN’S conduct was in violation of NY CPL §§ 130.00-130.96

Sex Offenses and violation of NY CPLR § 214-g, NY Child Victim Act.

        JANE DOE #29

19.     Plaintiff JANE DOE #29 was born in 1990, and currently resides in the State of Ohio.

JANE DOE #29 was a gynecology patient of defendants (and/or to be named Defendants)

including: COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL;

COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL

CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES;

EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY

OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES ORGANIZATION,

INC.;   COLUMBIA-CORNELL            CARE,     LLC;    COLUMBIA        CORNELL       NETWORK

PHYSICIANS, INC., (Hereinafter “CORP. ENTITIES”) and their agent, servant, and/or employee

ROBERT HADDEN, during which time JANE DOE #29 was serially sexually exploited and

abused by ROBERT HADDEN — who was enabled by the acts and omissions of the within named

defendants and “CORP. ENTITIES”.

20.     Plaintiff JANE DOE #29 saw ROBERT HADDEN at “CORP. ENTITIES” medical

facilities for what was supposed to be gynecologic care and treatment between approximately 2005

and 2012. At the time of the visit JANE DOE #29 was a full-time high-school student and a minor



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under the laws of the State of New York. ROBERT HADDEN was well aware of this fact and

used his position of power and authority as leverage in order to carry out his scheme of sexual

exploitation and sexual abuse of the minor child, JANE DOE #29.

21.    Beginning with JANE DOE #29’s initial office visit as a gynecology patient, defendant

ROBERT HADDEN began subjecting her to a course of predatory grooming, boundary violating,

mental, emotional, and physical sexual abuse. During the visits, ROBERT HADDEN assailed

JANE DOE #29 with a barrage of wily, inappropriate, invasive and exploitive questions and

statements about her family, as well as her appearance, body, sexual history, and sexual activity.

Questioning JANE DOE #29 about her virginity and eliciting intimate and inappropriate details

about how close she has gotten to experiencing sexual intercourse with a male. ROBERT

HADDEN’s approach to grooming JANE DOE #29 was a mix of being authoritative, awkward,

self-deprecating, disarming, self-pitying, alarming, fear mongering, and overtly offensive.

22.    While ROBERT HADDEN was actively and verbally breaking down JANE DOE #29’s

boundaries, he forced JANE DOE #29 to answer questions about herself, her school, and her

family; and peppered her with a series of irrelevant and medically inappropriate questions for long

periods while ogling and groping her unclothed body, breasts and vagina. While ogling and

groping JANE DOE #29’s unclothed body, ROBERT HADDEN continued to engage in idle

chatter about wholly medically irrelevant information.

23.    A Chaperone was present in the clinic but then would leave the examining room during the

verbal and physical exploitation and assaults. Despite the fact the chaperones witnessed ROBERT

HADDEN’s verbal and physical sexual abuse firsthand, nothing was done to prevent or stop

ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE DOE #29. During this

initial visit, ROBERT HADDEN directed JANE DOE #29 to remove all of her clothes and when



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nobody was present proceeded to question her about whether or not she masturbated. ROBERT

HADDEN then proceeded to give JANE DOE #29 wholly unwanted and unsolicited tips about

how she could masturbate herself.

24.    ROBERT HADDEN then instructed JANE DOE #29 to expose her bare buttock so that he

could administer an HPV injection into her. When JANE DOE #29 returned to defendants medical

facility for her second injection with a nurse - not ROBERT HADDEN - JANE DOE #29 asked if

she should remove her pants to receive the injection. Upon making this inquiry, the nurse looked

at her as if she were nuts. JANE DOE #29 then proceeded to have a discussion with the nurse

about the fact that ROBERT HADDEN required her to remove her pants so he could administer

the first HPV injection into her naked buttock. Upon learning of this information, the nurse offered

no support to JANE DOE #29 and did nothing other than make JANE DOE #29 confused and feel

like JANE DOE #29, herself, had done or said something wrong. These actions and statements

made by defendants’ nurse in defense of ROBERT HADDEN caused JANE DOE #29 to question

her own judgment and forbear from any further reporting or inquiry, medical or legal, into what

was done to her.

25.    The statements, actions, and inaction, by defendants’ agents, servants and/or employees

conspired to enable ROBERT HADDEN to sexually exploit and abuse countless female patients.

During the visits, ROBERT HADDEN proceeded to perform a prolonged, medically-

inappropriate, unnecessary and unwarranted breast examination, prolonged, medically-

inappropriate, unnecessary, and unwarranted vaginal examination, and a prolonged and medically-

inappropriate exploration of plaintiff JANE DOE #29’s breasts and vaginal area as ROBERT

HADDEN proceeded to rub his ungloved hands up and down her body, groped her body, spread

her buttocks, examined the crevices of the most intimate parts of her body, and spread her vagina



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as he leered into all of her private areas. All the while, ROBERT HADDEN would continue to

engage in idle chatter about JANE DOE #29, her body, and various kinds of sexual activity, in

furtherance of ROBERT HADDEN’s never-ending pedophiliac-grooming and sexual exploitation

of this minor-female patient. During the serial, prolonged, medically-inappropriate unnecessary

and unwarranted vaginal examinations that ROBERT HADDEN performed at nearly every visit,

ROBERT HADDEN would penetrate JANE DOE #29 by inserting his fingers into JANE DOE

#29’s vagina. All of these so-called “examinations” were done in a deviant and sexual manner

solely for ROBERT HADDEN’s own prurient, deviant, and lecherous sexual gratification. Further,

HADDEN’S conduct was in violation of NY CPL §§ 130.00-130.96 Sex Offenses and violation

of NY CPLR § 214-g, NY Child Victim Act.

26.    Because of JANE DOE #29’s young age, the fact that ROBERT HADDEN was the first

gynecologist that JANE DOE #29 saw, and the fact the the nursing staff presented to JANE DOE

#29 that these things were all part of a “normal” experience when seeing a gynecologist, JANE

DOE #29 was completed befuddled and duped into believing that the exploitation and abuse being

committed by ROBERT HADDEN was part of normal gynecologic care.

27.    ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

was sexually abusing - would experience with regard to their inability to come to grips with the

unfathomable idea that their own medical doctor was sexually exploiting and abusing them -

especially as a minor 15 years of age. ROBERT HADDEN used his knowledge, age, maturity and

medical training to his advantage while leveraging his position of status and authority bestowed

on him by COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", to his own depraved-

benefit, and in furtherance of his scheme to sexually abuse and exploit as many women as possible



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under the guise of performing medical procedures. As a result, ROBERT HADDEN was enabled

to sexually abuse countless female patients of COLUMBIA UNIVERSITY and NEW YORK-

PRESBYTERIAN HOSPITAL, in a serial fashion, while carrying out his sick fantasies

surrounding doctor sexual abuse.

28.      These events are not isolated, and they were not done outside the knowledge and awareness

of his employers ("CORP. ENTITIES"). ROBERT HADDEN was known as “a shark” - who knew

how to outmaneuver chaperones, make quick hits at sexually abusing female patients, and keep

going - amongst the medical assistants and chaperones with whom he worked. At least one nurse

who worked with ROBERT HADDEN in 1992-1993 walked in on ROBERT HADDEN sexually

abusing a female patient at defendant COLUMBIA UNIVERSITY’s Audubon Clinic. However,

when the nurse reported the abuse ROBERT HADDEN was committing to her supervisor, the

supervisor’s response was for her to just “keep quiet”, “stay with your doctor” and “don’t let him

get himself in trouble”. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES", have

created an environment that was not only conducive to doctor sexual assaults, but actually enabled

it. By failing to properly educate, train, empower, and support the medical assistants and

chaperones, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

NEW YORK-PRESBYTERIAN HOSPITAL, and "CORP. ENTITIES" created an environment

where patients were duped into believing that there was someone in the examination room who

would keep them safe. But, in reality, the hidden imbalance of power that existed between the

chaperones and medical doctors - where the chaperones were afraid to speak-up for fear of losing

their jobs - had the practical effect of making doctor sexual abuse appear to be legitimate medical

care.



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29.    For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court

to sexually abusing two-other female patients referenced above. One by licking her vagina during

a purported vaginal examination - which was the second time that the patient stated ROBERT

HADDEN had done it. And the other is when ROBERT HADDEN pleaded guilty to sexually

abusing a separate female patient, who ROBERT HADDEN knew to be HIV positive, with his

ungloved hands.

30.    Because Defendant "CORP. ENTITIES"’ Chaperones stood by silently and watched - and

also actively participated in the sexual exploitation, abuse, and coverup of ROBERT HADDEN’s

serial sexual exploitation and abuse by failing to prevent or stop ROBERT HADDEN - JANE

DOE #29 reasonably believed that ROBERT HADDEN must have been conducting legitimate

medical treatment while he was ogling, groping, verbally assaulting, and physically abusing,

violating, sexually abusing, and penetrating her, although she now knows that ROBERT

HADDEN’s conduct was, in fact, sexual exploitation and abuse. Despite the "CORP. ENTITIES"’

chaperones’ first-hand observation of the abuse and ROBERT HADDEN’s history of evading their

observation by telling the Chaperones to leave the room, and "CORP. ENTITIES" prior reports

about ROBERT HADDEN’s sexual misconduct, Defendant "CORP. ENTITIES" and their agents,

partners, servants and employees actively concealed JANE DOE #29’s abuse and ROBERT

HADDEN’s sexually exploitative behavior, and inexplicably continued to allow ROBERT

HADDEN to have unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER,

NEW YORK-PRESBYTERIAN HOSPITAL, and Defendant "CORP. ENTITIES"’ female and

minor-female patient populations. Based on the words and conduct of each of the defendants, their

agents, servants, and/or employees, plaintiff was induced to not file a complaint earlier. Further,

plaintiff has been emotionally traumatized by the defendants’ conduct and abuse, and has lacked



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the capacity to deal with, and confront, the important legal issues and rights herein until the present.

31.    Further, plaintiffs have a good-faith reason to believe COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and

defendant "CORP. ENTITIES" continue to collude with ROBERT HADDEN to permit and enable

ROBERT HADDEN to apply for, obtain, and maintain certain “disability benefits” which allow

ROBERT HADDEN to receive financial compensation while enjoying what may otherwise be

considered a “paid, early retirement” from the practice of medicine. Defendants’ collective

complicity - and active fraud - in helping ROBERT HADDEN to support himself financially after

sexually, and feloniously, abusing countless female patients over the course of two-decades is

worthy of criminal prosecution, and intense public scrutiny. Particularly in this day and age, the

use of either Corporate or State taxpayer-dollars for the financial benefit of a convicted sexual

predator seems like the exact kind of thing that would be a notable and newsworthy story. Further,

ROBERT HADDEN’s sexual exploitation, pedophilia, and sexual abuse of minor-female patients

should be the subject of a comprehensive State investigation and criminal prosecution.




                           ALLEGATIONS AS TO ADULT PLAINTIFFS
                     (REPRESENTATIVE ADULT PLAINTIFFS #79, #82, and #84)

       JANE DOE #79

32.    Plaintiff JANE DOE #79 saw ROBERT HADDEN at “Corp. Defendants” medical

facilities between 2005 and 2012, for what was supposed to be obstetric and gynecologic care and

treatment.

33.    Starting with JANE DOE #79’s initial office visit, defendant ROBERT HADDEN began

subjecting her to a course of predatory grooming, boundary violating, mental, emotional, and

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physical sexual exploitation and abuse. During the visits, ROBERT HADDEN assailed JANE

DOE #79 with a barrage of wily, inappropriate, invasive and exploitive questions and statements

about her sexual history, whether her partner satisfied her, and specific sexual acts she engaged in.

ROBERT HADDEN’s approach to grooming was a mix of being awkward, authoritative, self-

deprecating, disarming, self-pitying, alarming, and overtly offensive.

34.    While ROBERT HADDEN was actively and verbally breaking down JANE DOE #79’s

boundaries, he peppered her with a series of irrelevant and medically inappropriate questions for

long periods while ogling and groping her breasts and unclothed body. At every visit ROBERT

HADDEN required JANE DOE #79 to get completely naked - in his presence - as he ogled and

exploited her. A Chaperone was present in the room during some of the verbal and physical

assaults and witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did

nothing to prevent or stop ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

DOE #79. Other times, a Chaperone was not present - or would leave the room before the

“examination” was complete at which point ROBERT HADDEN would continue to physically

sexually exploit and abuse JANE DOE #79. This included, but is not limited to, performing serial,

prolonged, and medically inappropriate breast examinations, serial and medically-inappropriate

PAP smears, and serial vaginal exams. All the while, ROBERT HADDEN would engage in idle

chatter or begin divulging wholly improper and inappropriate personal information about himself

and family - all in furtherance of his never-ending sexual exploitation and grooming of female

patients. During the serial, and medically non-indicated vaginal examinations that ROBERT

HADDEN performed without gloves at practically every single visit, ROBERT HADDEN would

repeatedly penetrate JANE DOE #79 by inserting his fingers into JANE DOE #79’s vagina.

35.    ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he



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was sexually abusing - would experience with regard to their inability to come to grips with the

unfathomable idea that their own medical doctor was sexually exploiting and abusing them.

ROBERT HADDEN used this knowledge and medical training to his advantage while leveraging

his position of status and authority bestowed on him by COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and

CORP. ENTITIES, to his advantage, and in furtherance of his scheme to sexually abuse and exploit

as many women as possible under the guise of performing medical procedures. As a result,

ROBERT HADDEN was enabled to sexually abuse countless female patients of COLUMBIA

UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in a serial fashion, while

carrying out his sick fantasies surrounding doctor sexual abuse.

36.    Further, JANE DOE #79 was told by ROBERT HADDEN that she had a cancerous

condition in her cervix at a young age. As a result of “her condition” she needed to undergo an

office based surgical procedure with him called a “LEEP procedure”. Upon information and belief,

JANE DOE #79 did not have cancer and did not need the operative procedure. Instead, she is part

of a large class of patients who were lied to by ROBERT HADDEN and his enablers for the sole

purpose of granting HADDEN access to her body, creating and building a fear-based dependency

between JANE DOE #79 and ROBERT HADDEN, and allowing COLUMBIA UNIVERSITY,

THE    TRUSTEES       OF    COLUMBIA         UNIVERSITY,       NEW      YORK-PRESBYTERIAN

HOSPITAL, and CORP. ENTITIES, to reap the benefit of being able to generate millions of

dollars in revenues through the illegal charges for unnecessary medical procedures that were then

submitted to the patient and her insurance company. As a result of her bona fide, but false, belief

that ROBERT HADDEN held her life in his hands, JANE DOE #79 continued to return to him to

ensure her survival and victory over a cancerous condition that she never had. Upon calling



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defendants’ offices for a follow up visit with ROBERT HADDEN, and learning that ROBERT

HADDEN was “out on sick leave”, JANE DOE #79 was duped by defendants into not only having

to worry about whether the new physician would be able to keep her cancer-free, but also into

worrying that perhaps something tragic happened to ROBERT HADDEN, such that he developed

cancer himself. As a result of the affirmative and blatant lies that were told to JANE DOE #79, she

was tricked into believing that the exploitation and abuse committed upon her by HADDEN, was

some form of legitimate medical care — which it was not. In light of the affirmative and explicit

statements by defendants, which induced JANE DOE #79 into not pursuing legal action at the

time, the statute of limitation is tolled.

37.     These events are not isolated, and they were not done outside the knowledge and awareness

of his employers i. ROBERT HADDEN was known as “a shark” - who knew how to outmaneuver

chaperones, make quick hits at sexually abusing female patients, and keep going - amongst the

medical assistants and chaperones with whom he worked. At least one nurse who worked with

ROBERT HADDEN in 1992-1993 walked in on ROBERT HADDEN sexually abusing a female

patient at defendant COLUMBIA UNIVERSITY’s Audubon Clinic. However, when the nurse

reported the abuse ROBERT HADDEN was committing to her supervisor, the supervisor’s

response was for her to just “keep quiet”, “stay with your doctor” and “don’t let him get himself

in trouble”. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

NEW YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, have created an

environment that was not only conducive to doctor sexual assaults, but actually enabled it. By

failing to properly educate, train, empower, and support the medical assistants and chaperones,

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

PRESBYTERIAN HOSPITAL, and CORP. ENTITIES created an environment where patients



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were duped into believing that there was someone in the examination room who would keep them

safe. But, in reality, the hidden imbalance of power that existed between the chaperones and

medical doctors - where the chaperones were afraid to speak-up for fear of losing their jobs - had

the practical effect of making doctor sexual abuse appear to be legitimate medical care. Despite

documented patient complaints, documented responses by Department Chairs, and even a New

York Police Department arrest of ROBERT HADDEN at defendants’ medical clinic, no crime was

too big for COLUMBIA UNIVERSITY to try to coverup. Following HADDEN’s arrest in June,

2012, for licking a patient during a bogus vaginal exam — and with the knowledge and awareness

of JANE E. BOOTH, JOHN EVANKO, and MARY D’ALTON — sexual predator ROBERT

HADDEN was allowed to return to defendants’ clinics where he continued to sexually exploit,

assault and abuse single women, married women, pregnant women, recent mothers, and even

minors for another six weeks.

38.    ROBERT HADDEN has pleaded guilty in Criminal Court to sexually abusing two-other

female patients referenced throughout this document: one by licking her vagina during a purported

vaginal examination - which was the second time that the patient stated ROBERT HADDEN had

done it. And the other is when ROBERT HADDEN pleaded guilty to sexually abusing a separate

female patient, who ROBERT HADDEN knew to have an incurable sexually transmitted disease,

with his ungloved hands. However, none of this should have ever happened. Columbia University

and its Principals, Administrators, Trustees and even President knew of ROBERT HADDEN’s

predation of female patients dating back to the early 1990’s and yet did nothing to stop his

behavior. Instead, Columbia University and its staff engaged in a 25 year cover-up of ROBERT

HADDEN’s serial sexual exploitation and abuse. As a result of the collusion, aiding, abetting,

enabling and cover-ups by COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA



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UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, who all

played an integral role, the defendants and their agents, servants and employees, are all directly

responsible for helping ROBERT HADDEN become the most prolific serial sexual predator in the

history of New York.

39.    Finally, as a result of being listed as the physician in attendance at the 2009 birth of JANE

DOE #79’s child, ROBERT HADDEN’s name is present on the original birth certificate of her

daughter. Every time JANE DOE #79 registers her child for summer camp, or sends him off to a

new school, she is re-traumatized by the sight of this sick sexual predator’s name on the birth

certificate of her child. To date, Columbia University, New York-Presbyterian Hospital, and their

agents, partners, servants, and/or employees have refused to issue either an apology, or a letter

which will allow the removal of ROBERT HADDEN’s name from her son’s birth certificate.

40.    Because Defendant CORP. ENTITIES’ Chaperones stood by, silently, as ROBERT

HADDEN sexually exploited and abused Plaintiff JANE DOE #79, JANE DOE #79 reasonably

believed that ROBERT HADDEN was conducting legitimate medical treatment while he was

ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing, and

penetrating her, although she now knows that ROBERT HADDEN’s conduct was, in fact, sexual

exploitation and abuse. Despite the CORP. ENTITIES’ chaperones’ first-hand observation of the

abuse, and CORP. ENTITIES prior reports about ROBERT HADDEN’s sexual misconduct,

Defendant CORP. ENTITIES and their agents, partners, servants and employees actively

concealed the sexually exploitative behavior and abuse being perpetrated by ROBERT HADDEN,

as well as the complaints of HADDEN’s sexually exploitative behavior and abuse, and

inexplicably continued to allow ROBERT HADDEN to have unfettered sexual access to

COLUMBIA        UNIVERSITY        MEDICAL        CENTER,       NEW      YORK-PRESBYTERIAN



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HOSPITAL, and Defendant CORP. ENTITIES’ female patient populations.

       JANE DOE #82

41.    Plaintiff JANE DOE #82 saw ROBERT HADDEN at “Corp. Defendants” medical

facilities between 1999 and 2012, for what was supposed to be obstetric and gynecologic care and

treatment. Starting with JANE DOE #82’s initial office visit, defendant ROBERT HADDEN

began subjecting her to a course of predatory grooming, boundary violating, mental, emotional,

and physical sexual exploitation and abuse. During the visits, ROBERT HADDEN assailed JANE

DOE #82 with a barrage of wily, inappropriate, invasive and exploitive questions and statements

about her sexual history, whether her partner satisfied her, and specific sexual acts she engaged in.

ROBERT HADDEN’s approach to grooming was a mix of being awkward, authoritative, self-

deprecating, disarming, self-pitying, alarming, and overtly offensive.

42.    While ROBERT HADDEN was actively and verbally breaking down JANE DOE #82’s

boundaries, he peppered her with a series of irrelevant and medically inappropriate questions for

long periods while ogling and groping her breasts and unclothed body. At every visit ROBERT

HADDEN required JANE DOE #82 to get completely naked - in his presence - as he ogled and

exploited her. A Chaperone was present in the room during some of the verbal and physical

assaults and witnessed ROBERT HADDEN’s verbal and physical sexual abuse firsthand, yet did

nothing to prevent or stop ROBERT HADDEN’s sexual exploitation and abuse of Plaintiff JANE

DOE #82. Other times, a Chaperone was not present - or would leave the room before the

“examination” was complete at which point ROBERT HADDEN would continue to physically

sexually exploit and abuse JANE DOE #82. This included, but is not limited to, performing serial,

prolonged, and medically inappropriate breast examinations, serial and medically-inappropriate

PAP smears, serial vaginal exams, and medically inappropriate and unwarranted “mole-checks”



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where ROBERT HADDEN would require JANE DOE #82 to lay on the table unclothed while he

rubbed his hands up and down her body, spread her buttocks, groped her breasts, and examined

her entire body and private areas. All the while, ROBERT HADDEN would engage in idle chatter

or begin divulging wholly improper and inappropriate personal information about himself and

family - all in furtherance of his never-ending sexual exploitation and grooming of female patients.

During the serial, and medically non-indicated vaginal examinations that ROBERT HADDEN

performed at practically every single visit, ROBERT HADDEN would repeatedly penetrate JANE

DOE #82 by inserting his fingers into JANE DOE #82’s vagina in a rough and aggressive manner.

43.     During her pregnancy with her son in November of 2011, in advance of her due date,

ROBERT HADDEN instructed JANE DOE #82 that he didn’t want her going past her due date

and, suddenly and forcefully, inserted his fingers into her vagina to “loosen her mucus plug”. As

he forced his fingers inside of her, he proceeded to thrust his pelvis against her body making a

humping motion. Plaintiff JANE DOE #82 left the encounter in severe pain, feeling violated, while

ROBERT HADDEN’s facial expression and demeanor appeared as if he enjoyed what he had just

done.

44.     During the postpartum period, ROBERT HADDEN continued to sexually exploit and

abuse JANE DOE #82. At one of the postpartum office visit, while JANE DOE #82’s breasts were

engorged, ROBERT HADDEN insisted that a breast examination was necessary. After making

JANE DOE #82 remove her clothing, for no legitimate medical purpose, ROBERT HADDEN

proceeded to grope and cup JANE DOE #82’s breasts. During this prolonged, and wholly

medically unnecessary and unwarranted “breast examination”, ROBERT HADDEN began to

pinch, squeeze, and tug on JANE DOE #82’s nipples so as to express breast milk while allowing

it to run down her breasts. JANE DOE #82 has endured indescribable conflict, confusion, and



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mental injury due to her inability to comprehend the reasons and level of depravity of the abuse

inflicted upon her by ROBERT HADDEN.

45.    ROBERT HADDEN was well aware of the cognitive dissonance that his patients - who he

was sexually abusing - would experience with regard to their inability to come to grips with the

unfathomable idea that their own medical doctor was sexually exploiting and abusing them.

ROBERT HADDEN used this knowledge and medical training to his advantage while leveraging

his position of status and authority bestowed on him by COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and

CORP. ENTITIES, to his advantage, and in furtherance of his scheme to sexually abuse and exploit

as many women as possible under the guise of performing medical procedures. As a result,

ROBERT HADDEN was enabled to sexually abuse countless female patients of COLUMBIA

UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in a serial fashion, while

carrying out his sick fantasies surrounding doctor sexual abuse.

46.    Further, JANE DOE #82 was told by ROBERT HADDEN that she had a cancerous

condition in her cervix at a young age. As a result of “her condition” she needed to undergo an

office based surgical procedure with him called a “LEEP procedure”. Upon information and belief,

JANE DOE #82 did not have cancer and did not need the operative procedure. Instead, she is part

of a large class of patients who were lied to by ROBERT HADDEN and his enablers for the sole

purpose of granting HADDEN access to her body, creating and building a fear-based dependency

between JANE DOE #82 and ROBERT HADDEN, and allowing COLUMBIA UNIVERSITY,

THE    TRUSTEES       OF    COLUMBIA        UNIVERSITY,        NEW    YORK-PRESBYTERIAN

HOSPITAL, and CORP. ENTITIES, to reap the benefit of being able to generate millions of

dollars in revenues through the illegal charges for unnecessary medical procedures that were then



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submitted to the patient and her insurance company. As a result of her bona fide, but false, belief

that ROBERT HADDEN held her life in his hands, JANE DOE #82 continued to return to him to

ensure her survival and victory over a cancerous condition that she never had. Upon returning to

defendants’ offices for a followup visit with ROBERT HADDEN, and learning that ROBERT

HADDEN was “out on medical leave”, JANE DOE #82 was duped by defendants into not only

having to worry about whether the new physician would be able to keep her cancer-free, but also

into worrying that perhaps something tragic happened to ROBERT HADDEN, such that he

developed cancer himself. As a result of the affirmative and blatant lies that were told to JANE

DOE #82, she was tricked into believing that the exploitation and abuse committed upon her by

HADDEN, was some form of legitimate medical care — which it was not. In light of the

affirmative and explicit statements by defendants, which induced JANE DOE #82 into not

pursuing legal action at the time, the statute of limitation is tolled.

47.     These events are not isolated, and they were not done outside the knowledge and awareness

of his employers ROBERT HADDEN was known as “a shark” - who knew how to outmaneuver

chaperones, make quick hits at sexually abusing female patients, and keep going - amongst the

medical assistants and chaperones with whom he worked. At least one nurse who worked with

ROBERT HADDEN in 1992-1993 walked in on ROBERT HADDEN sexually abusing a female

patient at defendant COLUMBIA UNIVERSITY’s Audubon Clinic. However, when the nurse

reported the abuse ROBERT HADDEN was committing to her supervisor, the supervisor’s

response was for her to just “keep quiet”, “stay with your doctor” and “don’t let him get himself

in trouble”. COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

NEW YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, have created an

environment that was not only conducive to doctor sexual assaults, but actually enabled it. By



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failing to properly educate, train, empower, and support the medical assistants and chaperones,

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-

PRESBYTERIAN HOSPITAL, and CORP. ENTITIES created an environment where patients

were duped into believing that there was someone in the examination room who would keep them

safe. But, in reality, the hidden imbalance of power that existed between the chaperones and

medical doctors - where the chaperones were afraid to speak-up for fear of losing their jobs - had

the practical effect of making doctor sexual abuse appear to be legitimate medical care. Despite

documented patient complaints, documented responses by Department Chairs, and even a New

York Police Department arrest of ROBERT HADDEN at defendants’ medical clinic, no crime was

too big for COLUMBIA UNIVERSITY to try to coverup. Following HADDEN’s arrest in June,

2012, for licking a patient during a bogus vaginal exam — and with the knowledge and awareness

of JANE E. BOOTH, JOHN EVANKO, and MARY D’ALTON — sexual predator ROBERT

HADDEN was allowed to return to defendants’ clinics where he continued to sexually exploit,

assault and abuse single women, married women, pregnant women, recent mothers, and even

minors for another six weeks.

48.    Finally, as a result of being listed as the physician in attendance at the 2011 birth of JANE

DOE #82’s child, ROBERT HADDEN’s name is present on the original birth certificate of her

son. Every time JANE DOE #82 registers her child for summer camp, or sends him off to a new

school, she is re-traumatized by the sight of this sick sexual predator’s name on the birth certificate

of her child. To date, Columbia University, New York-Presbyterian Hospital, and their agents,

partners, servants, and/or employees have refused to issue either an apology, or a letter which will

allow the removal of ROBERT HADDEN’s name from her son’s birth certificate.

49.    Because Defendant CORP. ENTITIES’ Chaperones stood by, silently, as ROBERT



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HADDEN sexually exploited and abused Plaintiff JANE DOE #82, JANE DOE #82 reasonably

believed that ROBERT HADDEN was conducting legitimate medical treatment while he was

ogling, groping, verbally assaulting, and physically abusing, violating, sexually abusing,

expressing breast milk for no medical purpose during the postpartum period, and penetrating her,

although she now knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and

abuse. Despite the CORP. ENTITIES’ chaperones’ first-hand observation of the abuse, and CORP.

ENTITIES prior reports about ROBERT HADDEN’s sexual misconduct, Defendant CORP.

ENTITIES and their agents, partners, servants and employees actively concealed the sexually

exploitative behavior and abuse being perpetrated by ROBERT HADDEN, as well as the

complaints of HADDEN’s sexually exploitative behavior and abuse, and inexplicably continued

to allow ROBERT HADDEN to have unfettered sexual access to COLUMBIA UNIVERSITY

MEDICAL CENTER, NEW YORK-PRESBYTERIAN HOSPITAL, and Defendant CORP.

ENTITIES’ female patient populations.

50.    Plaintiffs were subjected to, among other things, sexual harassment and inappropriate

touching during the examinations by Robert Hadden.

51.    Plaintiffs are informed and believe and thereon allege that the Columbia Defendants and

at all relevant times herein mentioned was and are:

           (a) New York corporations or other entities, form unknown;

           (b) Citizens of New York;

           (c) Have their principal place of business in New York; and

           (d) Do business in New York County, New York.

52.    At all times relevant, defendant Robert R. Hadden, M.D. was the actual and/or apparent,

duly authorized agent, servant and/or employee of the COLUMBIA Defendants and carried on a



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gynecological medical practice in New York, New York. Defendant Hadden is and was a resident

of Tenafly, New Jersey.

53.    Plaintiffs are informed and believe and thereon allege that each of the Defendants named

in this Complaint is responsible in some manner for one or more of the events and happenings,

and proximately caused the injuries and damages, hereinafter alleged.

54.    Plaintiffs are informed and believe and thereon allege that each of the Defendants named

in this Complaint is, and at all relevant times herein mentioned was, the agent, servant, and/or

employee of each of the other Defendants, and that each Defendant was acting within the course

and scope of his, her, or its authority as the agent, servant, and/or employee of each of the other

Defendants. Consequently, each Defendant is jointly and severally liable to Plaintiffs and the other

members of the Class for the damages sustained as a proximate result of their conduct.

JANE DOE #84

55.    Plaintiff JANE DOE #84 saw ROBERT HADDEN at CORP ENTITIES’ medical facilities

       between 2010 and 2012, for what was supposed to be obstetric and gynecologic care and

       treatment. Starting with JANE DOE #84’s initial office visit, defendant ROBERT

       HADDEN began subjecting her to a course of predatory grooming, boundary violating,

       mental, emotional, and physical sexual exploitation and abuse. During the visits, ROBERT

       HADDEN assailed JANE DOE #84 with a barrage of wily, inappropriate, invasive and

       exploitive questions and statements about her body, physique and physical appearance.

       ROBERT HADDEN’s approach to grooming was a mix of being awkward, authoritative,

       self-deprecating, disarming, self-pitying, alarming, and overtly offensive. At the time,

       JANE DOE #84 had obtained a degree in medicine and had recently relocated to the United

       States from abroad. Despite her personal background and professional training in medicine,



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       she was inexplicably placed in a position by defendants where she suddenly felt forced to

       try and reconcile ROBERT HADDEN’s conduct as just “the way doctors do examinations

       at COLUMBIA UNIVERSITY” and CORP. ENTITIES. Specifically, defendants’ office

       staff who witnessed Hadden’s conduct — and did nothing to stop the behavior — lent

       further credence to the idea that this was all somehow standard and legitimate medical care

       at their medical clinics.

56.    While ROBERT HADDEN was actively and verbally breaking down JANE DOE #84’s

       boundaries, he peppered her with a series of irrelevant and medically inappropriate

       questions for long periods while ogling and groping her breasts and unclothed body. At

       nearly every visit ROBERT HADDEN required JANE DOE #84 to get completely naked

       - in his presence - as he ogled and exploited her. A chaperone was present in the room

       during some of the verbal and physical assaults and witnessed ROBERT HADDEN’s

       verbal and physical sexual abuse firsthand, yet did nothing to prevent or stop ROBERT

       HADDEN’s sexual exploitation and abuse of Plaintiff JANE DOE #84. Other times, a

       chaperone was not present or would leave the room before the “examination” was complete

       – at which point ROBERT HADDEN would continue to physically sexually exploit and

       abuse JANE DOE #84. This included, but is not limited to, performing serial, prolonged,

       and medically inappropriate breast examinations and serial vaginal exams. All the while,

       ROBERT HADDEN would engage in idle chatter or begin divulging wholly improper and

       inappropriate personal information about himself, his family, and even his own daughter,

       all in furtherance of his never-ending sexual exploitation and grooming of female patients.

57.    ROBERT HADDEN was well aware of the cognitive dissonance that his patients,

       including JANE DOE #84 , would experience with regard to their inability to come to grips



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       with the unfathomable idea that their own medical doctor, and a fellow practitioner, was

       being sexually exploitative and abusive. ROBERT HADDEN used this knowledge and

       medical training to his advantage while leveraging his position of status and authority

       bestowed on him by COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

       UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, to

       his advantage, and in furtherance of his scheme to sexually abuse and exploit as many

       women as possible under the guise of performing medical procedures. As a result,

       ROBERT HADDEN was enabled to sexually abuse countless female patients of

       COLUMBIA UNIVERSITY and NEW YORK-PRESBYTERIAN HOSPITAL, in a serial

       fashion, while carrying out his sick fantasies surrounding doctor sexual abuse.

58.    Before, during, and after the birth of JANE DOE #84’s child in 2011, ROBERT

       HADDEN’s exploitation and abuse continued. Defendant CORP. ENTITIES’ chaperones

       stood by, silently, as ROBERT HADDEN sexually exploited and abused Plaintiff JANE

       DOE #84. Because of this, JANE DOE #84 reasonably believed that ROBERT HADDEN

       was conducting legitimate medical treatment while he was ogling, groping, verbally

       assaulting, and physically abusing, violating, sexually abusing, expressing breast milk for

       no medical purpose during the postpartum period, and penetrating her, although she now

       knows that ROBERT HADDEN’s conduct was, in fact, sexual exploitation and abuse.

       Despite the CORP. ENTITIES’ chaperones’ first-hand observation of the abuse, and

       CORP. ENTITIES’ prior reports about ROBERT HADDEN’s sexual misconduct,

       Defendant CORP. ENTITIES and their agents, partners, servants and employees actively

       concealed the sexually exploitative behavior and abuse being perpetrated by ROBERT

       HADDEN, as well as the complaints of ROBERT HADDEN’s sexually exploitative



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       behavior and abuse, and inexplicably continued to allow ROBERT HADDEN to have

       unfettered sexual access to COLUMBIA UNIVERSITY MEDICAL CENTER, NEW

       YORK-PRESBYTERIAN HOSPITAL, and Defendant Corp. Entities’ female patient

       populations.

59.    ROBERT HADDEN continued to sexually exploit and abuse JANE DOE #84 in the early

       part of her second pregnancy in 2012. However, at some point around September of 2012,

       JANE DOE #84 received a phone call from Defendants asking if it was okay for her to see

       a different doctor at her next appointment because ROBERT HADDEN was “unavailable.”

       When JANE DOE #84 asked what happened, the staff would not tell her. When JANE

       DOE #84 returned for the next prenatal visit, she again asked about the circumstances

       concerning ROBERT HADDEN, and again nobody would tell her. JANE DOE #84

       proceeded to ask multiple people including the front desk staff, nurses, and even her newly

       assigned OB/GYN, at different times, what the circumstances were around ROBERT

       HADDEN’s sudden unavailability in the middle of her pregnancy. Initially, the staff would

       tell JANE DOE #84 that ROBERT HADDEN had personal issues that he needed to attend

       to and wasn’t able to make it, and later JANE DOE #84 was told that ROBERT HADDEN

       was out on “medical leave.” All of these statements were blatantly false. As a result of

       being lied to by defendants, JANE DOE #84 was driven by CORP. ENTITIES and their

       agents into not only having to worry about whether the new physician would be able to

       properly take over her prenatal care that was already in progress, but also into worrying

       that perhaps something tragic happened to ROBERT HADDEN or his family members,

       about whom ROBERT HADDEN routinely and improperly overshared information. As a

       result of the affirmative and blatant lies that were told to JANE DOE #84, she was tricked



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       into believing that the exploitation and abuse committed upon her by ROBERT HADDEN

       was some form of legitimate medical care — which it was not. In light of the affirmative

       and explicit statements by defendants, which induced JANE DOE #84 into not pursuing

       legal action at the time, and actually continuing to return to the very facility that was the

       location of her years of exploitation and abuse, the statute of limitation is tolled.

60.    These events are not isolated, and they were not done outside the knowledge and awareness

       of his employers, CORP. ENTITIES. ROBERT HADDEN was known as “a shark” - who

       knew how to outmaneuver chaperones, make quick hits at sexually abusing female patients,

       and keep going - amongst the medical assistants and chaperones with whom he worked. At

       least one nurse who worked with ROBERT HADDEN in 1992-1993 walked in on

       ROBERT HADDEN sexually abusing a female patient at defendant COLUMBIA

       UNIVERSITY’s Audubon Clinic. However, when the nurse reported the abuse ROBERT

       HADDEN was committing to her supervisor, the supervisor’s response was for her to just

       “keep quiet”, “stay with your doctor” and “don’t let him get himself in trouble”.

       COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW

       YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, have created an

       environment that was not only conducive to doctor sexual assaults, but actually enabled it.

       By failing to properly educate, train, empower, and support the medical assistants and

       chaperones,    COLUMBIA         UNIVERSITY,        THE     TRUSTEES        OF    COLUMBIA

       UNIVERSITY, NEW YORK-PRESBYTERIAN HOSPITAL, and CORP. ENTITIES

       created an environment where patients were duped into believing that there was someone

       in the examination room who would keep them safe. But, in reality, the hidden imbalance

       of power that existed between the chaperones and medical doctors - where the chaperones



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       were afraid to speak-up for fear of losing their jobs - had the practical effect of making

       doctor sexual abuse appear to be legitimate medical care. Despite documented patient

       complaints, documented responses by department chairs, and even a New York Police

       Department arrest of ROBERT HADDEN at Defendants’ medical clinic, no crime was too

       big for COLUMBIA UNIVERSITY to try to cover up. Following HADDEN’s arrest in

       June 2012 for licking a patient during a bogus vaginal exam — and with the knowledge

       and awareness of JANE E. BOOTH, JOHN EVANKO, and MARY D’ALTON — sexual

       predator ROBERT HADDEN was allowed to return to Defendants’ clinics where he

       continued to sexually exploit, assault and abuse single women, married women, pregnant

       women, recent mothers, and even minors for another six weeks.

61.    For the sake of completeness, ROBERT HADDEN has pleaded guilty in Criminal Court

       to sexually abusing two other female patients referenced throughout this document: one by

       licking her vagina during a purported vaginal examination - which was the second time

       that the patient stated ROBERT HADDEN had done it. And the other is when ROBERT

       HADDEN pleaded guilty to sexually abusing a separate female patient, who ROBERT

       HADDEN knew to have an incurable sexually transmitted disease, with his ungloved

       hands. However, none of this should have ever happened. COLUMBIA UNIVERSITY

       and its Principals, Administrators, Trustees and even President knew of ROBERT

       HADDEN’s predation of female patients dating back to the early 1990’s and yet did

       nothing to stop his behavior. Instead, COLUMBIA UNIVERSITY and its staff engaged in

       a 25-year coverup of ROBERT HADDEN’s serial sexual exploitation and abuse. As a

       result of the collusion, aiding, abetting, enabling and coverups by COLUMBIA

       UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, NEW YORK-



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       PRESBYTERIAN HOSPITAL, and CORP. ENTITIES, who all played an integral role,

       the defendants and their agents, servants and employees, are all directly responsible for

       helping ROBERT HADDEN become the most prolific serial sexual predator in the history

       of New York.

62.    Because Defendant CORP. ENTITIES’ chaperones stood by, silently, as ROBERT

       HADDEN sexually exploited and abused Plaintiff JANE DOE #84, JANE DOE #84

       reasonably believed that ROBERT HADDEN was conducting legitimate medical

       treatment while he was ogling, groping, verbally assaulting, and physically abusing,

       violating, sexually abusing, expressing breast milk for no medical purpose during the

       postpartum period, and penetrating her, although she now knows that ROBERT

       HADDEN’s conduct was, in fact, sexual exploitation and abuse. Despite the CORP.

       ENTITIES’ chaperones’ first-hand observation of the abuse, and CORP. ENTITIES’ prior

       reports about ROBERT HADDEN’s sexual misconduct, Defendant CORP. ENTITIES and

       their agents, partners, servants and employees actively concealed the sexually exploitative

       behavior and abuse being perpetrated by ROBERT HADDEN, as well as the complaints

       of ROBERT HADDEN’s sexually exploitative behavior and abuse, and inexplicably

       continued to allow ROBERT HADDEN to have unfettered sexual access to COLUMBIA

       UNIVERSITY MEDICAL CENTER, NEW YORK-PRESBYTERIAN HOSPITAL, and

       Defendant Corp. Entities’ female patient populations. Finally, the reality is that

       COLUMBIA UNIVERSITY MEDICAL CENTER, NEW YORK-PRESBYTERIAN

       HOSPITAL, and Defendant CORP. ENTITIES knew from the early 1990’s and had

       documented reports from patients about ROBERT HADDEN’s sexual exploitation and

       abuse of patients. As a result, ROBERT HADDEN should have never even had the



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        opportunity to sexually exploit and abuse the women herein. But instead of protecting these

        patients,   COLUMBIA         UNIVERSITY          MEDICAL        CENTER,        NEW   YORK-

        PRESBYTERIAN HOSPITAL, and Defendant Corp. Entities did nothing but protect,

        enable, and coverup ROBERT HADDEN’s criminal sexual conduct for a period of over

        20 years.

                                            CLASS ALLEGATIONS

63.     Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(3) and

23(c)(4). Plaintiffs seek certification of a Class that is initially defined as follows:

            All women who were examined by Robert Hadden, M.D. at Columbia
            University, The New York Presbyterian Hospital, Columbia
            Presbyterian Medical Center, Columbia University Medical Center;
            Columbia-Presbyterian Medical Center, East Side Associates, The
            Trustees of Columbia University in the City of New York, Columbia
            University College of Physicians and Surgeons, Presbyterian Hospital
            Physician Services Organization, Inc., Columbia Cornell Network
            Physicians, Inc., and/or Sloane Hospital for Women.


64.     Excluded from each of the above classes are Defendants, including any entity in which

Defendants have a controlling interest, are a parent or subsidiary, or which are controlled by

Defendants, as well as the officers, directors, affiliates, legal representatives, predecessors,

successors, and assigns of Defendants. Also excluded are the judges and court personnel in this

case and any members of their immediate families.

65.     Numerosity. The members of the class are so numerous that joinder of all members is

impractical. Plaintiffs are informed and believe that there are thousands of members of the class.

The precise number of class members can be ascertained from Defendants’ records.

66.     There are many questions of law and fact common to the claims of Plaintiffs and the Class,

and those questions predominate over any questions that may affect only individual Class members



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within the meaning of Fed. R. Civ. P. 23(a)(2) and (b)(3). Class treatment of common issues under

Fed. R. Civ. P. 23(c)(4) will materially advance the litigation.

67.    These common questions of law and fact include, without limitation:

           a. Whether Hadden engaged in a sexual harassment, assault, and battery;
           b. Whether Hadden’s sexual harassment, assault and battery was committed within
               the scope of his employment at COLUMBIA;
           c. Whether Hadden invaded the privacy of Plaintiff and the members of the Class;
           d. Whether Haddon’s sexual harassment, invasion of privacy, assault, and battery was
               committed within the scope of his employment at Columbia;
           e. Whether the COLUMBIA Defendants had knowledge of Hadden’s sexual
               harassment, assault, and battery;
           f. Whether the COLUMBIA Defendants facilitated, aided and abetted Hadden’s
               pattern and practice of sexual harassment, assault, and battery;
           g. Whether the COLUMBIA Defendants engaged in conduct designed to
               suppress and/or conceal complaints or reports regarding Hadden’s conduct;
           h. Whether the COLUMBIA Defendants negligently retained or supervised
               Hadden; and
           i. Whether Plaintiff and the members of the Class have been damaged by the wrongs
               complained of herein, and if so, the measure of those damages and the nature and
               extent of other relief that should be afforded.
68.    Typicality. Plaintiffs’ claims are typical of the claims of the Class they seeks to represent.

Plaintiffs and all Class members were exposed to uniform practices and sustained injuries arising

out of and caused by Defendants’ conduct.

69.    Adequacy. Plaintiffs are committed to the vigorous prosecution of this action and have

retained competent counsel experienced in the prosecution of class actions. Accordingly, Plaintiffs

are adequate representatives and will fairly and adequately protect the interests of the Class.

70.    Superiority. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. Since the amount of each individual Class member’s claim is

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small relative to the complexity of the litigation, and due to the financial resources of Defendants,

no Class member could afford to seek legal redress individually for the claims alleged herein.

Therefore, absent a class action, Class members will continue to suffer losses and Defendants’

misconduct will proceed without remedy. Even if Class members themselves could afford such

individual litigation, the court system could not. Given the complex legal and factual issues

involved, individualized litigation would significantly increase the delay and expense to all parties

and to the Court. Individualized litigation would also create the potential for inconsistent or

contradictory rulings. By contrast, a class action presents far fewer management difficulties, allows

claims to be heard which might otherwise go unheard because of the relative expense of bringing

individual lawsuits, and provides the benefits of adjudication, economies of scale and

comprehensive supervision by a single court.

71.    Finally, Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action.

                                       CONDUCT ALLEGATIONS

                      DEFENDANT ROBERT HADDEN – THE PERPETRATOR
72.    Defendant ROBERT HADDEN, at all times mentioned herein was and is an adult male,

who worked at defendant "CORP. ENTITIES", and who plaintiffs are informed and believe lives

in the State of New Jersey during the period of time during which the predatory grooming, sexual

exploitation, molestation, harassment, and sexual abuse took place. Plaintiffs are informed and

believe, and on this basis state, that ROBERT HADDEN received his medical degree from the

New York Medical College in 1987 and completed his medical internship and residency in

Obstetrics and Gynecology at Columbia University in New York, NY. Upon completion of his

residency, ROBERT HADDEN was hired by Defendant "CORP. ENTITIES" including

COLUMBIA UNIVERSITY and THE TRUSTEES OF COLUMBIA UNIVERSITY as a full-time

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gynecologist at COLUMBIA UNIVERSITY’s medical centers, offices, hospitals, and related

clinics, and was employed in that capacity until 2012, when Defendants allowed ROBERT

HADDEN to quietly and surreptitiously take an alleged “leave of absence”, with a financial bonus

paid by Defendants and/or their related entities to ROBERT HADDEN, in a deliberate and covert

attempt to continue concealing ROBERT HADDEN’s decades of sexual exploitation and abuse

from Plaintiffs and the countless other female patients that ROBERT HADDEN sexually abused

over the course of more than two (2) decades, and also to hide the real facts constituting the abuse

from law enforcement, the State of New York Medical Board/OPMC, the public at large, and other

competing universities and hospitals.

73.    During his twenty-year tenure at COLUMBIA UNIVERSITY and its related "CORP.

ENTITIES", Plaintiffs are informed and believe, and on this basis state, that ROBERT HADDEN

sexually exploited, abused and molested hundreds of female patients, including Plaintiffs, through

the use of his position, and authority as a full-time gynecologist employed by defendant

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

related "CORP. ENTITIES", as well as their offices, clinics and other entities and locations.

74.    It was only in 2012, when Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES", paid ROBERT HADDEN a

substantial financial bonus-incentive so that HADDEN would quietly resign — such that

Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

their related "CORP. ENTITIES", could continue to actively conceal the myriad complaints they

had received about ROBERT HADDEN’s sexually abusive behavior that had been perpetrated

against and upon female patients over the course of the past couple decades — that the systematic

sexual abuse, sexual exploitation, and molestation of female patients being committed upon their



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premises and in their hospitals, offices and clinics by ROBERT HADDEN was finally halted.

75.    At all times herein stated, ROBERT HADDEN was an agent, servant and/or employee of

Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

their related "CORP. ENTITIES", its medical clinics, facilities and locations, and/or was under

their complete control and/or direct supervision.

76.    ROBERT HADDEN was retained and/or contracted by Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

ENTITIES", as an Obstetrician-Gynecologist to provide medical care and treatment to women as

private patients, service patients, and also as students who were attending COLUMBIA

UNIVERSITY as undergraduate and graduate patients, many of whom had never received any

previous gynecological or obstetric care or treatment before. It was through this position of access,

trust and authority, that ROBERT HADDEN sexually exploited and abused countless women in

an effort to feed his insatiable and depraved sexual desires. All of the sexually exploitative,

manipulative, abusive and harassing conduct stated herein was done for ROBERT HADDEN’s

own sexual gratification, and was rooted in the willingness to put his own deviant sexual desires

above the need to provide safe and professional medical services to Plaintiff.

           DEFENDANTS COLUMBIA UNIVERSITY; THE NEW YORK AND
           PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL
           CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-
           PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST
           SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE
           CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF
           PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN
           SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC;
           and COLUMBIA CORNELL NETWORK PHYSICIANS, INC. (CORP.
           ENTITIES)
                                  - THE ENABLERS

77.    Defendant COLUMBIA UNIVERSITY at all times mentioned herein was and is a New



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York Corporation, having its principal place of business in the State of New York, County of New

York. Plaintiffs are informed and believe COLUMBIA UNIVERSITY and "CORP. ENTITIES"

are part of a private research university, established on July 17, 1754, located in New York, New

York. Defendant COLUMBIA UNIVERSITY boasts of being “a world-renowned Ivy League

institution”, “a world-class university dedicated to teaching, research, and clinical care”, and of

having “an illustrious 250 year history, an impeccable record of academic excellence and an

extensive roster of distinguished alumni and faculty”. COLUMBIA UNIVERSITY and its

affiliated medical facilities including New York-Presbyterian Hospital boast of having “More Top-

Doctors Than Any Other U.S. hospital.” Defendant COLUMBIA UNIVERSITY states as follows:

“Columbia University expects all officers of instruction, research, libraries, athletics, and

administration; support staff; and students to maintain the highest standards of ethical conduct.”

Columbia University set forth a Code of Ethics as follows:

       Principles
       The basic principles of Ethical Conduct are:
       1. Be honest, ethical and truthful.
       2. Obey the law.
       3. Follow University policies and procedures.

       Procedures

       1. Report conduct that concerns you. If you believe that an activity may be illegal,
       unethical or otherwise troubling, you should report it to your supervisor.
       2. An individual’s failure to live up to these principles may result in disciplinary
       action, including suspension, termination, and monetary fines consistent with
       University policy.

       Respect for Others

       Respect for others is the central principle that governs interactions between people
       at Columbia University. Two primary expectations that flow from this principle are
       to act with civility and to refrain from abuse of power. Respect for others is expected
       in peer to peer relationships, between service providers and people within and
       outside of the Columbia community, between people who are clients or customers


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        and service providers at the University, and within a supervisory context (e.g.,
        manager to employee and employee to manager).

        Where should I go with a Concern?

        “The first recommended resource for a clarification on a policy, regulation or law is
        your direct supervisor.”

78.     Upon information and belief, Defendant COLUMBIA UNIVERSITY maintains in excess

of a $ 10,900,000,000.00 ($10.9 billion) endowment as of June 30, 2018, and a $ 345,900,000.00

($3.459 million) joint budget with New York Presbyterian Hospital for the 2018 fiscal year.

Defendant COLUMBIA UNIVERSITY holds itself out to be one of the world’s most elite,

prestigious and reputable hospitals and higher learning institutions. Defendant COLUMBIA

UNIVERSITY deliberately crafted this public image in order to actively conceal the fact that it

employs a countless number of sexual predators in all areas of its university - including ROBERT

HADDEN - a serial sexual predator, who COLUMBIA UNIVERSITY, the TRUSTEES OF

COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES" enabled to serially sexual

assault its female patients at their medical office and clinics for over twenty (20) years.

79.     Defendant COLUMBIA UNIVERSITY at all times mentioned herein was and is a New

York Corporation, having its principal place of business in the State of New York, County of New

York.

80.     Each of the plaintiffs herein were patients of COLUMBIA UNIVERSITY, and/or their

agents, servants, employees, and CORP. ENTITIES.

81.     Defendant TRUSTEES OF COLUMBIA UNIVERSITY at all times mentioned herein was

and is a New York Corporation, having its principal place of business in the State of New York,

County of New York. Upon information and belief, The Board of TRUSTEES of COLUMBIA

UNIVERSITY is the governing body of COLUMBIA UNIVERSITY and exercises the ultimate



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dominion and control of same. The Board of TRUSTEES of COLUMBIA UNIVERSITY is

comprised of a collection of well established, politically connected, businesspeople from within,

and outside of, the City of New York.

82.    Upon information and belief, Defendant THE TRUSTEES OF COLUMBIA

UNIVERSITY IN THE CITY OF NEW YORK (hereinafter "TRUSTEES"), has no parent

corporation and has no publicly held corporations that own 10% or more of its stock.

83.    Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

corporation organized and existing under and by virtue of the laws of the State of New York with

its principal offices located at 622 W. 168th Street, New York, NY 10032.

84.    Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

corporation organized and existing under and by virtue of the laws of the State of New York with

its principal offices located at 622 W. 168th Street, New York, NY 10032.

85.    Upon information and belief, Defendant “TRUSTEES” is a domestic not-for-profit

corporation organized and existing under and by virtue of the laws of the State of New York with

its principal offices located at 16 E. 60th Street, Suite 480, New York, NY 10022.

86.    Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages,

and/or controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY, THE

NEW YORK AND PRESBYTERIAN HOSPITAL (hereinafter "NYPH"), and the Department of

Obstetrics and Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS

AND SURGEONS (hereinafter "CUCPS"). Upon information and belief, Defendant NYPH and

Defendant CUCPS, doing business as SLOANE HOSPITAL FOR WOMEN, is located at 161 Fort

Washington Avenue, New York, NY 10032.

87.    Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages,



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and/or controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY, THE

NEW YORK AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics and

Gynecology of the NEW YORK PRESBYTERIAN HOSPITAL. Upon information and belief,

Defendant NYPH and Defendant TRUSTEES doing business as COLUMBIA PRESBYTERIAN

MEDICAL CENTER, EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New

York, NY 10022.

88.      Upon information and belief, Defendant “TRUSTEES” oversees, operates, manages,

and/or controls the obstetrics and gynecological service within COLUMBIA UNIVERSITY,

COLUMBIA UNIVERSITY MEDICAL CENTER, and the Department of Obstetrics and

Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

SURGEONS. Upon information and belief, Defendant NYPH and Defendant CUCPS, doing

business as EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New York, NY

10022.

89.      Upon information and belief, Defendant COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS (hereinafter "CUCPS") is a domestic not-for-profit corporation

organized and existing under and by virtue of the laws of the State of New York with its principal

offices located at 622 W. 168th Street, New York, NY 10032.

90.      Upon information and belief, Defendant THE NEW YORK AND PRESBYTERIAN

HOSPITAL (hereinafter "NYPH") is a domestic not-for-profit corporation organized and existing

under and by virtue of the laws of the State of New York with its principal offices located at 525

East 68th Street, New York, NY 10065.

91.      Upon information and belief, SLOANE HOSPITAL FOR WOMEN serves as the obstetrics

and gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL, and



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the Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS. Upon information and belief, Defendant NYPH and Defendant

CUCPS, doing business as SLOANE HOSPITAL FOR WOMEN, is located at 161 Fort

Washington Avenue, New York, NY 10032.

92.    Upon information and belief, Defendant COLUMBIA PRESBYTERIAN MEDICAL

CENTER (hereinafter "CPMC") is a domestic not-for-profit corporation organized and existing

under and by virtue of the laws of the State of New York with its principal offices located at 525

East 68th Street, New York, NY 10065.

93.    Upon information and belief, Defendant COLUMBIA UNIVERSITY MEDICAL

CENTER (hereinafter "CUMC") is a domestic not-for-profit corporation organized and existing

under and by virtue of the laws of the State of New York with its principal offices located at 630

West 168th St., New York, NY 10032.

94.    Upon information and belief, Defendant PRESBYTERIAN HOSPITAL PHYSICIAN

SERVICES ORGANIZATION, INC. (hereinafter "PHPSO") is a domestic not-for-profit

corporation organized and existing under and by virtue of the laws of the State of New York with

its principal offices located at 1211 Avenue of the Americas, New York, NY 10036.

95.    Upon information and belief, Defendant COLUMBIA-CORNELL CARE, LLC

(hereinafter "CCC") is a domestic not-for-profit entity with its principal office located at 16 E.

60th Street, Suite 480, New York, NY 10022.

96.    Upon information and belief, Defendant COLUMBIA CORNELL NETWORK

PHYSICIANS, INC. (hereinafter "CCNP") is a domestic not-for-profit corporation organized and

existing under and by virtue of the laws of the State of New York with its principal offices located

at 900 Third Avenue, Suite 500, New York, NY 10022.



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97.     Upon information and belief, COLUMBIA PRESBYTERIAN MEDICAL CENTER,

EAST SIDE ASSOCIATES (“CPMC-ESA”) serves as an obstetrics and gynecological service to

THE NEW YORK AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics and

Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND

SURGEONS. Upon information and belief, Defendant NYPH and Defendant CUCPS, doing

business as COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES,

is located at 16 E. 60th Street, Suite 408, New York, NY 10022.

98.     Upon information and belief, EAST SIDE ASSOCIATES (“ESA”) serves as the obstetrics

and gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL, and

the Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS. Upon information and belief, Defendant NYPH and Defendant

CUCPS, doing business as EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408,

New York, NY 10022.

99.     Upon information and belief, COLUMBIA PRESBYTERIAN MEDICAL CENTER,

EAST SIDE ASSOCIATES serves as an obstetrics and gynecological service to THE NEW

YORK AND PRESBYTERIAN HOSPITAL, and the Department of Obstetrics and Gynecology

of the COLUMBIA UNIVERSITY MEDICAL CENTER. Upon information and belief,

Defendant NYPH and Defendant CUMC, doing business as COLUMBIA PRESBYTERIAN

MEDICAL CENTER, EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New

York, NY 10022.

100.    Upon information and belief, EAST SIDE ASSOCIATES serves as the obstetrics and

gynecological service within THE NEW YORK AND PRESBYTERIAN HOSPITAL, and the

Department of Obstetrics and Gynecology of the COLUMBIA UNIVERSITY MEDICAL



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CENTER. Upon information and belief, Defendant NYPH and Defendant CUMC, doing business

as EAST SIDE ASSOCIATES, is located at 16 E. 60th Street, Suite 408, New York, NY 10022.

101.    Upon information and belief, Defendant ROBERT HADDEN, is and was a resident of the

State of New York, New York.

102.    Upon information and belief, Defendant ROBERT HADDEN, is and was a resident of the

State of New Jersey, residing in Tenafly, New Jersey.

103.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant COLUMBIA.

104.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant TRUSTEES.

105.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant CUCPS.

106.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant NYPH.

107.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant CPMC.

108.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant CUMC.

109.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant PHPSO.

110.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant CCC.

111.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or



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employee of defendant CCNP.

112.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant CPMC-ESA.

113.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant EAST SIDE ASSOCIATES.

114.    At all times herein mentioned, defendant ROBERT HADDEN, was an agent, servant or

employee of defendant SLOANE.

115.    At all times herein mentioned, defendant NYPH, was a domestic corporation, duly

organized and existing under and by virtue of the laws of the State of New York.

116.    At all times herein mentioned, defendant NYPH was the owner of a hospital known as

NEW YORK PRESBYTERIAN HOSPITAL, located at 525 E. 68th Street, New York, NY 10021.

117.    At all times herein mentioned, defendant NYPH operated, managed and controlled the

aforesaid hospital.

118.    At all times herein mentioned, defendant Columbia-Presbyterian Medical Center, East Side

Associates, was a domestic corporation, duly organized and existing under and by virtue of the

laws of the State of New York.

119.    At all times herein mentioned, defendant NYPH was the owner of a medical facility known

as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street, Suite

408, New York, NY 10022.

120.    At all times herein mentioned, defendant NYPH was the owner of a medical facility known

as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

121.    At all times herein mentioned, defendant NYPH operated, managed and controlled CPMC-

ESA.



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122.    At all times herein mentioned, defendant COLUMBIA operated, managed and controlled

ESA.

123.    At all times herein mentioned, defendant NYPH operated, managed and controlled ESA.

124.    At all times herein mentioned, defendant CUMC operated, managed and controlled CPMC-

ESA.

125.    At all times herein mentioned, defendant CUMC operated, managed and controlled ESA.

126.    At all times herein mentioned, defendant SLOANE operated, managed and controlled

CPMC-ESA.

127.    At all times herein mentioned, defendant SLOANE operated, managed and controlled

ESA.

128.    At all times herein mentioned, defendant PHPSO operated, managed and controlled

CPMC-ESA.

129.    At all times herein mentioned, defendant PHPSO operated, managed and controlled ESA.

130.    At all times herein mentioned, defendant CUCPS operated, managed and controlled

CPMC-ESA.

131.    At all times herein mentioned, defendant CUCPS operated, managed and controlled ESA.

132.    At all times herein mentioned, defendant CCNP operated, managed and controlled CPMC-

ESA.

133.    At all times herein mentioned, defendant CCNP operated, managed and controlled ESA.

125.    At all times herein mentioned, defendant CUMC was the owner of a medical facility known

as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street, Suite

408, New York, NY 10022.

126.    At all times herein mentioned, defendant CUMC was the owner of a medical facility known



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as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

127.    At all times herein mentioned, defendant CPMC was the owner of a medical facility known

as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street, Suite

408, New York, NY 10022.

128.    At all times herein mentioned, defendant CPMC was the owner of a medical facility known

as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

129.    At all times herein mentioned, defendant COLUMBIA was the owner of a medical facility

known as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th

Street, Suite 408, New York, NY 10022.

130.    At all times herein mentioned, defendant PHPSO was the owner of a medical facility

known as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th

Street, Suite 408, New York, NY 10022.

131.    At all times herein mentioned, defendant PHPSO was the owner of a medical facility

known as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

132.    At all times herein mentioned, defendant CCNP was the owner of a medical facility known

as Columbia-Presbyterian Medical Center, East Side Associates, located at 16 E. 60th Street, Suite

408, New York, NY 10022.

133.    At all times herein mentioned, defendant CCNP was the owner of a medical facility known

as East Side Associates, located at 16 E. 60th Street, Suite 408, New York, NY 10022.

134.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant COLUMBIA, were agents,

servants and/or employees of defendant COLUMBIA.

135.    At all times herein mentioned, all of the physicians, nurses and other personnel involved



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in the diagnosis, care and treatment of the plaintiffs in defendants medical offices, hospitals, and/or

clinics, were agents, servants and/or employees of defendant COLUMBIA.

136.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant NYPH, were agents, servants

and/or employees of defendant NYPH.

137.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant NYPH.

138.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant NYPH.

139.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant Columbia-

Presbyterian Medical Center, East Side Associates.

140.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant East Side Associates.

141.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant CUCPS.

142.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,



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servants and/or employees of defendant CUCPS.

143.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant CPMC.

144.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant CPMC.

145.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant CUMC.

146.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant CUMC.

147.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant PHPSO.

148.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant PHPSO.

149.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant CCNP.

150.    At all times herein mentioned, all of the physicians, nurses and other personnel involved



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in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant CCNP.

151.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant CCC.

152.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant CCC.

153.    At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant Columbia-Presbyterian Medical

Center, East Side Associates, were agents, servants and/or employees of defendant SLOANE.

154.     At all times herein mentioned, all of the physicians, nurses and other personnel involved

in the diagnosis, care and treatment of the plaintiffs in defendant East Side Associates, were agents,

servants and/or employees of defendant SLOANE.

155.     At all times herein mentioned, defendant ROBERT HADDEN, was a physician duly

licensed to practice medicine in the State of New York.

156.    At all times herein mentioned, Defendant ROBERT HADDEN, was an agent, servant or

employee of Defendant COLUMBIA, Defendant TRUSTEES, Defendant CUCPS, Defendant

NYPH, Defendant CPMC-ESA, Defendant ESA, Defendant CPMC, Defendant CUMC,

Defendant PHPSO, Defendant CCNP, Defendant CCC, and/or Defendant SLOANE (hereinafter

collectively "CORP. ENTITIES”).

157.    Prior to January 1993, defendant “CORP. ENTITIES”, their agents, servants and/or

employees, hired, employed, credentialed and/or enlisted Defendant ROBERT HADDEN, to



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render gynecologic and/or obstetric care to their patients.

158.    At all times herein mentioned, defendant ROBERT HADDEN was a sexual predator.

159.    ROBERT HADDEN sexually assaulted patients on the premises of defendant “CORP.

ENTITIES”.

160.    ROBERT HADDEN sexually assaulted patients on the premises of defendant “CORP.

ENTITIES” under the guise of rendering medical care.

161.    Defendant “CORP. ENTITIES” enabled defendant ROBERT HADDEN to sexually

assault patients on their premises.

162.    Defendant “CORP. ENTITIES” failed to timely and properly supervise and/or monitor

defendant ROBERT HADDEN.

163.    Defendant “CORP. ENTITIES” knew, or should have known, that defendant ROBERT

HADDEN was sexually assaulting patients under the guise of rendering medical care.

164.    Defendant “CORP. ENTITIES” knew, or should have known, that defendant ROBERT

HADDEN was sexually assaulting patients on their premises.

165.    Defendant “CORP. ENTITIES” did not have policies or procedures in place to protect

patients from being sexually assaulted by defendant ROBERT HADDEN.

166.    Medical personnel, including nurses, administrators and supervisors of defendant “CORP.

ENTITIES” knew that defendant ROBERT HADDEN was sexually assaulting patients on their

premises.

167.     Defendant “CORP. ENTITIES” created an environment which caused medical personnel,

including nurses and administrators, to not report the sexual assaults being committed by defendant

ROBERT HADDEN for fear of reprisals.

168.    Medical personnel, including nurses, administrators and supervisors at defendant “CORP.



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ENTITIES” have known for 25 years that defendant ROBERT HADDEN is a sexual predator who

has sexually assaulted patients on their premises.

169.    Medical personnel, including nurses, administrators and supervisors at defendant “CORP.

ENTITIES” facilitated defendant ROBERT HADDEN in the sexual assaults he was committing

on the premises of “CORP. ENTITIES”.

170.    Defendant “CORP. ENTITIES” have failed to take action or levy penalties against

defendant ROBERT HADDEN for the sexual assaults he has committed on their premises.

171.    Defendant “CORP. ENTITIES” have failed to undertake a meaningful investigation to

ascertain the facts and circumstances that allowed the sexual assaults to be committed by defendant

ROBERT HADDEN upon their premises.

172.    Defendant “CORP. ENTITIES” have approved disability payments to defendant ROBERT

HADDEN for a purported “disability” which he claims caused him to be unable to work - when in

reality ROBERT HADDEN’s lack of current employment is the result of decades of sexual

predation.

173.    Defendant ROBERT HADDEN was convicted of criminal and felonious sexual assault of

patients that he committed on the premises of defendant “CORP. ENTITIES”.

174.     Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to

monitor and supervise the actions of Defendant ROBERT HADDEN which enabled the sexual

assaults to take place.

175.     Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, were complicit

in the actions of ROBERT HADDEN which enabled the sexual assaults to take place.

176.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to act

upon information and facts that Defendant ROBERT HADDEN was sexually assaulting patients



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on their premises.

177.    Defendant “CORP. ENTITIES” have enabled defendant ROBERT HADDEN to collect

disability income despite the fact that he is a sexual predator - and is now registered as a convicted

sexual felon - as a result of his having sexually assaulted patients on the premises of defendant

“CORP. ENTITIES”.

178.    Defendant “CORP. ENTITIES” have enabled defendant ROBERT HADDEN to collect

disability income for a purported mental “disability” which he claims is causing him to be unable

to work - when in reality ROBERT HADDEN’s lack of current employment is the result of decades

of sexual predation.

179.    Defendant “CORP. ENTITIES” have entered into an arrangement with defendant

ROBERT HADDEN in exchange for his cooperation with them in the civil lawsuits involving his

decades-long sexual assaults and predation of female patients.

180.    There has been no disciplinary action by defendant “CORP. ENTITIES” against defendant

ROBERT HADDEN.

181.    There has been no disciplinary action by defendant “CORP. ENTITIES” against any of the

nurses and administrators who enabled defendant ROBERT HADDEN to sexually assault patients

on their premises.

182.    Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

ROBERT HADDEN, from the first time that ROBERT HADDEN obtained privileges with the

named “CORP. ENTITIES” through the present.

183.    Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

ROBERT HADDEN between January 1993 and the present.

184.    Prior to January 2015, Defendant “CORP. ENTITIES”, their agents, servants, and/or



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employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

185.    Prior to January 2014, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

186.    Prior to January 2013, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

187.    Prior to January 2012, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

188.    Prior to January 2011, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

189.    Prior to January 2010, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

190.    Prior to January 2009, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

191.    Prior to January 2008, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.



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192.    Prior to January 1998, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

193.    Prior to January 1993, Defendant “CORP. ENTITIES”, their agents, servants, and/or

employees, were aware of complaints that defendant ROBERT HADDEN had sexually assaulted

patients upon the premises of Defendant “CORP. ENTITIES”.

194.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees knew, or should

have known, that defendant ROBERT HADDEN had sexually assaulted patients upon their

premises as far back as the 1990s.

195.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, observed

defendant ROBERT HADDEN sexually assaulting patients as far back as the 1990s.

196.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees witnessed

defendant ROBERT HADDEN sexually assaulting patients as far back as the 1990s.

197.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, were informed

and/or aware of sexual assaults being committed by defendant ROBERT HADDEN and failed to

protect patients from further sexual assaults and sexual abuse.

198.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees knew, or should

have known, of sexual assaults being committed by defendant ROBERT HADDEN and failed to

protect patients from further sexual assaults and/or sexual abuse.

199.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees reported to other

defendant “CORP. ENTITIES” personnel that defendant ROBERT HADDEN was sexually

assaulting patients as far back as the 1990s.

200.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees had received



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complaints by patients who had been sexually assaulted and sexually abused by ROBERT

HADDEN prior to ROBERT HADDEN entering a plea of being criminally guilty on February 22,

2016.

201.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees took no action

on the information and knowledge they had concerning patients being sexually abused and

sexually assaulted by ROBERT HADDEN prior to ROBERT HADDEN entering a plea of

criminal guilt on February 22, 2016.

202.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have taken no

action on the information and knowledge they have about patients being sexually assaulted and

sexually abused by ROBERT HADDEN since Defendant ROBERT HADDEN entered his plea of

criminal guilt on February 22, 2016.

203.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have taken no

action on the information and knowledge they have about patients being sexually assaulted and

sexually abused by ROBERT HADDEN since Defendant ROBERT HADDEN was sentenced in

the Criminal Case on March 29, 2016.

204.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

professional and/or ethical duty, responsibility and obligation to report all suspicions of sexual

assaults by doctors or other medical personnel to Criminal Authorities.

205.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

professional and/or ethical duty, responsibility and obligation to report all suspicions of sexual

assaults by doctors or other medical personnel to Defendant Medical Entity supervisors.

206.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have a legal,

professional and/or ethical duty, responsibility and obligation to report all suspicions of sexual



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assaults by doctors or other medical personnel to both Criminal Authorities and Defendant Medical

Entity supervisors.

207.    Defendant “CORP. ENTITIES” should encourage all medical personnel, as well as all of

their agents, servants, and/or employees, to immediately report all suspected sexual assaults to the

Administration as well as to Criminal Authorities.

208.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees created an

environment which discouraged reporting medical doctors to Administrators and Criminal

Authorities - even where medical doctors were sexually assaulting patients.

209.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never reported

ROBERT HADDEN to any Administrators for having sexually assaulted patients.

210.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees did report

ROBERT HADDEN to Administrators for having sexually assaulted patients.

211.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never took any

disciplinary action against ROBERT HADDEN for having sexually assaulted patients.

212.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees continued to

grant ROBERT HADDEN privileges despite the fact that they knew, or should have known, that

he was sexually assaulting patients.

213.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees had a duty to

timely and properly monitor and/or supervise their medical personnel, including ROBERT

HADDEN, to ensure that patients were not being sexually assaulted.

214.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to timely

and properly monitor and/or supervise their medical personnel, including ROBERT HADDEN, to

ensure that patients were not being sexually assaulted.



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215.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees never reported

ROBERT HADDEN to any Criminal Authorities.

216.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees allowed

ROBERT HADDEN to continue to work as a medical doctor upon their premises after he sexually

assaulted patients.

217.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees allowed

ROBERT HADDEN to continue to work as a medical doctor upon their premises after they knew,

or should have known, that ROBERT HADDEN sexually assaulted patients.

218.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to protect

their patients from further sexual assaults, sexual exploitation, and sexual abuse by ROBERT

HADDEN.

219.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees failed to conduct

timely and proper investigations into the information and reports that ROBERT HADDEN

sexually assaulted patients.

220.    Defendants    COLUMBIA      UNIVERSITY,       THE    TRUSTEES      OF    COLUMBIA

UNIVERSITY, and “CORP. ENTITIES” continued judicial and extrajudicial denials that

ROBERT HADDEN sexually assaulted patients despite the fact that they possessed conclusive

proof that ROBERT HADDEN is guilty of criminal sexual assaults.

221.    Defendants    COLUMBIA      UNIVERSITY,       THE    TRUSTEES      OF    COLUMBIA

UNIVERSITY, and “CORP. ENTITIES” have continued their judicial and extrajudicial denials

that ROBERT HADDEN sexually assaulted and sexually abused patients despite the fact that they

possessed conclusive proof that ROBERT HADDEN is guilty of criminal sexual assaults.

222.    Defendants    COLUMBIA      UNIVERSITY,       THE    TRUSTEES      OF    COLUMBIA



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UNIVERSITY, and “CORP. ENTITIES”, through their agents, servants, and/or employees are

actively and fraudulently misrepresenting, deceiving, and lying to each of the Plaintiffs herein, and

the public at large, about the facts surrounding ROBERT HADDEN’s serial sexual assaults and

sexual abuses of female patients by telling everyone that ROBERT HADDEN is out on “medical

leave”, that they’ve “never heard of anyone else saying this about him”, and that ROBERT

HADDEN is just “old school” and not a sexual predator.

223.    Defendant ROBERT HADDEN continues to maintain his own judicial and extrajudicial

denials that he sexually assaulted countless patients despite the fact that ROBERT HADDEN is,

in fact, guilty of countless criminal sexual assaults.

224.    Defendant ROBERT HADDEN has betrayed a position of respect and trust by committing

criminal sexual assaults on medical patients.

225.    Defendant “CORP. ENTITIES” have betrayed a position of respect and trust by permitting

defendant ROBERT HADDEN to criminal sexual assaults on medical patients upon their

premises.

226.    Defendant “CORP. ENTITIES” have long known that ROBERT HADDEN was a sexual

predator, but instead of terminating ROBERT HADDEN’s medical privileges and reporting him

to Criminal Authorities, defendant “CORP. ENTITIES”, their agents, servants, and/or employees

instead chose to simply move defendant ROBERT HADDEN to other medical facilities at other

locations within Defendant “CORP. ENTITIES’” control where he continued to sexually assault

other patients.

227.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have violated a

sacrosanct relationship of Trust by failing to protect female patients from being sexually assaulted

by defendant ROBERT HADDEN.



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228.    By tolerating the sexual misconduct of ROBERT HADDEN, Defendant “CORP.

ENTITIES”, their agents, servants, and/or employees have completely violated the sacrosanct

relationship of Trust by placing their patients in the way of harm and being sexually assaulted by

defendant ROBERT HADDEN.

229.    Defendant ROBERT HADDEN has violated a sacrosanct relationship of Trust by sexually

assaulting patients.

230.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were informed

and/or aware of the sexual assaults being committed by ROBERT HADDEN and failed to protect

their patients from further sexual assaults and sexual abuse.

231.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were not

informed and/or have not become aware of the sexual assaults being committed by ROBERT

HADDEN.

232.    Defendant ROBERT HADDEN is guilty of committing a Criminal Sexual Act in the Third

Degree upon a patient in violation of P.L. § 130.40(1).

233.    On February 7, 2012 Defendant ROBERT HADDEN engaged in Oral Sexual Contact with

an Individual who was incapable of consent by reasons of some factor other than being less than

seventeen years old in violation of P.L. § 130.40(1).

234.    On February 7, 2012 Defendant ROBERT HADDEN engaged in Oral Sexual Contact with

a patient in violation of P.L. § 130.40(1).

235.     Defendant ROBERT HADDEN is guilty of the Crime of Forcibly Touching "JANE DOE

#6" (hereinafter “JANE DOE #6”) in a related action in violation of P.L. § 130.52.

236.    On May 7, 2012, ROBERT HADDEN intentionally and for no legitimate purpose forcibly

touched the sexual and other intimate parts of a female patient for the purpose of degrading and



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abusing her and for the purpose of gratifying his sexual desire.

237.    On May 7, 2012, Defendant ROBERT HADDEN forcibly touched a female patient in

violation of P.L. § 130.52.

238.    The female patient referenced above was HIV-positive when she was under the care and

treatment of defendants, their agents, servants, and/or employees.

239.    Defendant ROBERT HADDEN was fully aware that the female patient referenced above

was HIV-positive while she was under his care and treatment in May of 2012.

240.    Defendant “CORP. ENTITIES” were fully aware that the patient referenced above was

HIV-positive while she was under their care and treatment in May of 2012.

241.    Defendant ROBERT HADDEN forcibly touched the sexual and other intimate parts of the

female patient referenced above for the purpose of degrading and abusing her and for the purpose

of gratifying his sexual desire on May 7, 2012, despite his full knowledge and awareness that she

was HIV-positive.

242.    Despite defendant ROBERT HADDEN’s full knowledge and awareness that the above

referenced patient was HIV-positive, ROBERT HADDEN criminally sexually assaulted her on

May 7, 2012, and exposed her and other patients and personnel to an increased risk of harm though

his deviant, bottomless conduct, and wanton, careless, and reckless disregard of patient safety.

243.    Defendant ROBERT HADDEN sexually assaulted the above referenced patient on May 7,

2012.

244.    Defendant ROBERT HADDEN sexually assaulted the above referenced patient on dates

prior to May 7, 2012.

245.    ROBERT HADDEN is a convicted sexual felon.

246.    ROBERT HADDEN is a registered sex offender.



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247.    Had plaintiffs not commenced their Civil lawsuits against defendant ROBERT HADDEN

and Defendant “CORP. ENTITIES”, defendant “CORP. ENTITIES” would have continued to

allow ROBERT HADDEN to retain his medical privileges and sexually abuse and sexually assault

obstetric & gynecologic patients upon the premises of defendant “CORP. ENTITIES”.

248.    ROBERT HADDEN has sexually abused and sexually assaulted countless patients over

the course of his career as a medical doctor upon the premises of defendant “CORP. ENTITIES”.

249.    ROBERT HADDEN has sexually abused and sexually assaulted patients going back as far

as the 1990’s, all while under the employment and supervision of defendant “CORP. ENTITIES”.

250.    Defendant “CORP. ENTITIES” were aware of defendant ROBERT HADDEN’s criminal

and outrageous behavior prior to August 2012.

251.    Defendant “CORP. ENTITIES” have chosen to turn their backs on the patients who have

been sexually abused and sexually assaulted by defendant ROBERT HADDEN.

252.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have failed to

report instances of sexual misconduct and sexual abuse committed by defendant ROBERT

HADDEN.

253.    Defendant “CORP. ENTITIES”, their agents, servants, and/or employees have failed to act

on instances of sexual misconduct and sexual abuse committed by defendant ROBERT HADDEN.

254.    Defendant “CORP. ENTITIES” deny responsibility for the sexual abuse their patients have

endured at the hands of defendant ROBERT HADDEN.

255.    The answering defendant feels it is not responsible for the sexual abuse that its patients

have endured at the hands of defendant ROBERT HADDEN.

256.    Defendant “CORP. ENTITIES” have taken no disciplinary action against defendant

ROBERT HADDEN as a result of the sexual assaults and sexual abuse he has committed on their



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premises.

257.    Defendant “CORP. ENTITIES” have made no effort to right the wrongs that have been

committed upon their premises with regard to the within individually named survivors.

258.    Defendant “CORP. ENTITIES” refuse to take responsibility for the sexual abuse their

patients have endured as a result of the complicity of their agents, servants and/or employees who

failed to report, terminate and/or take any disciplinary or legal action against ROBERT HADDEN.

259.     Defendant ROBERT HADDEN denies violating the standard of care with regard to the

care and treatment rendered to the above referenced patient on May 7, 2012.

260.    Defendant TRUSTEES denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

261.    Defendant CUCPS denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

262.    Defendant NYPH denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

263.    Defendant CPMC denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

264.    Defendant CUMC denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

265.    Defendant PHPSO denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

266.    Defendant CCC denies that ROBERT HADDEN violated the standard of care with regard

to the care and treatment rendered to the above referenced patient on May 7, 2012.

267.    Defendant CCNP denies that ROBERT HADDEN violated the standard of care with regard



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to the care and treatment rendered to the above referenced patient on May 7, 2012.

268.    Defendant COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST SIDE

ASSOCIATES denies that ROBERT HADDEN violated the standard of care with regard to the

care and treatment rendered to the above referenced patient on May 7, 2012.

269.    Defendant EAST SIDE ASSOCIATES denies that ROBERT HADDEN violated the

standard of care with regard to the care and treatment rendered to the above referenced patient on

May 7, 2012.

270.    Defendant SLOANE denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on May 7, 2012.

271.    Defendant ROBERT HADDEN denies violating the standard of care with regard to the

care and treatment rendered to the patient he sexually assaulted in another related action

(hereinafter “JANE DOE A”) on February 7, 2012.

272.     Defendant COLUMBIA denies that ROBERT HADDEN violated the standard of care

with regard to the care and treatment rendered to "JANE DOE A" on February 7, 2012.

273.    Defendant TRUSTEES denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

274.    Defendant CUCPS denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012

275.    Defendant NYPH denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

276.    Defendant CPMC denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

277.    Defendant CUMC denies that ROBERT HADDEN violated the standard of care with



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regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

278.    Defendant PHPSO denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

279.    Defendant CCC denies that ROBERT HADDEN violated the standard of care with regard

to the care and treatment rendered to the above referenced patient on February 7, 2012.

280.    Defendant CCNP denies that ROBERT HADDEN violated the standard of care with regard

to the care and treatment rendered to the above referenced patient on February 7, 2012.

281.    Defendant COLUMBIA PRESBYTERIAN MEDICAL CENTER, EAST SIDE

ASSOCIATES denies that ROBERT HADDEN violated the standard of care with regard to the

care and treatment rendered to the above referenced patient on February 7, 2012.

282.    Defendant EAST SIDE ASSOCIATES denies that ROBERT HADDEN violated the

standard of care with regard to the care and treatment rendered to the above referenced patient on

February 7, 2012.

283.    Defendant SLOANE denies that ROBERT HADDEN violated the standard of care with

regard to the care and treatment rendered to the above referenced patient on February 7, 2012.

284.    Plaintiffs are informed, and believe, and on this basis state, that Defendant COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”

benefited financially from retaining ROBERT HADDEN as an OBGYN at "CORP. ENTITIES"’

hospitals, offices, and clinics by offering his services to COLUMBIA UNIVERSITY female

patients, at those patients’ expense. Plaintiffs are further informed and believe, and on this basis

state, that Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and “CORP. ENTITIES” benefited financially from actively concealing the

myriad complaints of sexual exploitation and abuse made by its female patients against ROBERT



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HADDEN by protecting its own reputation and financial coffers. Defendant COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES’”

deliberate and fraudulent concealment included, but was not limited to: paying ROBERT

HADDEN a significant financial bonus which enabled him to quietly resign in 2012 after a

criminal investigation revealed that ROBERT HADDEN routinely made lurid and sexually

inappropriate remarks to female patients; kept a collection of pornography at his offices, had

pornographic images and videos on his work computer system, hard drive, and internet browser

cache; and had documented complaints against him lodged to Defendant COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”

dating back over the course of more than two (2) decades. Defendant COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES” paid ROBERT

HADDEN this financial bonus and facilitated and enabled him to collect “disability benefits” in a

deliberate attempt to conceal from the Plaintiffs, and the public at large, that ROBERT HADDEN

is a serial sexual predator who the Defendants allowed to run rampant amongst female patients in

need of basic gynecologic and obstetric care, and in order for COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES to try and avoid criminal

consequences, civil liability and damage to its reputation.

285.    At all times relevant hereto, agents, servants, medical staff members, and/or employees of

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP.

ENTITIES” including Defendant ROBERT HADDEN, were acting in the course and scope of

their authority, agency, service and/or employment for COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”.

286.     Beginning in the early 1990’s, COLUMBIA UNIVERSITY, THE TRUSTEES OF



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COLUMBIA UNIVERSITY, and CORP. ENTITIES began receiving reports from OBGYN

patients and COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

and “CORP. ENTITIES’” own agents, servants, and/or employees regarding concerns about

Defendant ROBERT HADDEN’s conduct and purported gynecologic and obstetric “treatment” of

his patients; nonetheless COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and CORP. ENTITIES failed to take any action in response to such complaints.

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP.

ENTITIES” received numerous complaints of serious misconduct, including sexual misconduct

by ROBERT HADDEN made to nursing supervisors and ROBERT HADDEN’s supervisors and

other Administrators employed by COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES”.

287.    Rather than addressing and properly investigating the complaints, including taking

appropriate disciplinary action, reporting ROBERT HADDEN to criminal prosecutors, reporting

ROBERT HADDEN to the State Medical Authorities, and/or terminating the employment of

HADDEN, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and “CORP. ENTITIES”, their agents, servants, and/or employees, kept the

complaints secret to avoid negative publicity, despite their actual knowledge of such misconduct,

so that for over twenty (20) years, defendant ROBERT HADDEN had unfettered access to female

patients – many of them as young as 15 or 16 years of age.

288.    COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

“CORP. ENTITIES”, as well as their agents, servants and/or employees, hid the complaints despite

the fact that many of the complaints came directly from their own employees, medical personnel

and staff, including nurses and medical assistants, who were physically present during the



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examinations as “chaperones,” and witnessed the sexual misconduct firsthand. Despite receiving

years of serious complaints of significant misconduct about ROBERT HADDEN, including sexual

misconduct, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

“CORP. ENTITIES” and their agents, servants and/or employees failed to take any meaningful

action to address the complaints until they were finally forced to do so in August 2012.

289.    Upon information and belief, the complaints made to COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES and their agents, servants

and/or employees included, but are not limited to: ROBERT HADDEN making gratuitous,

suggestive comments about patients’ bodies during gynecological examinations; touching

patients’ bodies in a manner that had no medical purpose; requiring patients to lie fully nude on

the table during gynecological examinations; and making improper, inappropriate and sexual

comments about their bodies and other comments of a sexual and/or prurient nature; performing

prolonged and non-medically indicated breast examinations; performing serial and medically

unnecessary vaginal examinations; performing serial and medially unnecessary PAP Smears;

requiring patients to expose their naked bodies in non-medical, sexual, and compromising ways;

posing patents by instructing patients strip naked and position themselves in non-medical, sexually

deviant, and compromising ways; digitally penetrating patients in a non-medical manner for his

own sexual gratification; sexually exploiting and abusing female patients; sexually exploiting and

abusing female co-workers; and sexually exploiting and abusing female former co-workers.

290.    COLUMBIA UNIVERSITY’s “Patient Bill of Rights” provides, inter alia, that patients

have the right to:

        “Receive considerate and respectful care in a clean and safe environment”.
It further provides that patients have the right to:
        “Receive treatment without discrimination as to race, color, religion, sex [gender]”.

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291.    At all times relevant hereto, Plaintiffs are, or were, female patients who sought medical,

gynecologic and/or obstetric care through COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and CORP. ENTITIES health system and were patients of defendant

ROBERT HADDEN during his tenure at COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and CORP. ENTITIES. Plaintiffs had no reason to suspect

Defendant ROBERT HADDEN was anything other than a competent and ethical physician.

292.    Knowing that Plaintiffs were trusting and vulnerable – and in many cases pregnant –

Defendant ROBERT HADDEN used his position of authority to require Plaintiffs to fully disrobe

for no reasonable medical purpose, engage in touching, fondling and groping of Plaintiffs’ breasts,

and other parts of their bodies, while making suggestive, inappropriate and improper comments,

engage in nonconsensual vaginal penetration, nonconsensual sexual touching and fondling of the

vaginal and genital region for the purpose of ROBERT HADDEN’s own sexual arousal, sexual

exploitation, sexual gratification, and/or sexual abuse. Defendant ROBERT HADDEN also made

sexist, misogynistic, pejorative and sexually harassing comments to female patients at

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP.

ENTITIES”.

293.    Through his employment with COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, Defendant ROBERT HADDEN used

his position of authority as a medical professional, and access granted by “CORP. ENTITIES”, to

perform countless nonconsensual, sexually exploitative and abusive “examinations” of female

patients, their bodies, breasts, and genitalia under the guise of “medical treatment.”

294.    Virtually none of the women ROBERT HADDEN targeted knew that what he was doing

during the examinations was not proper protocol, and did not realize he was engaging in sexual



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misconduct, sexually violating them, and/or taking advantage of them.

295.    Defendant ROBERT HADDEN carried out these acts without fully explaining

the “treatment” or obtaining informed consent of Plaintiffs.

296.    All of Defendant ROBERT HADDEN’s acts were conducted under the guise of providing

medical care at COLUMBIA UNIVERSITY and “CORP. ENTITIES’” hospitals, offices and

medical clinics.

297.    The failure to give proper notice or to obtain consent for the purported “treatment” from

Plaintiffs negated their ability to reject the “treatment.”

298.    Defendant ROBERT HADDEN used his position of trust and authority in an abusive

manner causing Plaintiffs to suffer a variety of injuries including, but not limited to, sexual

exploitation, sexual abuse, shame, mortification, shock, humiliation, emotional distress and related

physical manifestations thereof, embarrassment, loss of self-esteem, loss of trust in the medical

profession and in medical care providers, self-doubt, disgrace, loss of enjoyment of life and

negative impacts on their ultimate career, professional prospects and interpersonal relationships.

299.    COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

“CORP. ENTITIES” and their agents, servants, and/or employees, gave ROBERT HADDEN

access and authority to sexually abuse and exploit Plaintiffs and other patients of the within named

defendants; but for the access and authority provided by Defendants, ROBERT HADDEN could

not have abused Plaintiffs and countless other female patients. To wit, defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”,

their agents, servants, and/or employees enabled ROBERT HADDEN to serially sexually abuse

female patients for a period of two (2) decades upon the premises and clinics of defendant

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP.



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ENTITIES”.

300.     Defendants were put on notice of ROBERT HADDEN’s actions after receiving

complaints    from    COLUMBIA         UNIVERSITY,           THE   TRUSTEES       OF    COLUMBIA

UNIVERSITY, and “CORP. ENTITIES” employees, including nurses, chaperones, medical staff,

and survivors concerning both the inappropriate commentary ROBERT HADDEN made and the

disturbing sexual behavior toward patients as far back as the 1990’s, and yet defendants took no

action to protect their female patients for a period of over twenty (20) years.

301.     Upon information and belief, despite complaints to COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, and their agents,

servants, employees and/or representatives, the complaints, reports, concerns and allegations went

unaddressed in violation of reporting policies and procedures and in a manner that was wholly

reckless, deliberately indifferent, and grossly negligent.

302.     Upon information and belief, because Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, their agents, servants

and/or employees all failed to take action to investigate the complaints, or to take corrective action

regarding ROBERT HADDEN’s actions, Plaintiffs and other female patients were sexually

assaulted, exploited, harassed, abused, and molested by Defendant ROBERT HADDEN through

predatory grooming, unnecessary vaginal digital examinations, vaginal penetration, unnecessary

and non-medical touching and groping of their breasts and other areas of their body, verbal sexual

exploitation, physical sexual exploitation, psychological manipulation and abuse, and through

sexually-suggestive, inappropriate, and gratuitous comments and statements about them, their

lifestyles, their bodies, and their anatomies.

303.    Upon information and belief, in or around 1992 or 1993, complaints about ROBERT



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HADDEN were made to supervisors at COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, about ROBERT HADDEN’s sexual

abuse of a young female patient who he began digitally penetrating after a nurse chaperone left the

examining room.

304.    In response to the report by the Chaperone, the Chaperone’s supervisor directed the

Chaperone to keep her mouth shut and just stay with her doctor and not let him get himself into

trouble.

305.    Further, it became well known throughout COLUMBIA UNIVERSITY, “CORP.

ENTITIES”, and their offices, hospitals, clinics and medical centers that ROBERT HADDEN had

a proclivity for sexually exploiting and abusing female patients when the chaperones would leave

the room. This information was so widely discussed that it became a topic of conversation among

employees of other departments including, but not limited to, Defendants’ employee lunchrooms.

306.    At no time did Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES” or their agents, servants and/or employees

inform Plaintiffs, the public or any other patients of the concerns that led to Defendant ROBERT

HADDEN being relieved from his duties at COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES” and his subsequent “retirement.”

307.    Further, in an effort to “manage risk” COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and CORP. ENTITIES, their agents, servants and/or employees,

have contracted with lawyers and legal consultants in a surreptitious effort to obtain statements

from witnesses and survivors of the sexual assaults committed by ROBERT HADDEN.

308.    Through this effort, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and “CORP. ENTITIES”, their agents, servants and/or employees have accessed,



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viewed, shared and illegally disclosed the names, identities, private contact information, and

protected HIPAA information about the survivors - not with health providers and specialists in

clinical crisis intervention - but with their lawyers, and their lawyers’ legal staff, in order to try

and obtain a tactical advantage over the sexual assault survivors in the courts and possibly the

media.

309.     Further, defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and “CORP. ENTITIES” have actively and intentionally lied to the plaintiffs

herein, as well as all the other patients of COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, and the public at large, by affirmatively

stating to the patients and the Press that ROBERT HADDEN was on some kind of “medical leave”.

The truth of the matter is that ROBERT HADDEN is a perverted sexual predator who has serially

sexually assaulted female patients on a daily basis for a period of twenty (20) years upon the

premises of COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and

“CORP. ENTITIES”, as well as their related hospitals, clinics, offices, and medical centers.

310.     ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and their related "CORP. ENTITIES", inclusive, are sometimes collectively

referred to herein as "Defendants" and/or as "All Defendants"; such collective reference refers to

all specifically named Defendants as well as their related entities, clinics, offices, hospitals, and

medical centers.

311.     Plaintiffs are informed and believe, and on that basis state that at all times mentioned

herein, each Defendant was responsible, in some manner or capacity, for the occurrences herein

stated, and that Plaintiffs’ damages, as herein set-forth, were proximately caused by each and all

of said Defendants.



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312.    At all times mentioned herein, each and every Defendant was an agent, servant and/or

employee of Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and their related "CORP. ENTITIES", inclusive, and/or was under their complete

control and/or supervision. Defendants and each of them are individuals, corporations,

partnerships and/or other entities that engaged in, joined in, and conspired with other Defendants

and wrongdoers in carrying out the tortuous and unlawful activities described in this Complaint.

313.    Plaintiffs are informed and believe, and on that basis state that at all times mentioned

herein, there existed a unity of interest and ownership among Defendants and each of them such

that any individuality and separateness between Defendants, and each of them, ceased to exist.

Defendants and each of them were the successors-in-interest and/or alter egos of the other

Defendants, and each of them, in that they purchased, controlled, dominated and operated each

other without any separate identity, observation of formalities, or other manner of division. To

continue maintaining the facade of a separate and individual existence between and among

Defendants, and each of them, would serve to perpetrate a fraud and injustice.

314.    Plaintiffs are informed and believe, and on that basis state that at all times mentioned

herein, Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and CORP. ENTITIES were the agents, servants and/or employees

of each and every other Defendant. In doing the things hereinafter stated, Defendants and each of

them, were acting within the course and scope of said work and alternative personality, capacity,

identity, agency, representation and/or employment and were within the scope of their authority,

whether actual or apparent.

315.    Plaintiffs are informed and believe, and on that basis state that at all times mentioned

herein, Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF



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COLUMBIA UNIVERSITY, and CORP. ENTITIES were the TRUSTEES, Partners, Servants,

joint venturers, shareholders, contractors, and/or employees of each and every other Defendant,

and the acts and omissions herein stated were done by them, acting individually, through such

capacity and within the scope of their authority, and with the permission and consent of each and

every other Defendant and that said conduct was thereafter ratified by each and every other

Defendant, and that each of them is jointly and severally liable to Plaintiffs.

        FACTUAL ALLEGATIONS APPLICABLE TO ALL CLAIMS BY ALL
        PLAINTIFFS

316.    Plaintiffs are informed and believe, and on that basis state, that while Plaintiffs were female

patients of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and CORP. ENTITIES, that Defendants engaged in a pattern and practice of

ignoring complaints, failing to investigate sexual harassment and abuse complaints about

ROBERT HADDEN, deliberately concealing information from abuse victims and survivors, and

contributed to a sexually hostile and exploitative environment on campus at Defendant

COLUMBA UNIVERSITY, which is now known to have a culture of pervasive sexual misconduct

and sexual abuse throughout its campus, schools, hospitals, medical clinics, academic departments,

Administration, and Administrators including the Dean of Students.

317.    It is upon information, and therefore belief, that Defendants COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES", have a

long history and a systemic problem in failing to properly handle sexual harassment and sexual

abuse allegations, contrary to their Federal mandates under Title IX. This pattern and practice was

evidenced by, inter alia, the previous U.S. Department of Education investigations of Defendant

COLUMBIA UNIVERSITY’s handling of numerous sexual assault and rape cases, during which

students and patients came forward to complain of Defendant COLUMBIA UNIVERSITY’s gross

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mishandling of those cases.

318.    Furthermore, Plaintiffs are informed and believe, and on that basis state, that the numerous

complaints lodged against defendant COLUMBIA UNIVERSITY, its related CORP. ENTITIES,

and their agents, servants and employees, including but not limited to ROBERT HADDEN, that

were actively concealed by Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES", illustrate that Defendants had

– and continues to have – a culture of ignoring, minimizing and sanitizing complaints about their

sexual predator ROBERT HADDEN. Yet, Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES", have

inexplicably allowed ROBERT HADDEN to sexually abuse women at their offices and premises,

and since 2012 have enabled ROBERT HADDEN to obtain “disability coverage” and retain his

retirement benefits.

319.    Notwithstanding the tone-deaf, if not obtuse, silence on these issues, defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

related "CORP. ENTITIES” continued to put female Patients directly in harms’ way by enabling

their resident-predator ROBERT HADDEN to sexually exploit and abuse female patients for over

20 years.

320.    Plaintiffs are informed and believe, and on that basis state, that Defendants knew, or should

have known, of ROBERT HADDEN’s propensity, disposition and proclivity to engage in sexual

exploitation and misconduct with female patients as he sexually abused and molested Plaintiffs

(and hundreds of other female COLUMBIA UNIVERSITY and their related "CORP. ENTITIES”

patients), and knew of the probability that ROBERT HADDEN would assault, exploit and molest

other patients with whom he came into contact, including but not limited to Plaintiffs. Moreover,



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Plaintiffs are informed and believe that, the majority of the times that ROBERT HADDEN

sexually abused a female patient at Defendant COLUMBIA UNIVERSITY, and their related

"CORP. ENTITIES", an agent, servant and/or employee Chaperone of the defendants was present

— witnessing the predatory grooming and sexual abuse — yet did nothing to intervene. Instead,

before the patient was clothed, the Chaperone would just walk out of the room.

321.    Defendants failed to act in any kind of reasonable manner, and failed to implement

reasonable and necessary safeguards to avoid acts of unlawful sexual conduct and abuse by

ROBERT HADDEN in the future, including avoiding placement of HADDEN in a position where

contact and interaction with vulnerable patients was an inherent part of his work. Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

related "CORP. ENTITIES" ignored, hid and suppressed all of the sexual misconduct that

ROBERT HADDEN had engaged in.

322.    Plaintiffs are informed and believe, and on that basis state, that Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

ENTITIES” were apprised, knew, or should have known, and/or were put on notice of ROBERT

HADDEN’s past sexual abuse and rampant sexual exploitation of female patients, past complaints

and/or investigations, and Defendant ROBERT HADDEN’s propensity, proclivity and disposition

to engage in such unlawful sexual exploitation and abuse of female patients, such that Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

related "CORP. ENTITIES" knew, or should have known, that ROBERT HADDEN would

commit wrongful sexual acts with female patients, including Plaintiffs.

323.    Plaintiffs are informed and believe, and on that basis state, that personnel and/or

employment records and other records of Defendants COLUMBIA UNIVERSITY, THE



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TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”, reflect

numerous incidents of inappropriate sexual contact and conduct with patients by ROBERT

HADDEN, and other professionals, employees, assistants, agents, supervisors and others, on the

physical premises of such Defendants. Based on these records, Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

ENTITIES”, knew and/or should have known of ROBERT HADDEN’s history of sexual abuse,

past claims and/or past investigations, and his propensity and disposition to engage in unlawful

activity and unlawful sexual activity with patients, such that Defendants knew, or should have

known, that ROBERT HADDEN would commit wrongful sexual acts with those patients,

including Plaintiffs.

324.    The sexual exploitation and abuse of female patients is a foreseeable act which was known

to Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

and their related "CORP. ENTITIES”. It is also a foreseeable act which is known in medicine and

by medical practitioners worldwide. Because of how well known the risk of sexual abuse is, the

governing bodies in general, and COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES” in particular, have enacted

Rules concerning the provision of Chaperones at their hospitals, offices, and clinics which provide

gynecologic and obstetric services. Thus, foreseeability is not an issue. The risk to be perceived,

does indeed, define the duty to obey. The duty that COLUMBIA UNIVERSITY, THE TRUSTEES

OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”, have are to provide a safe,

professional, medical environment where female patients can receive gynecologic and obstetric

care and treatment. Any suggestion by Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES” that they



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didn’t know of ROBERT HADDEN’s abuse has not only proven to be untrue, it is also an

admission that Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and their related "CORP. ENTITIES” failed in their duty to take the steps

necessary to ensure that a safe, professional, medical environment for female gynecology and

obstetrical patients was being provided.

325.     Because of the relationship between Plaintiffs and Defendants, Defendants had an

obligation, responsibility and duty, under the law, not to hide material facts and information about

ROBERT HADDEN’s past, and his deviant sexual behavior and propensities. Additionally,

Defendants had an affirmative duty to inform, warn, and institute appropriate protective measures

to safeguard patients who were reasonably likely to come in contact with ROBERT HADDEN —

including, at a minimum, terminating ROBERT HADDEN’s employment and reporting him to the

Police and the New York State Medical Board. Defendants willfully refused to notify, give

adequate warning and implement appropriate safeguards, thereby creating the peril that ultimately

damaged Plaintiffs and hundreds of other female COLUMBIA UNIVERSITY, THE TRUSTEES

OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES” Patients.

326.    Pursuant to New York Social Services Law, Article 6, Title 6, and Section 413, Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or employees are

“mandated reporters” of childhood sexual abuse. As such, any healthcare practitioner employed in

a healthcare facility, clinic, physician’s office, hospital local or state public health department, or

a clinic or other type of facility, operated by a local or state public health department who, in

his/her professional capacity or within the scope of his/her employment, provides medical services

to a minor who he/she knows, or reasonably suspects, has been sexually exploited, or sexually



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abused by an adult perpetrator, must report to a local law enforcement agency by telephone,

immediately or as soon as is practicable, and also by written report after receiving the information

regarding the perpetrator of the abuse. By and through its health practitioner agents, servants,

and/or employees - and Defendant ROBERT HADDEN himself - Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or employees violated the

foregoing laws of the State of New York by failing to report the sexual exploitation and sexual

abuse committed by ROBERT HADDEN upon a minor to local law enforcement each time it

witnessed, perpetrated, and/or reports were received of ROBERT HADDEN committing a sexual

assault or battery upon a minor female patient. Furthermore, Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

ENTITIES”, ROBERT HADDEN, and their agents, servants, and/or employees have deliberately

attempted to conceal their recurring failures to comply with State and Federal Law by publicly and

falsely claiming that it had no legal duty to report ROBERT HADDEN’s sexually abusive behavior

to law enforcement, that ROBERT HADDEN had/has acted in a medically appropriate manner at

times, and that ROBERT HADDEN was out on “medical leave” beginning in or around August

2012.

327.    Plaintiffs are informed and believe, and on that basis state, that as part of Defendants'

conspiratorial and fraudulent attempt to hide ROBERT HADDEN’s propensity to sexually abuse

and molest female patients, and minor female patients, from public scrutiny and criminal

investigation, that Defendants implemented various measures designed to make ROBERT

HADDEN’s conduct harder to detect and served to ensure that other patients and minors with

whom he came into contact, such as Plaintiffs, would be sexually abused, including:



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    Ɣ Permitting ROBERT HADDEN to remain in a position of authority and trust after
       Defendants knew or should have known that he sexually exploited and abused
       female patients;
    Ɣ Placing ROBERT HADDEN in a separate and secluded environment at Defendant
       COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, and their offices,
       hospitals, and clinics, which granted him unfettered access and authority over
       patients as purported to conduct extremely sensitive obstetric and gynecologic
       treatment, thereby allowing ROBERT HADDEN to physically and sexually
       interact with and exploit the female patients, including each of the Plaintiffs herein;
    Ɣ Moving ROBERT HADDEN from one clinic to another every few years as
       complaints of his sexual exploitation and abuse mounted during each new move;
    Ɣ Failing to disclose and actively concealing ROBERT HADDEN’s prior record of
       misconduct, sexual abuse, sexual exploitation, harassment and molestation and his
       propensity to commit such acts towards patients, from plaintiffs herein, defendants’
       other patients, the public at large, and law enforcement;
    Ɣ Enabling a known predator such as ROBERT HADDEN to have unfettered and un-
       controlled access to female patients, including the Plaintiffs herein;
    Ɣ Enabling pedophilia and sexual abuse of minors;
    Ɣ Holding out ROBERT HADDEN to Plaintiffs, other patients of Defendants
       COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,
       their related "CORP. ENTITIES”, the alumni members of COLUMBIA
       UNIVERSITY, and the public at large as a trustworthy and honest person of high
       ethical and moral standards who was capable and worthy of being granted
       unsupervised access to female patients of Defendants COLUMBIA UNIVERSITY,
       THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.
       ENTITIES”.
    Ɣ Failing to investigate and otherwise confirm or deny such facts about ROBERT
       HADDEN, including prior complaints, and/or claims and investigations of sexual
       exploitation and abuse;


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           Ɣ Falsely, and fraudulently, denying the truth surrounding ROBERT HADDEN’s
               known sexual exploitation and abuse of female patients in a concerted and well
               scripted effort to actively dissuade women from filing lawsuits against
               COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,
               their related "CORP. ENTITIES”, ROBERT HADDEN, and their agents, servants,
               and/or employees.
           Ɣ Failing to inform, and actively concealing from Plaintiffs, other patients, the State
               of New York Office of Professional Medical Conduct, and law enforcement
               officials, the fact that Plaintiffs and other patients were or may have been sexually
               abused, exploited, harassed and/or molested, after Defendants knew or should have
               known that ROBERT HADDEN may have/and had sexually exploited and abused
               Plaintiffs or others, thereby enabling Plaintiffs to continue to be endangered and
               sexually exploited, abused, harassed, molested, and/or creating the circumstance
               where Plaintiffs and others were less likely to receive proper medical and
               psychological treatment, thus exacerbating the harm to Plaintiffs;
           Ɣ Holding out ROBERT HADDEN to Plaintiffs and to the community as being a
               person in good standing, trustworthy, knowledgeable and authoritative;
           Ɣ Cloaking ROBERT HADDEN’s sexual misconduct with patients within the facade
               of normalcy, thereby disguising the nature of his sexual exploitation and abuse;
           Ɣ Failing to take reasonable steps and to implement safeguards to avoid acts of
               unlawful sexual conduct by ROBERT HADDEN such as avoiding placement of
               ROBERT HADDEN in functions and/or environments in which his intimate
               contact with female patients was inherent;
           Ɣ Failing to put in place a system, or procedure, to supervise or monitor physicians
               (and specifically ROBERT HADDEN), chaperones, and agents to ensure they do
               not molest and/or abuse patients in Defendants' care, and that they further report all
               reasonable suspicions of sexual assault and battery to law enforcement pursuant to
               the mandatory reporter laws.
328.    By his association and professional relationship within the Defendants' Corp. Entities,


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Defendant ROBERT HADDEN attained a position of authority and influence over Plaintiffs and

others. Defendants' conduct created a situation of peril that was not, and could not, be appreciated

by Plaintiffs. By virtue of Defendants' exploitative, conspiratorial and fraudulent conduct, and in

keeping with their intent to fail to disclose and hide ROBERT HADDEN’s past and present

conduct from the COLUMBIA UNIVERSITY community, the Patients of Defendants and their

Corp. Entities, the public at large, the State Medical Board, and law enforcement, Defendants

allowed ROBERT HADDEN to remain in a position of influence and authority where his

unsupervised, and/or negligently supervised, conduct with patients made the exploitation,

molestation and abuse of female patients, including the Plaintiffs herein, possible.

329.    Through his position within the Defendants' institutions and clinics, Defendants and

ROBERT HADDEN demanded and required that Plaintiffs respect ROBERT HADDEN in his

position as a OBGYN physician for Defendant COLUMBIA UNIVERSITY, THE TRUSTEES

OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”.

330.    The sexual harassment, exploitation and abuse of Plaintiffs by HADDEN, outlined herein,

took place while ROBERT HADDEN was an OBGYN physician employed, retained, managed,

and supervised by Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, their related "CORP. ENTITIES”, and Plaintiffs were patients of Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES”, offices, hospitals, and clinics while ROBERT HADDEN was serving as an

agent, servant, and employee of Defendants in his capacity as a physician and faculty member.

        a.     In his capacity as a physician and faculty member with Defendants COLUMBIA
   UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.
   ENTITIES”, ROBERT HADDEN was given custody, control, supervision, and authority over
   patients, including Plaintiffs. ROBERT HADDEN used this position of authority to groom and


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exploit female patients, to concede to his prurient sexual demands, using his authority and
position of trust to exploit and manipulate them physically, sexually, and emotionally;
    b.      Plaintiffs were patients of COLUMBIA UNIVERSITY, THE TRUSTEES OF
COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” in or around the early 1990’s
through 2012, during which time, Plaintiffs came into contact with ROBERT HADDEN at the
premises, hospitals, offices, and clinics, of defendant COLUMBIA UNIVERSITY, THE
TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”. Plaintiffs are
informed and believe ROBERT HADDEN would use the guise of obstetric and gynecologic
care and treatment to groom female patients, and normalize intimate, inappropriate,
exploitative and sexually abusive contact with Plaintiffs. During this period, Plaintiffs were
patients under ROBERT HADDEN’s direct supervision and control.
    c.      Plaintiffs are informed and believe ROBERT HADDEN’s physical and sexual
abuse of Plaintiffs commenced in or around 1992 and continued through in or around 2012.
During this period, Plaintiffs were patients under ROBERT HADDEN’s, and Defendant
COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their
related "CORP. ENTITIES”'s direct supervision and control. Using his position as a physician,
ROBERT HADDEN would interact with Plaintiffs under the guise of providing them care and
treatments necessary for their health and well-being. Under these circumstances, ROBERT
HADDEN would, among other abusive acts, force Plaintiffs to strip naked, grope their bare
breasts and digitally penetrate their vaginas, in the presence of other medical professional staff,
for non-medical reasons. ROBERT HADDEN’s sexual abuse, exploitation, molestation, and
harassment of Plaintiffs occurred on the premises of Defendants COLUMBIA UNIVERSITY,
THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES”
offices, clinics and hospitals.
    d.      During these occurrences, ROBERT HADDEN groped, penetrated, verbally
violated, manipulated, groomed and otherwise sexually abused and exploited Plaintiffs - under
the guise of performing medical procedures - for ROBERT HADDEN’s own sexual
gratification and prurient interests. ROBERT HADDEN would have the Plaintiffs remove all
of their clothes and lay on the treatment table naked. ROBERT HADDEN would then perform


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    his acts of sexual abuse upon Plaintiffs, in front of another medical professionals employed as
    chaperones by defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA
    UNIVERSITY, and their related "CORP. ENTITIES”.
        e.      ROBERT HADDEN’s sexual abuse and harassment of Plaintiffs was done for
    ROBERT HADDEN’s personal sexual gratification, and it annoyed, disturbed, exploited,
    irritated, and offended Plaintiffs as it would have any reasonable person. Plaintiffs did not, and
    could not, consent to the sexual abuse, exploitation and harassment by ROBERT HADDEN.
331.    As set forth more fully herein above, ROBERT HADDEN did sexually abuse, exploit,

harass and molest Plaintiffs, who were students and patients at the time of the acts at issue.

Plaintiffs are informed and believe, and on that basis state, that such conduct by ROBERT

HADDEN was based upon Plaintiffs’ gender, and was done for ROBERT HADDEN’s own sexual

gratification. These actions upon Plaintiffs were performed by ROBERT HADDEN without the

free consent of Plaintiffs.

332.     During the period Plaintiffs were being sexually exploited, abused and harassed by

ROBERT HADDEN, Defendants had the authority and ability to prevent such abuse by removing

ROBERT HADDEN from his position as an obstetrical and gynecological physician at Defendant

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their

related "CORP. ENTITIES”. They failed to do so, allowing the abuse to occur and to continue

unabated. Plaintiffs are informed and believe, and on that basis state, that this failure was a part of

Defendants' conspiratorial plan and arrangement to conceal ROBERT HADDEN’s wrongful acts,

to avoid and inhibit detection, to block public disclosure, to avoid scandal, to avoid the disclosure

of their tolerance of doctor-sexual-abuse, to preserve a false appearance of propriety, and to avoid

investigation and action by public authorities including law enforcement and the New York State

Medical Board, Office of Professional Medical Conduct. Such actions were motivated by a desire

to protect the reputation of Defendants and protect the monetary support of Defendants provided

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by alumni and other donors, while fostering an environment where such abuse could, would, and

has continued to occur.

333.     As a direct result of the sexual harassment and abuse of Plaintiffs by ROBERT HADDEN,

Plaintiffs have had difficulty in meaningfully interacting with others, including those in positions

of authority over Plaintiffs including other physicians, gynecologists, athletic supervisors,

professors, superiors at work, and other men in general. Plaintiffs have been limited in their ability

to meaningfully interact with others due to the trauma of this sexual exploitation and abuse. This

inability to interact creates a conflict with Plaintiffs’ values of trust and confidence in others, and

has caused Plaintiffs substantial emotional distress, anxiety, nervousness and fear. As a direct

result of the sexual abuse, exploitation and molestation by ROBERT HADDEN, Plaintiffs suffered

immensely, including, but not limited to, encountering issues with a lack of trust, various negative

psychological and emotional sequelae, depressive symptoms, eating disorders, anxiety, and

nervousness.

334.    As a direct and proximate result of Defendants' tortious acts, omissions, fraudulent

concealment, wrongful conduct and breaches of their duties, Plaintiffs’ employment and

professional development have been adversely affected. Plaintiffs have lost wages and will

continue to lose wages in an amount to be determined at trial. Plaintiffs have suffered substantial

economic injury, all to Plaintiffs’ general, special and consequential damage in an amount to be

proven at trial, but in no event less than the minimum jurisdictional amount of this Court.

335.    As a further direct and proximate result of Defendants' wrongful actions, as herein stated,

Plaintiffs have been injured and/or damaged in their health, strength and activity. Plaintiffs have

sustained permanent and continuing injury to their nervous systems and persons, which has caused

and continues to cause great mental, physical, emotional and nervous pain, suffering, fright, upset,



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grief, worry and shock in an amount according to proof at trial but in no event less than the

jurisdictional minimum requirements of this Court.

336.    As is set forth herein, defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” and ROBERT HADDEN have

failed to uphold numerous mandatory duties required of them by State and Federal Law, as well

as their own internal written policies and procedures, including but not limited to:

           Ɣ Duty of health care professionals to report reasonable suspicions of sexual abuse to
               law enforcement;
           Ɣ Duty to use reasonable care to protect participants and members from known or
               foreseeable dangers;
           Ɣ Duty to enact policies and procedures that are not in contravention of the Federal
               Civil Rights Act, Section 1983, Title IX, and the 14th Amendment of the United
               States Constitution;
           Ɣ Duty to enforce policies and procedures that are not in contravention of the Federal
               Civil Rights Act, Section 1983, Title IX, and the 14th Amendment of the United
               States Constitution;
           Ɣ Duty to protect participants and patients and members and staff, and provide
               adequate supervision;
           Ɣ Duty to ensure that any direction given to participants and members is lawful, and
               that adults act fairly, responsibly and respectfully towards participants and
               members;
           Ɣ Duty to properly train staff so that they are aware of their individual responsibilities
               for creating and maintaining a safe environment;
           Ɣ Duty to review the criminal history of applicants and current employees;
           Ɣ Duty to provide diligent supervision over patients;
           Ɣ Duty to act promptly and diligently and not ignore or minimize problems;
           Ɣ Duty to report suspected incidents of sexual abuse;
337.    Defendants and each of them had and have a duty to protect patients, including Plaintiffs.

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Defendants were required to, and failed, to provide adequate supervision, and failed to be properly

vigilant in ensuring that supervision was sufficient at defendants COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” offices,

hospitals, and clinics to protect the safety of Plaintiffs and others.

338.    Despite having a duty to do so, Defendants failed to adequately train and supervise all staff

to create a positive and safe environment, specifically including training to perceive, report prevent

and/or stop inappropriate sexual exploitation and conduct by other members of the staff,

specifically including ROBERT HADDEN and female patients.

339.    Defendants failed to enforce their own rules and regulations designed to protect the health

and safety of its patients and Plaintiffs. Further, they failed to adopt and implement safety rules,

policies and procedures designed to protect patients, such as Plaintiffs, from the sexually exploitive

and abusive acts of their agents, servants, and employees such as ROBERT HADDEN and the

chaperones who continued to leave the rooms knowing full well of the sexual exploitation and

abuse that was being perpetrated by ROBERT HADDEN.

340.    In subjecting Plaintiffs to the wrongful treatment herein described, Defendants ROBERT

HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

their related "CORP. ENTITIES” acted willfully and maliciously with the intent to harm Plaintiffs,

and in conscious disregard of Plaintiffs’ Rights, so as to constitute malice and/or oppression.

Plaintiffs are informed, and on that basis state, that specifically, the Defendants acted in concert,

and under their authority both as an educational institution and medical provider, with reckless

disregard for the concern of the students and patients in their charge, in order to further financially

benefit its businesses’s growth. The Defendants’ action are intentional and create an environment

that harbors molesters, puts its vulnerable patients at risk of harm, ignores clear warning signs and



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their duties to report sexual abusers and molesters in their ranks, to maintain a facade of normalcy,

in order to maintain its funding, and donations, and provide further financial growth of defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES”, on the International level. The safety of the patients that were entrusted to

defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” and was compromised due to

Defendants’ collective desire to maintain the status quo of the defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

ENTITIES” organizations, to continue to enjoy the financial support of their alumni, and avoid

any public scrutiny of their long-standing and pervasive misconduct. Plaintiffs are informed, and

on that basis state, that these willful, exploitative, malicious, and/or oppressive acts, as stated

herein above, were ratified by COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, their related "CORP. ENTITIES”, and the Officers, Directors, Administrators,

and/or managing agents of the Defendants. Plaintiffs are, therefore, entitled to recover punitive

damages, in an amount to be determined by the court, against Defendants ROBERT HADDEN,

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES”.

341.    At all times relevant herein, Plaintiff and other members of the Class are or were young

women who sought gynecological care through the COLUMBIA student health system and were

patients of defendant Hadden during his tenure at COLUMBIA. Plaintiff and other members of

the Class had no reason to suspect Defendant Hadden was anything other than a competent and

ethical physician.

342.    Knowing that Plaintiff and other members of the Class were trusting and vulnerable,



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Defendant Hadden used his position of authority to subject Plaintiff and other members of the

Class to inappropriate touching of Plaintiff and Class members’ bodies. Defendant Hadden also

made suggestive and improper comments to Plaintiff and other members of the Class, and engaged

in nonconsensual sexual touching and fondling for the purpose of sexual arousal, sexual

gratification, and/or sexual abuse.

343.    Through his position with COLUMBIA, Defendant Hadden used his position of authority

as a medical professional to take hundreds of nonconsensual and medically unwarranted

photographs of female genitalia under the guise of medical “treatment.”

344.    Upon information and belief, Defendant Hadden particularly targeted young women, many

of whom were were frequently unfamiliar with the nature of gynecological examinations as a result

of their youth, inexperience, and/or cultural background. Many of these young women did not

know that what Hadden was doing during the examinations was not proper protocol and did not

realize he was engaging in sexual misconduct, sexually violating them and/or taking advantage of

them.

345.    Defendant Hadden carried out these acts without fully explaining the “treatment” or

obtaining informed consent of Plaintiff and other members of the Class.

346.    All of Defendant Hadden’s acts were conducted under the guise of providing medical care.

347.    The failure to give proper notice or to obtain consent for the purported “treatment” from

Class Plaintiffs robbed them of the opportunity to reject the “treatment.”

348.    Upon information and belief, COLUMBIA Defendants were also put on notice of

Defendant Hadden’s actions after receiving complaints from COLUMBIA employees, including

nurses, medical staff, students and chaperones concerning both the photographs of female genitalia

and the disturbing sexual behavior toward patients.



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349.    Upon information and belief, despite complaints to COLUMBIA representatives, the

concerns and allegations went unaddressed in violation of reporting policies and procedures and

in a manner that was reckless, deliberately indifferent, and grossly negligent.

350.    Upon information and belief, because COLUMBIA took no action to investigate the

complaints and took no corrective action regarding Hadden’s actions, Plaintiff and other members

of the Class were sexually harassed by Defendant Hadden by unnecessary and non-medical

touching areas of their body, and by sexual comments and statements.

351.    Upon information and belief, Defendant Hadden retired after reaching a confidential

settlement with COLUMBIA.

352.    Defendant COLUMBIA never informed Plaintiff, the public or any other students or

patients that Defendant was being relieved from his duties at COLUMBIA and his subsequent

“retirement.”

                           STATUTES OF LIMITATIONS ARE TOLLED
353.    The conduct underlying the various causes of action set forth herein were committed at

different times.

354.    Upon information and belief, Defendants and their attorneys have violated each of the

Plaintiffs’ privacy protections under New York State law by illegally accessing Plaintiff’s private

and protected medical records without their authorization or consent. Further, Defendants have

caused, and are continuing to cause, Plaintiffs to endure mental and emotional pain, suffering, and

duress as a result of Defendants’ refusal to issue letters permitting the removal of ROBERT

HADDEN’s name from the birth certificates of their children. The presence of the name of sexual

felon ROBERT HADDEN - who sexually assaulted each of the women herein - on the birth

certificates of Plaintiffs’ minor children is repugnant to the senses and must be removed.

Defendants’ abject refusal to issue a letter which would permit Plaintiffs to remove ROBERT

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HADDEN’s name from the birth certificates is an act of intimidation, malice, and intentional

wrongdoing which is ongoing. Thus Plaintiffs’ claims for damages as to all these acts and

omissions are timely.

355.    Further, Plaintiffs were each sexually abused by ROBERT HADDEN upon Defendant

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

CORP. ENTITIES’ campuses, hospitals, offices, and medical clinics from in or around 1992 to in

or about August 2012, while Plaintiffs were patients of the within named Defendants, their agents,

servants, and/or employees.

356.    The sexual abuse that each Plaintiff endured which was committed by ROBERT

HADDEN, was wholly enabled by COLUMBIA UNIVERSITY, THE TRUSTEES ODF

COLUMBIA UNIVERSITY, CORP. ENTITIES, and their agents, servants, and/or employees. In

each of these cases, a chaperone employed by Defendant COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and their related CORP. ENTITIES” witnessed the

abuse and did nothing to intervene.

357.    In a concerted and well- orchestrated effort, Defendants actively set out to coach and train

its employees on the importance of concealing and suppressing the multitude of complaints about

ROBERT HADDEN’s sexually abusive behavior. Such efforts were specifically designed to

deceive Plaintiffs into believing that ROBERT HADDEN’s sexual exploitation and abuse was a

form of “legitimate medical treatment”.

358.    Indeed, each of the Plaintiffs, and countless other patients of COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related CORP. ENTITIES’ have

tried to report, and have actually reported, ROBERT HADDEN’s misconduct to defendants and

their agents. Yet, each plaintiff was induced to believe that their complaints were without merit.



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In essence, Plaintiffs’ were duped, lied to, and told various false stories by Defendants such as

ROBERT HADDEN is “just old-school”, “didn’t mean it that way”, is “out on medical leave right

now”, “You’re the only person who has ever said anything like that, so I’m sure it’s not true” and

“that’s just his way of doing things”. Even within COLUMBIA UNIVERSITY and CORP.

ENTITIES, the Chaperones who tried to report were told “Just stay with your doctor and don’t let

him get himself in trouble.” Defendants’ massive coverups and overt efforts to convince Plaintiffs

that ROBERT HADDEN’s conduct was somehow acceptable was intentionally designed to

confuse and mislead plaintiffs who were sexually abused by ROBERT HADDEN.

359.    All of said statement, and more, which were made by Defendants were knowingly false

and cleverly designed to get the Plaintiffs to forbear in filing a formal Complaint against

defendants. In furtherance of the cover-ups, no one from Defendant COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” has ever -

to this day - contacted Plaintiffs, or any other patients of ROBERT HADDEN, to inform them that

ROBERT HADDEN’s actions were inappropriate, illegal, and abusive.

360.     Upon information and belief, in or around August of 2012, Defendant COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.

ENTITIES” began paying defendant ROBERT HADDEN financial compensation in exchange for

his quiet resignation or medical leave, in order to continue to conceal ROBERT HADDEN’s

sexually abusive nature from the public, other patients, and specifically the Plaintiffs herein.

Defendants’ actions are intentionally designed to insulate itself from both civil liability and a

criminal investigation.

361.    Based on the words and conduct of each of the defendants, their agents, servants, and/or

employees, plaintiffs were induced to not file a complaint earlier. Because defendants have



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fraudulently induced Plaintiffs to forbear in filing a formal complaint, each of Plaintiff’s statute of

limitations has been tolled, and Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP. ENTITIES” are each

equitably estopped from asserting the statute of limitations as a defense.

362.    Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” acted wrongfully in ignoring and

actively concealing the myriad of complaints of sexual misconduct lodged against ROBERT

HADDEN, and further breached numerous mandatory duties owed to Plaintiffs by holding

ROBERT HADDEN out as a trusted, safe, and legitimate medical professional, and failing to warn

Plaintiffs of ROBERT HADDEN’s proclivity to sexually abuse young female patients. Moreover,

Plaintiffs were coerced into not talking about the abusive acts they endured by the threatening and

intimidating actions of ROBERT HADDEN and CORP. ENTITIES’ nurse Chaperones — who

placed them under duress and also in imminent fear — and only came forward once the coercive

nature of his acts subsided, due to the media’s revelation of ROBERT HADDEN’s pattern of

misconduct and the subsequent police investigation allowing such women, including Plaintiffs, to

come forward without fear of retribution by Defendants ROBERT HADDEN, COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and their related "CORP.

ENTITIES”.

363.    Furthermore, Plaintiffs were led to believe that ROBERT HADDEN’s sexual abuse was

not, in fact, sexual abuse, but rather was legitimate obstetrical and gynecological treatment, due to

the fact that ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and their related CORP. ENTITIES’s Chaperones witnessed the

sexual exploitation and abuse yet did nothing to intervene. Many of the Plaintiffs were young



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women at the time they were sexually abused by ROBERT HADDEN, and for some of Plaintiffs,

their appointments with ROBERT HADDEN were their first visits to a gynecologist or

obstetrician, such that they had no prior experiences of legitimate OBGYN examinations to

compare ROBERT HADDEN’s purported treatments to.

364.    Plaintiffs herein were not, and are not, clinical medical professionals and had no specialized

or relevant medical training, and thus did not, and could not, have reasonably discovered their

abuse at an earlier date than they did. As such, they were blamelessly ignorant of the true facts

related to their abuse until it was revealed many years later after ROBERT HADDEN entered his

guilty pleas in Criminal Court, when the allegations of sexual misconduct against ROBERT

HADDEN received some media attention, that Plaintiffs knew, or had reason to know, that their

claims against Defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE TRUSTEES

OF COLUMBIA UNIVERSITY, their related CORP. ENTITIES had accrued. Thus, the Plaintiffs’

claims have not accrued as defendants ROBERT HADDEN, COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and their related CORP. ENTITIES continue to

fraudulently deny any kind of wrongdoing as to any of women that ROBERT HADDEN sexually

exploited and abused - including those who ROBERT HADDEN pled guilty to abusing.

365.    For several months Defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, CORP. ENTITIES, and ROBERT HADDEN have been

affirmatively and directly asking plaintiffs to forbear in filing this complaint and have offered to

try to negotiate a private settlement in lieu of filing a formal legal action.

366.    Instead of making a good-faith, bona fide effort to compensate the Plaintiffs herein, enact

and implement the necessary changes to protect other female patients going forward, and resolve

these cases without filing a formal action, COLUMBIA, its TRUSTEES, and CORP. ENTITIES



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have only compounded the injuries inflicted upon these women by continuing to lie to them in an

ongoing effort to prevent the women from filing a formal complaint. Only now has it now become

clear that COLUMBIA’s false representations - and direct instructions to forbear in filing the

additional complaints - were an intentional and premeditated act by Columbia in its ongoing

campaign to induce plaintiffs to not file their formal complaints in court.

367.    Because of the affirmative and intentionally false statements by CORP. ENTITIES about

the propriety of the “medical treatment” being rendered by ROBERT HADDEN; the knowingly

false statements to Plaintiffs that what ROBERT HADDEN was doing to Plaintiffs wasn’t an act

of doctor sexual abuse; the knowingly false statements that what ROBERT HADDEN was doing

was some form of legitimate medical treatment — or on account of ROBERT HADDEN simply

being an “old-school” doctor; the knowingly false statements to Plaintiffs that ROBERT

HADDEN was no longer at defendants offices because he was out on “medical disability”; the

nurse Chaperones’ active and continuing approval of the exploitative and abusive conduct being

committed by ROBERT HADDEN; CORP. ENTITIES’ ongoing, direct solicitations of Plaintiffs

for financial donations to their institution — both during and following ROBERT HADDEN’s

criminal prosecution and conviction for doctor-sexual; COLUMBIA UNIVERSITY Law School’s

(CAPI) propagandized audit of the Manhattan District Attorney’s campaign finances, which

wholly failed to reference the fact that COLUMBIA’s own doctor was part of the public outrage

over the District Attorney’s failure to prosecute affluent white-men whose lawyers donate money

to the District Attorney’s re-election campaign; Co-Defendant THE NEW YORK AND

PRESBYTERIAN HOSPITAL’s award-winning advertising campaign that blanketed the City of

New York while ROBERT HADDEN was under criminal investigation for doctor-sexual abuse

— that touted the “Amazing Things” happening at their institutions — which was designed to



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create subterfuge and further convince up to 30,000 women that they were not sexually abused by

ROBERT HADDEN; and Defendants’ most recent efforts to get plaintiffs to continue to forbear

in filing a formal Complaint by encouraging a meeting to discuss both financial remuneration and

the enactment of institution-wide policy changes to help prevent doctor-sexual abuse; defendants

should therefore be legally estopped from asserting the statute of limitations as a defense.

368.     Further, under CPLR § 215(8) the civil statute of limitations is tolled and doesn’t start to

run until the conclusion of a criminal action against the defendant. The resolution of Hadden's

original criminal proceeding resulted in ROBERT HADDEN’s felony conviction in the Spring of

2016, and consisted of the same enabling, aiding, abetting, sexual exploitation, sexual abuse and

institutional cover-up that gives rise to the cases herein. While there is no specific time stated in

CPLR § 215(8), the statute states that there is “at least” one year to file a civil case following the

resolution of the criminal action. The actual statutes for each survivor's claim varies and are based

on a different factors including the actual, prevailing, civil statute of limitations for their particular

claim. In this case, plaintiffs have asserted claims for various forms of fraud, gender motivated

violence, sexual assault, and rape — which at a minimum have a three (3) year statutes under

negligence; an action under the Gender Motivated Violence Act which has a seven (7) year statute

of limitation; as well as Rape and Criminal Sexual Act in the First Degree which has no statute of

limitations in New York. Since the resolution of the original criminal action, each of the plaintiffs

herein are now involved in a new criminal prosecution, the particulars of which cannot be disclosed

in the court documents. However, to the extent it is needed, your affirmation and the plaintiffs are

willing to request permission to appear for separate, in-camera, interviews with the court.

Therefore, the civil statute of limitations should be tolled pending the resolution of the new

criminal cases.



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369.     Further, plaintiffs have been physically, mentally and emotionally traumatized by

defendants’ conduct, sexual exploitation and abuse, and have lacked the capacity to deal with, and

confront, the important legal issues and rights herein until the present.

370.     As such, the statute of limitations is tolled, and defendants are estopped from asserting the

defense of a statute of limitation.

                                       FIRST CAUSE OF ACTION
                                         Title IX 20 U.S.C. § 1681

371.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

372.     Title IX of the Education Amendments Act of 1972 states, “No person in the United

States shall on the basis of sex, be ... subject to discrimination under any education program

or activity receiving Federal financial assistance ...” 20 U.S.C. § 1681, et seq.

373.     Plaintiffs and members of the Class are “persons” under Title IX.              COLUMBIA

UNIVERSITY and/or its related CORP. ENTITIES receive federal financial assistance for its

education program and is therefore subject to the provisions of Title IX of the Education Act of

1972, 20 U.S.C. §1681(a), et seq.

374.     COLUMBIA UNIVERSITY and CORP. ENTITIES are required under Title IX to

investigate allegations of sexual assault, sexual abuse, and sexual harassment.

375.     ROBERT HADDEN’s conduct described above constitutes sexual harassment, sexual

abuse, and sexual assault, and constitutes sex discrimination under Title IX.

376.     The COLUMBIA UNIVERSITY and CORP. ENTITIES Defendants were on notice of

ROBERT HADDEN’s conduct as described above. The COLUMBIA UNIVERSITY and CORP.

ENTITIES Defendants nonetheless failed to carry out their duties, responsibilities and/or

obligations to investigate and take corrective and mandatory action under Title IX. As a direct and

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proximate result of Defendants’ actions and/or inactions, Plaintiffs and members of the Class were

damaged.

                                      SECOND CAUSE OF ACTION
                       COMMITTING AND ENABLING GENDER VIOLENCE
377.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

378.     ROBERT HADDEN’s acts of misconduct committed against Plaintiffs, as set-forth herein,

including the sexual harassment, exploitation, molestation and abuse of the Plaintiffs constitutes

gender-violence and a form of sex discrimination in that one or more of ROBERT HADDEN’s

acts would constitute a criminal offense under both Federal and New York State Law that has as

an element of the use, attempted use, or threatened use of physical force against the person of

another, committed at least in part based on the gender of the victim, whether or not those acts

have resulted in criminal complaints, charges, prosecution, or conviction.

379.     ROBERT HADDEN’s acts committed against Plaintiffs, as set-forth herein, including the

sexual harassment, exploitation, molestation and abuse of the Plaintiffs constitute gender-violence

and a form of sex discrimination, and racial discrimination, in that ROBERT HADDEN’s conduct

caused a physical intrusion or physical invasion of a sexual nature upon Plaintiffs under coercive

conditions, whether or not those acts have resulted in criminal complaints, charges, prosecution,

or conviction.

380.     Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

HOSPITAL;        COLUMBIA         PRESBYTERIAN           MEDICAL        CENTER;       COLUMBIA

UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER,

EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF



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PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES

ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; and COLUMBIA CORNELL

NETWORK PHYSICIANS, INC., knew not only of ROBERT HADDEN’s propensity to commit

such acts, but also enabled ROBERT HADDEN to commit those act by providing ROBERT

HADDEN with access to the COLUMBIA and CORP. ENTITIES’ female students and patients,

as well bestowing upon him authority over those patients. By ignoring, dismissing, and failing to

take any action against ROBERT HADDEN such as firing him, reporting him to the police, and/or

reporting him to the New York State Medical Board, Defendants COLUMBIA UNIVERSITY,

THE NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN

MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-

PRESBYTERIAN          MEDICAL       CENTER,       EAST     SIDE    ASSOCIATES;        EAST      SIDE

ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW

YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND SURGEONS;

PRESBYTERIAN          HOSPITAL        PHYSICIAN         SERVICES        ORGANIZATION,           INC.;

COLUMBIA-CORNELL              CARE,     LLC;     and    COLUMBIA         CORNELL        NETWORK

PHYSICIANS, INC., enabled the abuse of hundreds of female COLUMBIA UNIVERSITY and

CORP. ENTITIES’ patients, including the Plaintiffs herein.

381.     As a proximate result of ROBERT HADDEN’s acts, as well as Defendants’ enabling of

those acts over a period of greater than 20-years, Plaintiffs are entitled to actual damages,

compensatory damages, punitive damages, injunctive relief, any combination of those, or any other

appropriate relief against all Defendants. Plaintiffs are also entitled to an award of attorney's fees

and costs against all Defendants.

382.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all



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defendants.

                            THIRD CAUSE OF ACTION
            COMMITTING AND ENABLING SEXUAL HARASSMENT, PREDATORY
               GROOMING, SEXUAL EXPLOITATION AND SEXUAL ABUSE

383.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

384.     ROBERT HADDEN, in sexually harassing, grooming, exploiting and abusing the

Plaintiffs and others as herein set-forth, including intending to subject Plaintiffs to numerous

instances of sexual exploitation, abuse and molestation during Plaintiffs’ time with Defendants at

Defendants’ COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

their related "CORP. ENTITIES”, beginning in or around 1992, and lasting for the duration of

Plaintiffs’ tenures with these Defendants through in or around August of 2012 including, but not

limited to, instances of ROBERT HADDEN groping and fondling the Plaintiffs’ vaginas and

breasts, all while ROBERT HADDEN acted in the course and scope of his agency/employment

with Defendants, and each of them were intended to cause harmful or offensive contact with

Plaintiffs’ persons, or intended to put Plaintiffs in imminent apprehension of such contact.

385.     In doing the things herein stated, Plaintiffs were put in imminent apprehension of a harmful

or offensive contact by ROBERT HADDEN and actually believed ROBERT HADDEN had the

ability to make harmful or offensive contact with Plaintiffs’ persons.

386.     Plaintiffs did not, and could not, consent to ROBERT HADDEN’s intended harmful or

offensive contact with Plaintiffs’ persons, or intent to put Plaintiffs in imminent apprehension of

such contact.

387.     In doing the things herein stated, ROBERT HADDEN and Defendants violated Plaintiffs’

Rights of protection from bodily restraint or harm, and from personal insult. In doing the things



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herein stated, ROBERT HADDEN violated his duty to abstain from injuring the person of

Plaintiffs or infringing upon their rights.

388.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment

of life; have suffered and continue to suffer and were prevented and will continue to be prevented

from performing daily activities and obtaining the full enjoyment of life; will sustain loss of

earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

389.     Plaintiffs are informed and based thereon state that the conduct of Defendants was

oppressive, malicious and despicable in that it was intentional and done in conscious disregard for

the rights and safety of others, and were carried out with a conscious disregard of their right to be

free from such tortious behavior, such as to constitute oppression, fraud or malice, entitling

Plaintiffs to punitive damages against Defendants in an amount appropriate to punish and make an

example of Defendants.

390.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                          FOURTH CAUSE OF ACTION
          COMMITTING AND ENABLING CRIMINAL and CIVIL SEXUAL BATTERY

391.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

392.     During Plaintiffs’ time as patients with Defendants COLUMBIA UNIVERSITY,

TRUSTEES OF COLUMBIA UNIVERSITY, and “CORP. ENTITIES”, ROBERT HADDEN

intentionally, recklessly and wantonly did acts which were intended to, and did result in harmful

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and offensive contact with intimate parts of Plaintiffs’ persons, including but not limited to being

subjected to numerous instances of sexual abuse and sexual exploitation by ROBERT HADDEN,

during Plaintiffs’ time with Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, beginning on or around 1992, and

lasting for the duration of his tenure with Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” to in or around

2012, including but not limited to instances of ROBERT HADDEN groping and fondling the

Plaintiffs’ vaginas, buttocks, and breasts, all while ROBERT HADDEN acted in the course and

scope of his agency/employment with Defendants, and each of them.

393.     ROBERT HADDEN did the aforementioned acts with the intent to cause harmful or

offensive contact with intimate parts of Plaintiffs’ persons, and would offend a reasonable sense

of personal dignity. Further, said acts did cause a harmful or offensive contact with intimate parts

of Plaintiffs’ persons that would offend a reasonable sense of personal dignity.

394.     Because of ROBERT HADDEN’s position of status and authority over Plaintiffs, and

Plaintiffs’ mental and emotional states, and Plaintiffs’ ages, Plaintiffs did not give meaningful

consent, and could not consent, to such acts.

395.     As a direct, legal and proximate result of the acts of ROBERT HADDEN, Plaintiffs

sustained serious and permanent injuries to their persons, all of his damage in an amount to be

shown according to proof and within the jurisdiction of the Court.

396.     As a direct result of the sexual abuse by ROBERT HADDEN, Plaintiffs have difficulty in

reasonably or meaningfully interacting with others, including those in positions of authority over

Plaintiffs including teachers, and supervisors, and in intimate, confidential and familial

relationships, due to the trauma of the sexual abuse inflicted upon them by Defendants. This



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inability to interact creates conflict with Plaintiffs’ values of trust and confidence in others, and

has caused Plaintiffs substantial emotional distress, anxiety, nervousness and fear. As a direct

result of the sexual exploitation, abuse and molestation by ROBERT HADDEN, Plaintiffs suffered

immensely, including, but not limited to, encountering issues with a lack of trust, various

psychological sequelae, depressive symptoms, anxiety, nervousness, and self-medicating

behavior.

397.     Plaintiffs are informed and based thereon state that the conduct of ROBERT HADDEN

was oppressive, malicious and despicable in that it was intentional and done in conscious disregard

for the rights and safety of others, and were carried out with a conscious disregard of Plaintiffs’

right to be free from such tortious behavior, such as to constitute oppression, fraud or malice,

entitling Plaintiffs to punitive damages against ROBERT HADDEN in an amount appropriate to

punish and set an example of ROBERT HADDEN and send a message to others similarly situated

that they must avoid doing similar things.

398.     Further, defendant ROBERT HADDEN was permitted and enabled to commit these

criminal acts as a direct and proximate result of the negligence, carelessness, and wanton

recklessness of Defendant “CORP. ENTITIES” and that of their agents, servants and/or employees

through their failure to timely and properly train, supervise, monitor, discipline, terminate, and

report ROBERT HADDEN to the Criminal Authorities and the New York State Office of

Professional Medical Conduct — as well as their failure to take any disciplinary action against

ROBERT HADDEN internally.

399.     As a direct and proximate result of the aforementioned sexual batteries, Plaintiffs sustained

in the past, and will sustain in the future, physical injury, pain and suffering, serious psychological

and emotional distress, mental anguish, embarrassment and humiliation.



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400.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                            FIFTH CAUSE OF ACTION
              VIOLATION OF NY CPL §§ 130.00-130.96 SEX OFFENSES AND
                 VIOLATION OF NY CPLR § 214-g, CHILD VICTIM ACT

401.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

402.     Plaintiffs are informed and believe and on that basis state that Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, “CORP. ENTITIES”

employee and agent ROBERT HADDEN violated NY CPL Sections 130.00-130.96 entitled Sex

Offenses and NY CPLR § 214-g, The New York Child Victim Act.

403.     Accordingly, Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                        SIXTH CAUSE OF ACTION
          COMMITTING AND ENABLING CRIMINAL and CIVIL SEXUAL ASSAULT

404.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

405.     At all times material hereto, the acts of ROBERT HADDEN described herein above placed

Plaintiffs in reasonable fear of harmful and injurious contact, including but not limited to further

and continued intentional and malicious sexual assault, molestation, battery, abuse, and rape.

406.     At all times material hereto, ROBERT HADDEN acted with reckless disregard for the

safety and well-being of Plaintiffs.

407.     At all times material hereto, ROBERT HADDEN acted willfully, wantonly, maliciously,

and recklessly.

408.     At all times material hereto, ROBERT HADDEN was under the direct supervision, employ

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and/or control of COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and the “CORP. ENTITIES”.

409.     As a direct and proximate result of the aforementioned sexual assaults, Plaintiffs sustained

in the past, and will sustain in the future, physical injury, pain and suffering, serious psychological

and emotional distress, mental anguish, embarrassment and humiliation.

410.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                             SEVENTH CAUSE OF ACTION
                     UNFAIR AND DECEPTIVE BUSINESS PRACTICES
                             (NY General Business Law §349)

411.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

412.     Plaintiffs are informed and believe and on that basis state that Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, “CORP. ENTITIES”, and

ROBERT HADDEN have engaged in unlawful, unfair and deceptive business practices including

allowing and enabling ROBERT HADDEN to engage in repeated harassment of female students

and patients, including Plaintiffs, and failing to take all reasonable steps to prevent harassment and

abuse from occurring. The unlawful, unfair and deceptive business practices also included failing

to adequately investigate, vet, and evaluate individuals for employment with defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES” and ROBERT HADDEN, refusing to design, implement, and oversee

policies regarding sexual harassment and abuse of patients in a reasonable manner that is

customary in similar medical and educational environments. Plaintiffs are informed and believe

and on that basis state that ROBERT HADDEN and Defendants COLUMBIA UNIVERSITY,



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THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, have

engaged in unlawful, unfair and deceptive business practices including concealing sexual

harassment, abuse and/or molestation claims by students and patients, such as Plaintiffs, so as to

retain other similarly situated individuals within Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” who were not

apprised of such illicit sexual misconduct by ROBERT HADDEN.

413.     Plaintiffs are informed and believe that Defendants engaged in a common scheme,

arrangement or plan to actively conceal allegations against sexual abusers who were employees,

agents, members, and/or participants at Defendants COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP. ENTITIES”, including

ROBERT HADDEN, such that Defendants could maintain their public image, and avoid revelation

and detection of such abuse and abusers. Plaintiffs are informed and believe and thereon state that

Defendants actively concealed these allegations, such that Defendants would be insulated from

public scrutiny, State and Federal governmental oversight, State Medical Board Investigations,

and/or investigation from various law enforcement agencies, all done in order to maintain the false

sense of safety for unsuspecting patients and their families and to perpetuate the program

financially.

414.     By engaging in unlawful, unfair and deceptive business practices, Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES” and ROBERT HADDEN benefited financially to the detriment of their

competitors, who had to comply with the law.

415.     Unless restrained, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, their related "CORP. ENTITIES” will continue to engage in the



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unfair acts and business practices described above, resulting in great and irreparable harm to

Plaintiffs and/or other similarly situated participants and members.

416.      Plaintiffs seek restitution for all amounts improperly obtained by ROBERT HADDEN and

Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY,

their related "CORP. ENTITIES” through the use of the above-mentioned unlawful business

practices, as well as the disgorgement of all ill-gotten gains and restitution on behalf of Plaintiffs

and all other similarly situated patients who were also subjected to ROBERT HADDEN and Co-

Defendants’ illegal and unfair business practices.

417.      Pursuant to New York General Business Law § 349 and available equitable powers,

Plaintiffs are entitled to a preliminary and permanent injunction, enjoining Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related

"CORP. ENTITIES” and ROBERT HADDEN from continuing the unlawful and unfair business

practices described above. Further, Plaintiffs seek the appointment of a court monitor to enforce

its orders regarding client safety. In addition, Plaintiffs are entitled to recover reasonable attorneys'

fees.

418.      Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                              EIGHTH CAUSE OF ACTION
                        COMMITTING AND ENABLING NEGLIGENT
                         INFLICTION OF EMOTIONAL DISTRESS

419.      Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

420.      Defendants ROBERT HADDEN and “CORP. ENTITIES” owed a duty to Plaintiffs to not

cause them emotional distress, the initiation of post-traumatic stress disorder, or other harm during



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the course of gynecological and/or obstetric examinations and other related treatment, which were

and are of a very personal nature to the patients.

421.     Defendant ROBERT HADDEN, was negligent as to the effect of his conduct in performing

unwanted sexual acts without the consent of Plaintiffs during the course and scope of his purported

medical treatment of the Plaintiffs.

422.     Defendant “CORP. ENTITIES”, their agents, servants, and/or employees were negligent

as to the effect of their conduct in allowing and enabling defendant ROBERT HADDEN to

perform unwanted sexual acts on the Plaintiffs herein, as well as countless other patients, during

the course and scope of his purported medical treatment of their patients.

423.     Defendant “CORP. ENTITIES,” as well as their agents, servants, and/or employees were

further negligent and careless in failing to attend to Plaintiffs in a timely and proper manner after

they were sexually assaulted by ROBERT HADDEN, and after these facts were brought to the

attention of the medical personnel upon the premises of defendant “CORP. ENTITIES”.

424.     Defendants ROBERT HADDEN and “CORP. ENTITIES”, as well as their agents,

servants, employees and/or legal teams were further negligent and careless in failing to timely and

properly investigate the reports, claims and legal filings about the sexual assaults upon patients

being committed by ROBERT HADDEN, and made false, disparaging and degrading oral and

written statements about the lack of veracity of plaintiffs and countless other women.

425.     As a direct and proximate consequence of Defendants’ negligence, Plaintiffs have suffered

physical, emotional, and psychological injuries, along with pain and suffering.

426.     Accordingly Compensatory damages are necessary under these facts as to all defendants.

                                 NINTH CAUSE OF ACTION
                         COMMITTING AND ENABLING INTENTIONAL
                           INFLICTION OF EMOTIONAL DISTRESS



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427.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

428.     Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

HOSPITAL;        COLUMBIA         PRESBYTERIAN           MEDICAL         CENTER;        COLUMBIA

UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER,

EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES

ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; and COLUMBIA CORNELL

NETWORK PHYSICIANS, INC., ROBERT HADDEN, and their agents, servants, and/or

employees’ conduct toward Plaintiffs, as described herein, was outrageous and extreme.

429.     A reasonable person would not expect or tolerate the sexual harassment, exploitation,

molestation and abuse of Plaintiffs by ROBERT HADDEN, and Defendants’ knowledge and

callous indifference thereof. Plaintiffs had placed their trust, faith and confidence in Defendants,

which, by virtue of ROBERT HADDEN and Co-Defendants’ wrongful conduct, turned to fear,

shame and humiliation.

430.     A reasonable person would not expect or tolerate Defendants placing ROBERT HADDEN

- who was known to Defendants to have physically and sexually abused other female-patients - in

a position of care of Plaintiffs and other patients, which enabled ROBERT HADDEN to have

access to other patients so that he could commit wrongful sexual acts, including the conduct

described herein, with young female patients, including Plaintiffs. Plaintiffs had placed great trust,

faith and confidence in Defendants, which, by virtue of Defendants' wrongful conduct, turned to

fear, shame and humiliation.



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431.     A reasonable person would not expect or tolerate the Defendants, their agents, servants,

and/or employees to be incapable of supervising, preventing and/or stopping ROBERT HADDEN

from committing wrongful sexual acts with patients, including Plaintiffs, or to be incapable or

unwilling to supervise ROBERT HADDEN. Plaintiffs had placed great trust, faith and confidence

in Defendants, which, by virtue of Defendants' wrongful conduct, turned to fear, shame and

humiliation.

432.     Defendants’ conduct described herein was deliberately indifferent, wanton, grossly

reckless, premeditated, intentionally deceitful, reckless, intentional and malicious and done for the

purpose of causing or with the substantial certainty that Plaintiffs would suffer humiliation, mental

anguish, and emotional and physical distress.

433.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, physical manifestations of emotional

distress including embarrassment, loss of self-esteem, disgrace, shame, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

434.     In subjecting Plaintiffs to the wrongful treatment herein described, Defendants

COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN HOSPITAL;

COLUMBIA PRESBYTERIAN MEDICAL CENTER; COLUMBIA UNIVERSITY MEDICAL

CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER, EAST SIDE ASSOCIATES;

EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY

OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF PHYSICIANS AND



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SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES ORGANIZATION,

INC.; COLUMBIA-CORNELL CARE, LLC; and COLUMBIA CORNELL NETWORK

PHYSICIANS, INC., and ROBERT HADDEN acted willfully and maliciously with the intent to

harm Plaintiffs, and in conscious disregard of Plaintiffs’ rights, so as to constitute malice and/or

oppression. Plaintiffs are informed, and on that basis state, that these willful, malicious, and/or

oppressive acts, as stated herein above, were ratified by the officers, directors, and/or managing

agents of the Defendants. Plaintiffs are therefore entitled to recover punitive damages, in an

amount to be determined by the Court, against Defendants COLUMBIA UNIVERSITY, THE

NEW YORK AND PRESBYTERIAN HOSPITAL; COLUMBIA PRESBYTERIAN MEDICAL

CENTER; COLUMBIA UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN

MEDICAL CENTER, EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE

TRUSTEES OF COLUMBIA UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA

UNIVERSITY         COLLEGE       OF    PHYSICIANS        AND     SURGEONS;       PRESBYTERIAN

HOSPITAL PHYSICIAN SERVICES ORGANIZATION, INC.; COLUMBIA-CORNELL

CARE, LLC; and COLUMBIA CORNELL NETWORK PHYSICIANS, INC., and ROBERT

HADDEN

                             TENTH CAUSE OF ACTION
                 CONSTRUCTIVE FRAUD and FRAUDULENT CONCEALMENT

435.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

436.     By holding ROBERT HADDEN out as an agent of Defendants, and by allowing him to

undertake the medical care of female patients such as Plaintiffs, Defendants entered into a

confidential, fiduciary, and special relationship with Plaintiffs.

437.     By holding themselves out as a preeminent university medical center, thereby enticing

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Plaintiffs to seek medical care and treatment through Defendants’ hospitals, medical centers, and

clinics, Defendants entered into a confidential, fiduciary and special relationship with Plaintiffs.

438.     Defendants breached their confidential, fiduciary duty and special duties to Plaintiffs by

the wrongful and negligent conduct described above and incorporated into this cause of action,

and in so doing, gained an advantage over Plaintiffs in matters relating to Plaintiffs’ safety, security

and health. In particular, in breaching such duties as stated, Defendants were able to sustain their

status as an institution of high moral repute, and preserve their reputation, all at the expense of

Plaintiffs’ further injury and in violation of Defendants' mandatory duties. By virtue of their

confidential, fiduciary, and special relationship with Plaintiffs, Defendants had the duty to obtain

and disclose material information relating to sexual misconduct of ROBERT HADDEN to

Plaintiffs, the public, the school community, the state medical board, and law enforcement

agencies the wrongful, tortious, and sexually exploitive acts that ROBERT HADDEN and his

enablers had engaged in with patients.

439.     By virtue of their confidential, fiduciary and special relationship with Plaintiffs,

Defendants additionally owed Plaintiffs a duty to:

            Ɣ Investigate or otherwise confirm or deny such claims of sexual abuse;
            Ɣ Refuse to place ROBERT HADDEN and other molesters, sexual predators, and
                enablers in positions of trust and authority within Defendants' institutions;
            Ɣ Refuse to hold out ROBERT HADDEN and other molesters to the public, the
                community, parents and law enforcement agencies as being in good standing,
                reputable and, trustworthy in keeping him and his position as a physician, faculty
                member and authority figure; and
            Ɣ Refuse to assign ROBERT HADDEN and other molesters, sexual predators and
                enablers to positions of power within Defendants COLUMBIA UNIVERSITY,




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                 THE TRUSTEES OF COLUMBIA UNIVERSITY, their related "CORP.
                 ENTITIES”, and over female patients.


440.      Defendants’ breach of their respective duties included:

             Ɣ Not making reasonable investigations of ROBERT HADDEN;
             Ɣ Issuing no warnings about ROBERT HADDEN;
             Ɣ Not making reasonable investigations of ROBERT HADDEN’s enablers;
             Ɣ Issuing no warnings about ROBERT HADDEN’s enablers;
             Ɣ Enabling ROBERT HADDEN to routinely be supervised only by untrained
                 chaperones, who were consistently derelict in their duty to report ROBERT
                 HADDEN’s sexual abuse to law enforcement;
             Ɣ Not adopting a policy to prevent ROBERT HADDEN from routinely having
                 patients and patients in his unsupervised control;
             Ɣ Making no reports of any allegations of ROBERT HADDEN’s abuse of patients
                 prior to or during his employment and/or agency at Defendants COLUMBIA
                 UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, their related
                 "CORP. ENTITIES”;
             Ɣ Assigning and continuing to assign ROBERT HADDEN to duties which placed
                 him in positions of authority and trust over female patients, positions in which
                 ROBERT HADDEN could easily isolate, sexually exploit, and sexually abuse other
                 students and patients; and
Enabling ROBERT HADDEN to serially sexually assault female patients for a period of over
twenty (20) years upon Defendants’ medical facilities, clinics and/or premises
441.      Defendants engaged in such suppression and concealment of ROBERT HADDEN’s

tortious, exploitative and despicable acts for the purpose of causing Plaintiffs to forbear on their

rights.

442.      Defendants’ misconduct did reasonably cause Plaintiffs to forbear on Plaintiffs’ Rights.

443.      Defendants affirmatively misrepresented, actively concealed and failed to disclose

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information relating to sexual misconduct of ROBERT HADDEN.

444.     The misrepresentations, suppressions and concealment of facts by Defendants were

intended to, and were likely to, mislead Plaintiffs and others to believe that Defendants had no

knowledge of the fact that ROBERT HADDEN was a molester, sexual predator, and was known

to commit wrongful and exploitative sexual acts with students and patients, including Plaintiffs;

that Defendants had no knowledge of any charges against ROBERT HADDEN orthat there were

no other charges of unlawful or sexual misconduct against ROBERT HADDEN or others’; and

that there was no need for them to take further action or precaution.

445.     Defendants suppressed and concealed the true facts regarding ROBERT HADDEN with

the purpose of: preventing Plaintiffs and others from learning that ROBERT HADDEN and others

had been and were continuing to sexually harass, sexually exploit, molest and abuse patients under

ROBERT HADDEN and Defendants' control, direction, and guidance, with complete impunity;

inducing people, including Plaintiffs and other benefactors and donors to participate and

financially support Defendants' program and other enterprises of Defendants; preventing further

reports and outside investigations into ROBERT HADDEN and Defendants' conduct; preventing

discovery of Defendants' own conduct; avoiding damage to the reputations of Defendants;

protecting Defendants' power and status in the community; avoiding damage to the reputation of

Defendants, or Defendants' institutions; and avoiding the civil and criminal liability of Defendants,

of ROBERT HADDEN, of ROBERT HADDEN’s enablers, and of others.

446.     Defendants knew or should have known that they had misrepresented, concealed and failed

to disclose information related to sexual misconduct of ROBERT HADDEN.

447.     Defendants knew or should have known at the time that the facts known to them regarding

ROBERT HADDEN’s sexual misconduct were material and that, therefore, Defendants had a duty



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to disclose these facts to Plaintiffs.

448.     At all times mentioned herein, Defendants, and in particular Defendants COLUMBIA

UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, and ROBERT HADDEN,

with knowledge of the tortious and exploitative nature of their own, and ROBERT HADDEN’s

conduct, knowingly and collectively conspired and provided each other substantial assistance to

perpetrate the misrepresentations, fraud and deceit stated herein—covering up the past allegations

of sexual misconduct lodged against ROBERT HADDEN, and allowing and enabling ROBERT

HADDEN to remain in his position as a physician, faculty member and doctor, so they could

maintain their reputations and continue with their positions within the organization.

449.     Plaintiffs and others were misled by Defendants' suppressions and concealment of facts,

and in reliance thereon, were induced to act or induced not to act, exactly as intended by

Defendants. Specifically, Plaintiffs were induced to believe that there were no allegations of

criminal or sexual abuse against ROBERT HADDEN, and that he posed no danger to his patients.

This inducement was caused by intentional and knowing false statements about the cause of

ROBERT HADDEN’s abrupt, but silent departure as a physician at the hospitals, offices, and

medical clinics of CORP. ENTITIES.

450.     Plaintiffs justifiably relied on the misleading actions and omissions of Defendants and at

no time did Plaintiffs have knowledge of the falsity of Defendants’ representations.

451.     By giving ROBERT HADDEN the position of physician and faculty member, Defendants

both impliedly and affirmatively represented that ROBERT HADDEN was safe and morally fit to

give medical care and provide gynecologic and obstetric treatment.

452.     When Defendants made these affirmative or implied representations and non-disclosures

of material facts, Defendants knew, or should have known, that the facts were otherwise.



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Defendants knowingly and intentionally suppressed the material facts that ROBERT HADDEN,

had on numerous, prior occasions sexually, physically, and mentally abused patients of

Defendants, including Plaintiffs, and knew of, or learned of conduct, or should have known of

conduct by ROBERT HADDEN which placed Defendants on notice that ROBERT HADDEN had

previously been suspected of, and committed, felonies, including unlawful sexual conduct with

patients, and was sexually exploiting and abusing students and patients under his care.

453.     Because of the status of ROBERT HADDEN with CORP. ENTITIES as a trusted,

authority figure to Plaintiffs, Plaintiffs were vulnerable to ROBERT HADDEN. ROBERT

HADDEN sought Plaintiffs out, and was empowered by and accepted Plaintiffs’ vulnerability.

Plaintiffs’ vulnerability also prevented Plaintiffs from effectively protecting themselves from the

sexual advances of ROBERT HADDEN.

454.     Defendants   COLUMBIA        UNIVERSITY,        THE     TRUSTEES       OF    COLUMBIA

UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN, in concert with each other and with

the intent to conceal and defraud, conspired and came to a meeting of the minds whereby they

would misrepresent, conceal or fail to disclose information relating to the sexual misconduct of

ROBERT HADDEN, the inability of Defendants to supervise or stop ROBERT HADDEN from

sexually harassing, exploiting, molesting and abusing Plaintiffs, and their own failure to properly

investigate, supervise and monitor his conduct with patients.

455.     By so concealing, Defendants committed at least one act in furtherance of the conspiracy.

456.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be



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prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

457.     In addition, when Plaintiffs finally discovered the fraud of Defendants, and continuing

thereafter, Plaintiffs experienced recurrences of the above-described injuries. Plaintiffs

experienced extreme and severe mental anguish and emotional distress that Plaintiffs had been the

victim of Defendants' fraud; that Plaintiffs had not been able to help other young female patients

to avoid being molested because of the fraud, and that Plaintiffs had not been able because of the

fraud to receive timely medical treatment needed to deal with the problems Plaintiffs had suffered

and continue to suffer as a result of the sexual harassment, molestation and abuse.

458.     In subjecting Plaintiffs to the wrongful treatment herein described, Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, CORP.

ENTITIES and ROBERT HADDEN acted willfully and maliciously with the intent to harm

Plaintiffs, and in conscious disregard of Plaintiffs’ rights, so as to constitute malice, gross

recklessness and/or oppression. Plaintiffs are informed, and on that basis state, that these willful,

wanton, malicious, and/or oppressive acts, as stated herein above, were ratified by the officers,

directors, trustees and/or managing agents of the Defendants. Plaintiffs are therefore entitled to

recover punitive damages, in an amount to be determined by the Court, against Defendants

COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY, CORP.

ENTITIES and ROBERT HADDEN.

459.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                             ELEVENTH CAUSE OF ACTION
                       COMMITTING AND ENABLING SEXUAL ASSAULT

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                                 AND/OR RAPE OF THE PLAINTIFFS

460.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

461.     Prior to, and after the first incident of ROBERT HADDEN’s sexual harassment,

exploitation, molestation and abuse of Plaintiffs herein, through the present, Defendants, knew

and/or should have known that ROBERT HADDEN had, and was capable of, sexually, physically,

and mentally abusing, exploiting and harassing Plaintiffs and others.

462.     Defendants and each of them had special duties to protect the Plaintiffs and other female

patients, when such individuals were entrusted to Defendants' care. Plaintiffs’ care, welfare and

physical custody was entrusted to Defendants. Defendants voluntarily accepted the entrusted care

of Plaintiffs. As such, Defendants owed Plaintiffs as women, students, minors, as well as pregnant

and non-pregnant female patients, a special duty of care that ethical adults and medical

professionals dealing with vulnerable medical patients owe to protect them from harm. The duty

to protect and warn arose from the special, trusting, confidential, and fiduciary relationship

between Defendants and Plaintiffs.

463.     Further, Defendant ROBERT HADDEN and defendant “CORP. ENTITIES” owed a duty

to Plaintiffs herein to not cause them emotional distress, the initiation of post-traumatic stress

disorder, the trigger of past sexual abuse, or other harm during the course of gynecological and/or

obstetric examinations and other related treatment, which are of a very personal nature to these

patients.

464.     Defendant ROBERT HADDEN, performed unwanted sexual acts without the consent of

Plaintiffs herein during the course and scope of his purported medical treatment of the Plaintiffs

and other women.



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465.     Defendant CORP. ENTITIES, their agents, servants, and/or employees allowed and

enabled defendant ROBERT HADDEN to perform unwanted sexual acts on Plaintiffs herein, as

well as other patients, during the course and scope of his purported medical treatment of their

patients.

466.     Defendant CORP. ENTITIES, as well as their agents, servants, and/or employees failed to

attend to Plaintiffs in a timely and proper manner after they were sexually assaulted by ROBERT

HADDEN, and after these facts were brought to the attention of the medical personnel upon the

premises of defendant CORP. ENTITIES.

467.     Defendants ROBERT HADDEN and CORP. ENTITIES, as well as their agents, servants,

employees, administrators and/or legal teams failed to timely and properly investigate the reports,

claims and legal filings about the sexual assaults upon patients being committed by ROBERT

HADDEN, and made false, disparaging and degrading oral and written statements about the lack

of veracity of plaintiffs and other women.

468.     Defendants allowed ROBERT HADDEN to come into contact with the Plaintiffs and other

female students and patients whom they permitted and enabled to have access to Plaintiffs; by

concealing from Plaintiffs, the public and law enforcement that ROBERT HADDEN was sexually

harassing, molesting and abusing patients; and by holding ROBERT HADDEN out to Plaintiffs

as being of high moral and ethical repute, in good standing and trustworthy.

469.     Defendants failed to investigate or otherwise confirm or deny such facts of sexual abuse

by ROBERT HADDEN to Plaintiffs, failed to reveal such facts to Plaintiffs, the community and

law enforcement agencies, and placed ROBERT HADDEN into a position of trust and authority,

holding him out to Plaintiffs and the public as being in good standing and trustworthy.

470.     Defendants failed to prevent ROBERT HADDEN from committing wrongful sexual acts



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with medical patients, including Plaintiffs. Defendants’ past observations, reports, and records of

sexual misconduct by ROBERT HADDEN caused Defendants to know, or gave them information

where they should have known, of ROBERT HADDEN’s incapacity to serve as a physician, and

faculty member at Defendants’ institutions, providing for the physical care of pregnant and non-

pregnant, adult and minor, female patients.

471.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

472.     Accordingly Compensatory damages are necessary under these facts as to all defendants.



                                    TWELFTH CAUSE OF ACTION
                                     NEGLIGENT SUPERVISION

473.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

474.     By virtue of Plaintiffs’ special relationships with Defendants, and Defendants' relation to

ROBERT HADDEN, Defendants owed Plaintiffs a duty to provide reasonable supervision of

ROBERT HADDEN, to use reasonable care in investigating ROBERT HADDEN’s background,

and to provide adequate warning to Plaintiffs and other patients of ROBERT HADDEN’s

dangerous propensities and unfitness. As organizations and individuals responsible for, and

entrusted with, the welfare of patients, Defendants COLUMBIA UNIVERSITY, THE

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TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES had a duty to protect,

supervise, monitor, and prevent the Plaintiffs from being preyed upon by sexual predators, and to

supervise and monitor ROBERT HADDEN such that he would not be placed in seclusion with

vulnerable medical patients, including the Plaintiffs.

475.     As representatives of Defendants COLUMBIA UNIVERSITY, THE BOARD OF

TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES, Defendants’ agents

servants and/or employees expressly and implicitly represented that physicians, faculty and staff,

including ROBERT HADDEN, were not a sexual threat to those individuals and others who would

fall under ROBERT HADDEN’s influence, control, direction, and care.

476.     Defendants, by and through their respective agents, servants and employees, knew or

should have known, of ROBERT HADDEN’s dangerous and exploitive propensities and that

ROBERT HADDEN was an unfit agent and practitioner. Despite such knowledge, Defendants

negligently failed to supervise ROBERT HADDEN in his position of trust and authority as a

physician, gynecologist, faculty member and authority figure over female patients and young

women, where he was able to commit wrongful acts of sexual misconduct against Plaintiffs.

Defendants failed to provide reasonable supervision of ROBERT HADDEN, failed to use

reasonable care in investigating ROBERT HADDEN, and failed to provide adequate warning to

Plaintiffs of ROBERT HADDEN’s dangerous propensities and unfitness. Defendants further

failed to take reasonable steps to ensure the safety of patients, including Plaintiffs, from sexual

harassment, sexual assault, sexual battery, molestation, and abuse.

477.     At no time during the periods of time set-forth herein did Defendants have in place a

reasonable system or procedure to investigate, supervise and monitor ROBERT HADDEN, to

prevent pre-sexual grooming and sexual harassment, sexual exploitation, molestation and abuse of



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those individuals, nor did they implement a system or procedure to oversee or monitor conduct

toward patients and others in Defendants' care.

478.     Defendants were aware, or should have been aware, of how vulnerable these patients were

to sexual grooming, harassment, exploitation, molestation and abuse by physicians, male-

gynecologists in particular, faculty members and other persons of authority within Defendants’

entities. Recent news reports about the Dean of Students having sexually exploited and abused an

incoming female freshman shows that the exploitation and abuse of women at Columbia

University and its affiliated offices, clinics, hospitals, and entities is a systemic problem which

Defendants’ are not capable of handling or managing.

479.     Defendants were put on notice, knew and/or should have known that ROBERT HADDEN

had previously engaged in, and was continuing to engage in, unlawful sexual conduct with female

patients, minors, and other pregnant and non-pregnant patients, and that he had committed and

perpetrated sexual felonies against those patients, for his own personal sexual gratification, and

that it was foreseeable that he was engaging, or would engage, in illicit sexual activities with

Plaintiffs, and others, under the cloak of the authority, confidence, and trust, bestowed upon him

by Defendants.

480.     Defendants were placed on actual or constructive notice that ROBERT HADDEN had

molested, groomed, abused, and exploited other student and non-student female patients during

his employment with Defendants. Defendants were informed of molestations of patients

committed by ROBERT HADDEN prior to Plaintiffs’ sexual abuse, and of conduct by ROBERT

HADDEN that would put a reasonable person on notice of such propensity to molest, groom,

exploit and abuse young female patients.

481.     Even though Defendants knew, or should have known, of the illicit and exploitative sexual



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activities being perpetrated by ROBERT HADDEN, Defendants failed to reasonably investigate,

supervise, monitor, and end ROBERT HADDEN’s access to female patients. Instead, Defendants

simply enabled ROBERT HADDEN to keep exploiting and sexually abusing more and more

female patients.

482.     Defendants’ conduct was a breach of their duties to Plaintiffs and all female patients, as

well as their family members.

483.     Defendants, and each of them, have breached their duty to Plaintiffs by, inter alia, failing

to adequately monitor and supervise ROBERT HADDEN and stop ROBERT HADDEN from

committing wrongful sexual acts with female patients, including Plaintiffs.

484.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

485.     Accordingly Compensatory damages are necessary under these facts as to all defendants.

                              THIRTEENTH CAUSE OF ACTION
                        VIOLATION OF MANDATORY REPORTING LAWS

486.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

487.     Under applicable law, Defendants, by and through their employees and agents, were

medical care providers and were under a statutory duty to report known or suspected incidents of

sexual molestation or abuse of patients, or any individuals in their care, to the appropriate

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authorities, and not to impede the filing or investigation of any such report.

488.     Defendants knew, and should have known, that their gynecological physician, ROBERT

HADDEN, had sexually molested, abused, exploited, or caused touching, battery, harm, and/or

other injuries to female patients including Plaintiffs, giving rise to a duty to report such conduct.

489.     Defendants knew, and should have known, in the exercise of reasonable diligence, that an

undue risk to patients, including Plaintiffs, existed because Defendants did not comply with

mandatory reporting requirements.

490.     By failing to report the continuing sexual molestations and abuse by ROBERT HADDEN,

which Defendants knew and should have known about, and by ignoring the fulfillment of the

mandated compliance with the reporting requirements, Defendants created the risk and danger

contemplated by the applicable mandated reporting laws, and as a result, unreasonably and

wrongfully exposed Plaintiffs and other patients to sexual molestation and abuse.

491.     Further, defendant COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, and CORP. ENTITIES actively and intentionally impeded the criminal indictment

and investigation of ROBERT HADDEN through the intimidation of Assistant District Attorneys,

as well as the intimidation of Defendants’ own agents, servants, and/or employees, all in an effort

to dissuade them from reporting the exploitation and abuse to the authorities and others. In doing

so, defendants illegally interjected themselves into the criminal prosecution of ROBERT

HADDEN, used force and coercion in an effort to derail the criminal investigation, and sent high-

ranking risk-managers and corporate personnel to accompany and intimidate its nurses and

medical chaperones before, during, and after their interviews with the Manhattan District

Attorneys office relative to the criminal indictment and prosecution of ROBERT HADDEN.

492.     Plaintiffs were members of the class of persons for whose protection the applicable



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mandated reporting laws were specifically designed and adopted to protect.

493.     Had Defendants adequately reported the molestation of female patients, including

Plaintiffs, as required by applicable mandated reporting laws, further harm to Plaintiffs and other

individuals would have been avoided.

494.     As a proximate result of Defendants' failure to follow the mandatory reporting

requirements, Defendants wrongfully denied Plaintiffs, and other women, the intervention of law

enforcement and the appropriate authorities. Such public agencies would have changed the then-

existing arrangements and conditions which provided the necessary access and opportunities for

the molestation of Plaintiffs by ROBERT HADDEN.

495.     The physical, mental, and emotional damages and injuries resulting from the sexual

molestation of Plaintiffs by ROBERT HADDEN were the type of occurrence and injuries that the

applicable mandated reporting laws were designed to prevent.

496.     As a result of the above-described conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

497.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                            FOURTEENTH CAUSE OF ACTION
                     NEGLIGENT HIRING, RETENTION and RATIFICATION

498.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

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above as though fully set forth and brought in this cause of action.

499.     By virtue of Plaintiffs’ special relationship with Defendants, and Defendants' relation to

ROBERT HADDEN, Defendants owed Plaintiffs a duty to not hire and/or retain HADDEN, given

his dangerous and exploitive propensities, which Defendants knew, or should have known, about

had they engaged in a reasonable, meaningful and adequate investigation of his background prior

to his hiring or retaining him.

500.     Defendants expressly and implicitly represented that ROBERT HADDEN was a legitimate

gynecologist and obstetrician, and not a sexual threat to female patients.

501.     At no time during the periods of time stated herein did Defendants have in place a

reasonable system or procedure to timely and properly investigate, supervise and monitor its

hospitals, offices, medical clinics, physicians and healthcare personnel, including ROBERT

HADDEN, to prevent sexual grooming, sexual harassment, sexual exploitation, molestation and

abuse of female patients, nor did they implement a system or procedure to oversee or monitor

conduct toward female patients and/or others in Defendants' care.

502.     Defendants were aware, or should have been aware, and understood how vulnerable female

patients were to sexual grooming, sexual harassment, sexual exploitation, molestation and abuse

by faculty members, physicians, and other persons of authority within the control of Defendants

prior to Plaintiffs’ sexual abuse and exploitation by ROBERT HADDEN.

503.     Defendant “CORP. ENTITIES”, their agents, servants, and/or employees, failed to timely

and properly investigate complaints made by the sexual assault survivors of ROBERT HADDEN,

as well as suspicious circumstances wherein ROBERT HADDEN and other medical staff, agents,

servants, and/or employees placed patients in compromised and unprotected situations which

either led, or should have led, to an investigation of defendant ROBERT HADDEN and other



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medical staff, agents, servants, and/or employees’ negligence, carelessness, recklessness, and/or

criminal and wanton misconduct.

504.     Defendants were put on notice, and should have known that ROBERT HADDEN had

previously engaged, and continued to engage, in unlawful sexual conduct with female patients,

and was committing other felonies, for his own deviant sexual gratification, and that it was

foreseeable, or should have been foreseeable, that ROBERT HADDEN was engaging in, or would

engage in, illicit deviant sexual activities with Plaintiffs, and others, under the cloak of his

authority, confidence, and trust, bestowed upon him through Defendants, their agents, servants

and/or employees.

505.     Defendants were placed on actual or constructive notice that ROBERT HADDEN had

molested or was molesting female patients, both before his employment with the within named

Defendants, and during that employment. Defendants had knowledge of inappropriate conduct,

exploitation and serial molestations committed by ROBERT HADDEN before and during his

employment, yet chose to allow him to remain unsupervised where he serially sexually abused

Plaintiffs herein.

506.     Despite the fact that Defendants knew, or should have known, of these sexually exploitive

activities being perpetrated by ROBERT HADDEN, Defendants failed to use reasonable care in

investigating ROBERT HADDEN and did nothing to reasonably investigate, supervise or monitor

and/or terminate ROBERT HADDEN to ensure the safety of patients.

507.     Defendants’ conduct in enabling ROBERT HADDEN to serially sexually assault countless

female Patients upon its premises was a long-standing, gross, and inexcusable violation of the duty

of care owed to Plaintiffs herein.

508.     Because Defendants:



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          (a)   had actual knowledge of the sexual exploitation, abuse and harassment being
committed by HADDEN;
          (b)   failed to take action such as terminating their employment of ROBERT HADDEN,
reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to the New
York State Medical Board as mandated by State Laws;
          (c)   failed to take action such as terminating their employment of ROBERT HADDEN,
reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to the New
York State Medical Board as mandated by Federal Laws;
          (d)   failed to take action such as terminating their employment of ROBERT HADDEN,
reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to the New
York State Medical Board as mandated by medical and academic standards of care;
          (e)   failed to take action such as terminating their employment of ROBERT HADDEN,
reporting ROBERT HADDEN to the police, and/or reporting ROBERT HADDEN to the New
York State Medical Board as mandated by basic standards of ethics and decency;
          (f)   consciously and intentionally enabled ROBERT HADDEN to continue to sexually
exploit, abuse, and harass female patients by failing to take any of the above actions; and
          (g)   consciously and intentionally concealed all of ROBERT HADDEN’s exploitative,
abusive, and harassing behaviors from female patients, the Plaintiffs herein, and the public at large,
Defendants have enabled, permitted, and ratified the conduct of ROBERT HADDEN as set forth
herein.
509.      Defendants, their agents, servants, and/or employees knew ROBERT HADDEN was

sexually exploiting, abusing and harassing female patients and refused to take any action to stop

him. Moreover, Defendants, their agents, servants, and/or employees hid this information so

ROBERT HADDEN could continue to work for COLUMBIA UNIVERSITY, its hospital, offices,

medical clinics and facilities. With knowledge of ROBERT HADDEN’s sexual misconduct, no

disciplinary action was taken by Defendants and he was inexplicably allowed to be alone with

female patients. Defendants, their agents, servants, and/or employees are thus responsible for



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ROBERT HADDEN’s acts of sexual exploitation, sexual assault, sexual abuse, sexual battery,

discrimination, and harassment.

510.     Further, defendant “CORP. ENTITIES” prior to the granting or renewing of privileges or

employment of defendants, residents, nurses and others medical personnel involved in plaintiffs’

care, failed to investigate the qualifications, competence, capacity, abilities and capabilities of said

defendants, residents, nurses and other employees, including but not limited to obtaining the

following information: patient grievances, criminal investigations, governmental inquiries,

negative health care outcomes, incidents injurious to patients, medical malpractice actions

commenced against said persons, including the outcomes thereof, any history of association,

privilege and/or practice at other institutions, and discontinuation of said association, employment,

privilege and/or practice at said institution, and any pending professional misconduct proceedings

in this State or another State, the substance of the allegations in such proceedings and any

additional information concerning such proceedings and the findings of the proceedings and

defendant “CORP. ENTITIES” failed to make sufficient inquiry of the physicians, nurses,

employees other personnel and institutions which should and did have information relevant to the

capacity, capability, ability and competence of said persons rendering treatment, including

defendant ROBERT HADDEN - as well as the medical staff with which he was associated - upon

Defendants’ premises.

511.     Defendant “CORP. ENTITIES” failed to timely and properly educate, train, supervise

and/or monitor its agents, servants, and/or employees with regard to the policies and procedures

that must be followed when sexual abuse by a physician is suspected or observed, and instead

created an environment where sexual misconduct by physicians was tolerated.

512.     Defendant “CORP. ENTITIES” created an environment where its agents, servants and/or



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employees who suspected - or even witnessed - sexual misconduct by a physician, were more

fearful about their prospects for future employment if they said something, than they were about

the safety and well-being of the patients who were being sexually abused.

513.     Had defendant “CORP. ENTITIES” made the above stated inquiry, or in the alternative,

had it reviewed and analyzed the information obtained and available to it in a timely and proper

manner, privileges and/or employment would not have been granted and/or renewed.

514.     Defendant “CORP. ENTITIES” were additionally negligent, grossly reckless, wanton and

willful, in failing to supervise, monitor, chaperone and/or investigate defendant ROBERT

HADDEN, and/or failed to create, institute and/or enforce rules, policies, procedures and/or

regulations for defendant ROBERT HADDEN’s treatment of Plaintiffs and countless other

women.

515.     By reason of defendant “CORP. ENTITIES” failures to meet the aforementioned

obligations, Plaintiffs were treated by physicians, nurses, medical personnel and other employees

who were lacking the requisite skills, abilities, competence, capacity and supervision, as a result

of which Plaintiffs sustained significant injuries and complications.

516.     The aforesaid injuries resulting therefrom were caused wholly and solely as a result of the

defendant “CORP. ENTITIES”'s negligent and reckless supervision of its agents, servants, and/or

employees, and created a foreseeable risk of harm to its patients.

517.     Specifically, on Friday, June 29, 2012 a female patient known as JANE DOE #1 was

sexually abused by ROBERT HADDEN who touched his tongue to her vagina during a vaginal

examination. JANE DOE #1, in shock and fear, hurriedly dressed and ran out of Defendants’

offices. A short while later, two (2) members of the New York City Police Department presented

to the medical office, located at 16 East 60th Street, seeking ROBERT HADDEN. Defendants’



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staff informed ROBERT HADDEN of the police officers’ desire to speak with him. The police

officers then proceeded to question ROBERT HADDEN about sexual assault he committed and

escorted ROBERT HADDEN out of the main office area. ROBERT HADDEN informed the

police that he had called JANE DOE #1 on her cell phone after the assault “to straighten out a

situation”. The police and the District Attorney's Office then proceeded to engage in a verbal

altercation over the telephone - the Police Officers wanted to arrest ROBERT HADDEN but the

District Attorney’s Office insisted that ROBERT HADDEN be let go. The District Attorney then

overrode the Police and mandated that ROBERT HADDEN be released from their custody. The

following week ROBERT HADDEN returned to Defendants’ medical offices, and continued to

sexually exploit and abuse female patients as if nothing had happened. Despite the knowledge of

a female patient running out of the office - and the Police Officers’ arrival at Defendants’ offices

a short-time later in an effort to apprehend ROBERT HADDEN - Defendants took no action

against ROBERT HADDEN, wholly failed to investigate the matter, failed to suspend ROBERT

HADDEN, failed to report the incident to other people of authority at COLUMBIA and its related

CORP. ENTITIES, failed to terminate ROBERT HADDEN, and utterly failed to protect the

sanctity of the relationship of trust which is supposed to exist between the Defendants through

their agents, servants, employees, and the patients who they are supposed to serve.

518.     Defendant “CORP. ENTITIES”'s negligence and recklessness further lies in having placed

Defendant ROBERT HADDEN in a position to cause foreseeable harm, of which Plaintiffs would

have been spared, had the defendant “CORP. ENTITIES” taken reasonable care in the supervision

and investigation of its employees - including, but not limited to, defendant ROBERT HADDEN,

himself.

519.     In a claim for negligent hiring and/or retention, an employer is held liable and responsible



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for its negligence or recklessness in hiring, retaining and/or supervising an employee, whereas

under respondeat superior, the employer is vicariously liable for the torts of the agent, servant or

employee. Thus, while Defendant “CORP. ENTITIES” may or may not be vicariously liable under

respondeat superior for an act of an employee that was committed outside the scope of the

employee's employment, Defendant “CORP. ENTITIES” are nevertheless liable for their failure

to exercise reasonable care in hiring, retention and/or supervising their agents, servants and/or

employees - including, but not limited to, defendant ROBERT HADDEN, himself, as well as its

useless and complicit chaperones who failed to report ROBERT HADDEN’s conduct.

520.     In a claim for negligent supervision, the employer is held liable and responsible for its

negligence or recklessness in failing to timely and properly supervise an agent, servant, and/or

employee, whereas under respondeat superior, the employer is vicariously liable for the torts of

the employee. Thus, while Defendant “CORP. ENTITIES” may or may not be vicariously liable

under respondeat superior for an act of an agent, servant, or employee that was committed outside

the scope of the employee's employment, Defendant “CORP. ENTITIES” are nevertheless liable

for their own failure to exercise reasonable care in hiring, retaining, monitoring, investigating,

and/or supervising their agents, servants and/or employees - including, but not limited to,

defendant ROBERT HADDEN, himself.

521.     As a result of the above referenced conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continues to suffer and were prevented and will continue to

be prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for



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medical and psychological treatment, therapy, and counseling.

522.     As a result of Defendants’ reckless conduct, gross indifference, and wanton lack of regard

for the safety and well-being of its patients, malice, criminal indifference to civil obligations, and

outrageous disregard of moral and professional obligations, both Compensatory and Punitive

damages are necessary under these facts as to all defendants.



                                 FIFTEENTH CAUSE OF ACTION
                             FAILURE TO WARN, TRAIN or EDUCATE

523.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

524.     Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

HOSPITAL;        COLUMBIA         PRESBYTERIAN           MEDICAL         CENTER;        COLUMBIA

UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER,

EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES

ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; and COLUMBIA CORNELL

NETWORK PHYSICIANS, INC., owed Plaintiffs a duty to take reasonable protective measures

to safeguard Plaintiffs, and other female patients, from the risk of sexual harassment, sexual

exploitation, molestation and abuse by ROBERT HADDEN by properly warning, training or

educating Plaintiffs and others, including their own medical personnel, medical staff,

Administrators, and other agents, servants, and/or employees about how to avoid such a risk and

what to do when such inappropriate conduct is witnessed, observed, reported, and/or discovered

525.     Defendants breached their duty to take reasonable measures to protect Plaintiffs, and other

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female patients, from the risk of sexual harassment, sexual exploitation, molestation and abuse by

ROBERT HADDEN, such as the failure to properly warn, train and/or educate Plaintiffs, and other

patients, about how to avoid such a particular risk that ROBERT HADDEN posed.

526.     Defendants breached their duty to take reasonable protective measures to safeguard

Plaintiffs and other patients from the risk of sexual harassment, sexual exploitation, molestation

and abuse by ROBERT HADDEN, by failing to supervise and stop employees of Defendants, such

as ROBERT HADDEN, and prevent them from committing sexually abusive and exploitive acts

upon female student and patients, including Plaintiffs.

527.     As a result of the above-referenced conduct, Plaintiffs have suffered and continue to suffer

great pain of mind and body, shock, emotional distress, shame, physical manifestations of

emotional distress including embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

enjoyment of life; have suffered and continue to suffer and were prevented and will continue to be

prevented from performing daily activities and obtaining the full enjoyment of life; will sustain

loss of earnings and earning capacity, and/or have incurred and will continue to incur expenses for

medical and psychological treatment, therapy, and counseling.

528.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

defendants.

                      SIXTEENTH CAUSE OF ACTION
        GROSS NEGLIGENCE, WANTON, WILLFUL and RECKLESS CONDUCT

529.     Plaintiffs re-state and incorporate by reference each and every allegation contained herein

above as though fully set forth and brought in this cause of action.

530.     Defendants COLUMBIA UNIVERSITY, THE NEW YORK AND PRESBYTERIAN

HOSPITAL;        COLUMBIA         PRESBYTERIAN            MEDICAL       CENTER;        COLUMBIA

UNIVERSITY MEDICAL CENTER; COLUMBIA-PRESBYTERIAN MEDICAL CENTER,

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EAST SIDE ASSOCIATES; EAST SIDE ASSOCIATES; THE TRUSTEES OF COLUMBIA

UNIVERSITY IN THE CITY OF NEW YORK; COLUMBIA UNIVERSITY COLLEGE OF

PHYSICIANS AND SURGEONS; PRESBYTERIAN HOSPITAL PHYSICIAN SERVICES

ORGANIZATION, INC.; COLUMBIA-CORNELL CARE, LLC; COLUMBIA CORNELL

NETWORK PHYSICIANS, INC., and ROBERT HADDEN) owed Plaintiffs, and other female

patients, a duty to use due care to ensure their safety and freedom from sexual assault, sexual

exploitation, sexual abuse, sexual discrimination, misogyny, racial discrimination, and molestation

while interacting with their agents, servants, and/or employees, including ROBERT HADDEN.

531.     By seeking medical treatment from ROBERT HADDEN in the course of his employment,

agency, and/or representation of the Defendants, a special, confidential, and fiduciary relationship

between Plaintiffs and ROBERT HADDEN was created.

532.     Defendants’ failures to adequately supervise ROBERT HADDEN, especially after they

knew or should have known of complaints regarding ROBERT HADDEN’s nonconsensual sexual

abuse, exploitation, touching and assaults during medical examinations was so reckless as to

demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs.

533.     ROBERT HADDEN’s conduct in sexually assaulting, sexual exploiting, sexually abusing,

and molesting Plaintiffs in the course of his employment, agency, and/or representation of the

Defendants, and under the guise of rendering “medical treatment”, was so wanton and reckless as

to demonstrate a substantial lack of concern for whether an injury would result to Plaintiffs and

hundreds of other female patients.

534.     Defendants, their agents, servants, and/or employees, failed to timely and properly

investigate complaints made by the sexual assault survivors of ROBERT HADDEN, and

chaperones, as well as suspicious circumstances wherein ROBERT HADDEN and other medical



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staff, agents, servants, and/or employees placed patients in compromised and unprotected

situations which either led, or should have led, to an investigation of defendant ROBERT

HADDEN and other medical staff, agents, servants, and/or employees’ negligence, carelessness,

recklessness, and/or criminal and wanton misconduct.

535.     Defendants, their agents, servants, and/or employees, failed to timely and properly act

upon complaints made by the sexual assault survivors of ROBERT HADDEN, and chaperones, as

well as suspicious circumstances wherein ROBERT HADDEN, and/or other medical staff, agents,

servants, and/or employees, placed patients in compromised and unprotected situations, all of

which caused and/or enabled further and additional negligent, careless, reckless, criminal and/or

wanton acts and harm to be inflicted upon Plaintiffs, as well as hundreds of other female students

and patients.

536.     By reason of Defendants, and/or their agents, servants, and/or employees’ failures to meet

the aforementioned obligations and duties, Plaintiffs, as well as hundreds of other female students

and patients, were subjected to physical and mental injury, mental manipulation, harm, duress,

sexual objectification, sexual exploitation, racial discrimination, sexual assault, and sexual abuse.

537.     Defendant ROBERT HADDEN’s sexual assaults of Plaintiffs - and hundreds of other

named and unnamed patients - as well as Defendant COLUMBIA UNIVERSITY, THE

TRUSTEES OF COLUMBIA UNIVERSITY, and CORP. ENTITIES’s gross negligence,

willfulness, and wantonness concerning the improper hiring, retention, blatant coverups and

concealments, lack of supervision, abject enabling, and other reckless acts and omissions set forth

herein, constitute intentional, extreme, and outrageous conduct of the highest order.

538.     Such grossly reckless conduct is motivated by greed, self-seeking, self-interest, deliberate

indifference, deviant sexual desire, and is the product of malicious and evil minds such that the



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imposition of punitive damages are warranted.

539.     Punitive damages are justified in cases like this to both punish the wrongdoers - and also

to hold them out as examples to the rest of the community - such that these Defendants, and others

that may be similarly situated, are clearly and explicitly discouraged from engaging in these kinds

of grossly deviant and abhorrent behaviors in the future.

540.     For purposes of particularization of the acts and omissions of the within named Defendants

which constitute, warrant, and mandate the imposition of punitive damages, it is stated that

defendant ROBERT HADDEN - while pretending to render medical care to female patients -

serially, and criminally, sexually exploited, assaulted, demeaned, and abused hundreds of female

patients at Defendants’ medical facilities and clinics. Further, evidence exists that Defendants

enabled ROBERT HADDEN to continue to sexually assault, exploit and abuse their patients,

including Plaintiffs herein, and instead of terminating him and reporting him to Criminal

Authorities and the State Medical Board, they took no action and further enabled him to continue

to sexually exploit and abuse even more female patients in new and different ways. Moreover,

evidence has surfaced which demonstrates that defendant ROBERT HADDEN has been sexually

assaulting, sexually exploiting, and sexually abusing patients on the premises of Defendants and

their medical facilities and clinics for over 20 years — as far back as the early 1990’s. All the

while, Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY and CORP. ENTITIES, knew of the abuse but instead of terminating ROBERT

HADDEN and immediately reporting him to law enforcement, they moved him from clinic to

clinic in an intentional, but covert, effort to hide and conceal the abuse from their patients, the

Plaintiffs herein, and the public at large.

541.     Defendant ROBERT HADDEN should have already been the subject of an internal,



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Criminal, and State Medical Board Investigation by the time that he sexually assaulted each of the

Plaintiffs herein. However, Defendants failed to act on the information they had and enabled

defendant ROBERT HADDEN to continue to sexually assault, sexually abuse and sexually exploit

other female patients on its premises - despite a long history of sexually assaulting patients - for in

excess of 20 years.

542.     While being allowed to continue preying on young female patients at Defendant

COLUMBIA UNIVERSITY and CORP. ENTITIES’ hospitals, offices, and medical facilities and

clinics without any restrictions, limitations, preceptors, chaperones or additional supervision,

defendant ROBERT HADDEN continued to sexually exploit and assault female patients.

543.     While sexually exploiting, abusing and assaulting female patients - seemingly at will due

to the utter indifference of Defendants, their agents, servants, and/or employees - Defendant

ROBERT HADDEN sexually exploited, abused, and assaulted Plaintiffs and hundreds of other

female patients upon Defendants’ premises.

544.     Plaintiffs were patients of Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF

COLUMBIA UNIVERSITY, and CORP. ENTITIES at the time when defendant ROBERT

HADDEN sexually exploited, abused, and assaulted them.

545.     On several occasions, no chaperones were present in the room when Defendant ROBERT

HADDEN, sexually exploited, abused, and assaulted plaintiffs on the premises of Defendants’

medical offices, facilities and clinic.

546.     On other occasions, chaperones were present in the room when Defendant ROBERT

HADDEN, sexually exploited, abused, and assaulted Plaintiffs on the premises of Defendants’

medical offices, facilities and clinics, and yet stood by and did nothing to protect the Plaintiffs and

hundreds of other female patients.



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547.     On many occasions, since the early 1990’s, chaperones were present in the room when

Defendant ROBERT HADDEN, sexually exploited, abused, and assaulted Plaintiffs, and other

female patients, on the premises of Defendants’ medical offices, hospitals, facilities and clinics,

who then tried to report the illegal conduct of ROBERT HADDEN to supervisors and other

administrators of the within named Defendants, but whose reports were wholly and utterly ignored

and/or dismissed as not important, and not followed up on by the COLUMBIA UNIVERSITY,

THE TRUSTEES OF COLUMBIA UNIVERSITY and CORP. ENTITIES.

548.     The history of sexual exploitation, sexual assault, and sexual abuse of female patients at

the COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY and CORP.

ENTITIES at the hands of serial predator ROBERT HADDEN spans a period of over 20-years.

549.     Defendants, their agents, servants, and/or employees had knowledge and/or awareness of

the prior sexually exploitive and sexually abusive conduct by ROBERT HADDEN, and chose to

do nothing to protect their female patients, including Plaintiffs herein, from being sexually

exploited and abused by Defendant ROBERT HADDEN.

550.     As a result of Defendants' gross indifference and wanton lack of regard for the safety and

well-being of its patients, malice, criminal indifference to civil obligations, and outrageous

disregard of moral and professional ethics, duties and standards, Plaintiffs have each become yet

another one of the countless sexual assault survivors of Defendant ROBERT HADDEN and

Defendants COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA UNIVERSITY and

CORP. ENTITIES.

551.     Defendants’ indolence and complicity in enabling serial sexual predator ROBERT

HADDEN, is abhorrent conduct worthy of punishment.

552.     Defendants’ conduct demonstrates a willful disregard of any and all precautions necessary



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to ensure Plaintiffs’ safety.

553.     Defendants’ conduct as described above, demonstrated a willful disregard for the

substantial and known risks that ROBERT HADDEN posed to Plaintiffs and other female students

and patients.

554.     Defendants have breached the duties owed to Plaintiffs, and other female patients, and were

grossly negligent when they conducted themselves as described above, said acts having been

committed with reckless disregard for Plaintiffs, and other female patients’ health, safety,

constitutional and/or statutory rights, and with a substantial lack of concern as to whether an injury

would result.

555.     As a direct and/or proximate result of Defendants’ actions and/or inactions, Plaintiffs and

other female patients were damaged.

556.     Accordingly Compensatory and Punitive damages are necessary under these facts as to all

Defendants.

                                 SEVENTEENTH CAUSE OF ACTION
                                     INVASION OF PRIVACY

557.     Plaintiffs restate and incorporate by reference the preceding paragraphs as if fully set forth

herein, and, to the extent necessary, pleads this cause of action in the alternative.

558.     Defendants    COLUMBIA         UNIVERSITY,        THE     TRUSTEES       OF     COLUMBIA

UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN have intruded upon Plaintiffs’

solitude, seclusion or private affairs and concerns by illegally accessing Plaintiffs’ protected and

private medical records, illegally viewing protected and private healthcare information, and

intruding into their private and personal medical conditions - not for purposes of rendering medical

care and treatment - but instead for the sole purpose of gaining a tactical advantage in litigation.

Plaintiffs herein have never authorized the access of their medical records, and yet             upon

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information and belief, COLUMBIA UNIVERSITY, THE TRUSTEES OF COLUMBIA

UNIVERSITY, CORP. ENTITIES and ROBERT HADDEN have illegally and surreptitiously

accessed their records in abject violation of both State and Federal Law. This intrusion is highly

offensive to reasonable individuals, such as Plaintiffs, and was totally unwarranted and unjustified,

constituting invasion of privacy, and a violation of the Health Insurance Portability and

Accountability Act (HIPAA).

559.     Defendants carried out such actions through their agents and/or representatives by querying

their medical records, medical archives, and electronic medical records (EMR) for information

related to the Plaintiffs, their health related issues, complications, conditions, and treatments.

560.     Defendants    COLUMBIA        UNIVERSITY,        THE     TRUSTEES        OF    COLUMBIA

UNIVERSITY, CORP. ENTITIES, ROBERT HADDEN, and each of their agents, servants,

employees, lawyers, and representatives have accessed, and continue to access, Plaintiffs’ private

and protected HIPAA information for purposes other than the diagnosis, care and treatment of

Plaintiffs.

561.     Specifically, Defendants have accessed, and continue to access, read, and use Plaintiffs’

private HIPAA information - without Plaintiffs’ knowledge, authorization and consent - in order

to try to defend themselves against the myriad of lawsuits they now face for enabling ROBERT

HADDEN to sexually exploit and sexually abuse female patients over the past couple decades at

their hospitals, offices, and medical clinics.

562.     Defendants have illegally used said information, inter alia, in an effort to dissuade

Plaintiffs, and other female patients, from filing lawsuits against Defendants. Defendants have also

illegally accessed and used Plaintiffs’ protected health information for the purpose of obtaining

facts and statements from Plaintiffs, and other female patients, such that Defendants will, and are,



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